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May 30, 2019

The Honorable Jesse M. Furman
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:     NYIC Plaintiffs’ motion for an order to show cause in State of New York, et al. v.
               U.S. Dep’t of Commerce, et al., 18-CV-2921 (JMF)

Dear Judge Furman:

        Pursuant to Rule 3(A) of this Court’s Individual Rules and Practices, NYIC Plaintiffs
request an order to show cause whether sanctions or other appropriate relief are warranted in
light of new evidence that contradicts sworn testimony of Secretary Ross’s expert advisor A.
Mark Neuman and senior DOJ official John Gore, as well as other representations by Defendants
to this Court, on the central issues in this case. The new evidence, concealed by Defendants here,
strongly underscores the pretextual basis for Defendants’ decision to add a citizenship question
to the 2020 Decennial Census. Although the appeal of this Court’s judgment is pending, this
Court retains jurisdiction over “collateral matters related to the case,” such as “sanctions” and
“contempt-related matters.” Aviv v. Brainard, 2018 WL 5668623, at *3 (S.D.N.Y. Nov. 1, 2018).
        The new evidence reveals that Dr. Thomas Hofeller, the longtime Republican
redistricting specialist, played a significant role in orchestrating the addition of the citizenship
question to the 2020 Decennial Census in order to create a structural electoral advantage for, in
his own words, “Republicans and Non-Hispanic Whites,” and that Defendants obscured his role
through affirmative misrepresentations. Specifically, new evidence shows that: (1) Dr. Hofeller
concluded in a 2015 study that adding a citizenship question to the 2020 Census “would clearly
be a disadvantage to the Democrats” and “advantageous to Republicans and Non-Hispanic
Whites” in redistricting; (2) in August 2017, Dr. Hofeller helped ghostwrite a draft DOJ letter to
Commerce requesting a citizenship question and providing the Voting Rights Act enforcement
rationale for doing so; (3) Neuman gave this ghostwritten draft DOJ letter to Gore in October
2017; and (4) the letter that DOJ eventually sent to Commerce in December 2017 adopted the
same VRA rationale and bears striking similarities to Dr. Hofeller’s 2015 study stating that a
citizenship question on the Census was essential to advantaging Republicans and white voters.
        Based on this new evidence, it appears that both Neuman and Gore falsely testified about
the genesis of DOJ’s request to Commerce in ways that obscured the pretextual character of the
request. Neuman falsely testified that he played no role in developing the DOJ letter and that he
did not meet with Gore about such a letter in October 2017. Gore repeatedly testified that he
prepared the initial draft of the DOJ letter, failing to disclose that Neuman gave him a draft of the
DOJ letter in October 2017. Both Neuman and Gore concealed Dr. Hofeller’s role in crafting the
October 2017 draft letter and the VRA enforcement rationale it advanced.
       1. Mark Neuman, whom Defendants characterized as Ross’s “trusted” “expert adviser”
on census matters, ECF 451, admitted that Dr. Hofeller was the “first person” who suggested
adding a citizenship question to the 2020 Census to the transition. Ex. B at 51:15-16. According
to Neuman, Dr. Hofeller advised that adding the question would “maximize[]” representation for


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the “Latino community.” Id. at 142:3-18, see id. at 56:15-20. But new evidence obtained in
discovery in a state court lawsuit, Common Cause v. Lewis, No. 18-CVS-14001 (N.C. Super.),
shows that Dr. Hofeller instead knew that adding a citizenship question would have exactly the
opposite effect—it would disadvantage Latinos and benefit “Non-Hispanic Whites.”
        In August 2015, Dr. Hofeller was commissioned by the “principal” of the Washington
Free Beacon, a conservative website, to study the “practicality” and “political and demographic
effects” of using citizen voting age population (“CVAP”) in lieu of total population (“TPOP”) to
achieve equal population in redistricting. Exs. C, D. Dr. Hofeller wrote that use of CVAP in
redistricting was infeasible “[w]ithout a question on citizenship being included on the 2020
Decennial Census questionnaire.” Ex. D at 8. He explained that “[e]ven if a majority on the U.S.
Supreme Court was sympathetic to the use of CVAP” in “redistricting or reapportionment,” the
Court was unlikely to permit such usage based on citizenship data from the ACS, and would
instead require “an actual full enumeration” on the 2020 Decennial Census. Id. at 3.
         Dr. Hofeller also advised that if a citizenship question were added to the 2020 Census to
facilitate use of CVAP in redistricting, the results “would be advantageous to Republicans and
Non-Hispanic Whites,” “would clearly be a disadvantage for the Democrats,” and would
“provoke a high degree of resistance from Democrats and the major minority groups in the
nation.” Id. at 7, 9 (emphases added). Using the Texas State House of Representatives as a case
study, Dr. Hofeller detailed how a switch from TPOP to CVAP would cause districts with large
Latino populations and/or Democratic incumbents to disproportionately lose population, with the
largest effects in South Texas, El Paso, and the Rio Grande Valley. Id. at 6-8, Tables 4-8. Hence,
Dr. Hofeller wrote, a switch to CVAP would reduce the number of districts in these regions and
enable Republican mapmakers to pack more Democrats and Latinos into each remaining district.
Dr. Hofeller explained: “Democratic districts could geographically expand to absorb additional
high Democrat precincts from adjacent Republican districts, strengthening the adjoining GOP
districts.” Id. at 8 (emphasis added). This strategy could be employed to particularly great effect
in heavily Latino areas, because “considerable population would have to be added to a majority
of the Latino districts to bring their populations up to acceptable levels.” Id. at 6.
         2. Neuman testified at deposition that he “wasn’t part of the drafting process of the [DOJ]
letter,” and he denied that his October 2017 meeting with Gore was about a “letter from DOJ
regarding the citizenship question.” Ex. B at 114:15-21, 273:10-21. Neuman also testified that he
did not rely on Dr. Hofeller for “expertise on the Voting Rights Act,” and that Dr. Hofeller “did
not appear to me to be an adviser to the ... administration at all.” Id. at 136:9-10, 143:25-144:6.
When asked about the “substance” of his conversations with Dr. Hofeller “about the citizenship
question” in 2017, he testified that Dr. Hofeller just said, “Mark, you need to make sure that we
take a good census, that the administration doesn’t skimp on the budget.” Id. at 138:3-15. Gore,
meanwhile, testified that he “drafted the initial draft of the letter to request the citizenship
question sometime around the end of October or early November of 2017,” and he did not name
Neuman or Dr. Hofeller as people who provided “input” on the initial draft. Ex. E at 150:9-
151:20; see id. at 127:12-17, 343:19-21. All of this testimony appears to be misleading or false.
         In a congressional interview after the final judgment in this case, Gore disclosed for the
first time that, in or around October 2017, Neuman gave Gore “a draft letter that would request
reinstatement of the citizenship question on the census questionnaire” (the “Neuman DOJ
Letter”). Ex. F at 2-4. Gore said that Neuman gave him this draft letter, which is framed as a


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request from DOJ to Commerce, after Commerce General Counsel Peter Davidson asked
Neuman and Gore to meet. Id. While Neuman produced this draft letter in discovery here, Ex. G,
neither Neuman nor Gore disclosed that Neuman gave this draft to Gore; Neuman testified that
his October 2017 meeting with Gore was not about a “letter from DOJ regarding the citizenship
question,” and that he gave Gore only a different document. Ex. B at 123:20-124:24, 273:10-21.
        Nor did Neuman or Gore disclose that Dr. Hofeller ghostwrote a substantial part of the
Neuman DOJ Letter setting forth the VRA rationale. Cf. Ex. B at 143:25-144:6. Dr. Hofeller’s
files produced in discovery in the North Carolina case include a Word document containing a
paragraph that sets forth the purported VRA enforcement rationale for adding a citizenship
question to the 2020 Census. Ex. H. That paragraph was incorporated verbatim in the Neuman
DOJ Letter that Neuman then delivered to Gore. Compare Ex. G, with Ex. H. Metadata from the
Word file indicates that Dr. Hofeller created this file on August 30, 2017. Thus, we now know
that there is a direct line from Dr. Hofeller’s advice that adding a citizenship question would
advantage Republicans and non-Hispanic whites to the ultimate DOJ letter and its VRA rationale
on which Secretary Ross relied: When Commerce officials began scrambling to develop a VRA
rationale in August 2017, Dr. Hofeller helped craft the rationale, which was adopted wholesale in
the Neuman DOJ Letter. Neuman then gave that draft letter to Gore in October 2017 after
Commerce’s General Counsel asked them to meet, and Gore ultimately sent his version of the
DOJ letter, also incorporating Hofeller’s VRA rationale, back to Commerce in December 2017.
        3. Gore’s testimony that he initially drafted the DOJ letter to Commerce requesting the
citizenship question was materially misleading given that the December 2017 DOJ letter was
adapted from the Neuman DOJ Letter, including, in particular, Dr. Hofeller’s VRA rationale.
        But there is more. The content, language, and structure of DOJ’s December 2017 letter
bears striking similarities to Dr. Hofeller’s 2015 study on the feasibility and impact of using
CVAP in redistricting. The two documents contain similar descriptions of the history of a
citizenship question on the census and the ACS, and they make the exact same arguments that (a)
the “5-year rolling sample” of the ACS does not align in “time” with decennial census data; (b)
ACS data is inaccurate for small units of geography, and (c) the smallest unit of geography on
the ACS is Census Block Groups, which are larger than the “fundamental” or “basic” “building
blocks” for a redistricting plan and therefore “require” jurisdictions to “compute” or “perform”
estimates to impute the CVAP of legislative districts. The two documents present these
substantially similar descriptions and arguments in the exact same order. The chart attached as
Exhibit I shows the similarities in the content, language, and structure of the two documents.
        The new evidence demonstrates a direct through-line from Dr. Hofeller’s conclusion that
adding a citizenship question would advantage Republican and non-Hispanic whites to DOJ’s
ultimate letter. The new evidence thus not only contradicts testimony in this case, but it shows
that those who constructed the VRA rationale knew that adding a citizenship question would not
benefit Latino voters, but rather would facilitate significantly reducing their political power.
        Exhibit A hereto lists testimony and others representations that the new evidence
contradicts. This new evidence merits sanctions or other appropriate relief. Plaintiffs are filing
today a separate letter seeking permission to redact certain deposition testimony in this letter and
an exhibit because Defendants asserted deliberative-process privilege over that testimony.
Plaintiffs will move to lift these redactions because the public has a right to see this testimony.


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                                            Respectfully submitted,

                                              ARNOLD & PORTER KAYE SCHOLER LLP
                                              AMERICAN CIVIL LIBERTIES UNION


                                              By:   /s/ John A. Freedman       _


Dale Ho                                                    Andrew Bauer
American Civil Liberties Union Foundation                  Arnold & Porter Kaye Scholer LLP
125 Broad St.                                              250 West 55th Street
New York, NY 10004                                         New York, NY 10019-9710
(212) 549-2693                                             (212) 836-7669
dho@aclu.org                                               andrew.bauer@arnoldporter.com

Sarah Brannon+**                                           John A. Freedman
American Civil Liberties Union Foundation                  R. Stanton Jones++
915 15th Street NW                                         David P. Gersch
Washington, DC 20005-2313                                  Elisabeth S. Theodore++
202-675-2337                                               Daniel F. Jacobson+
sbrannon@aclu.org                                          Arnold & Porter Kaye Scholer LLP
                                                           601 Massachusetts Avenue NW
Perry M. Grossman                                          Washington, DC 20001-3743
New York Civil Liberties Union Foundation                  (202) 942-5000
125 Broad St.                                              john.freedman@arnoldporter.co
New York, NY 10004
(212) 607-3300 601
pgrossman@nyclu.org

+ admitted pro hac vice
++ pro hac vice application forthcoming
** Not admitted in D.C.; practice limited pursuant to D.C. App. R. 49(c)(3).

                           Attorneys for NYIC Plaintiffs, 18-CV-5025




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                 EXHIBIT A
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 Exhibit A: Chart Comparing Prior Testimony or Representations With New Evidence

    Prior Testimony or Representations                              New Evidence

Neuman denied at deposition that his October        Gore recently told congressional investigators
2017 meeting with Gore was about a “letter          that Neuman gave him the Neuman DOJ
from DOJ regarding the citizenship question.”       Letter, which was framed as a request from
Ex. B at 273:10-21. He testified that the           DOJ to Commerce requesting the addition of
meeting was instead about “how Census               the citizenship question, at their October 2017
interacts with the Justice Department”              meeting which was arranged by Commerce’s
generally. Id. When asked what information          General Counsel. Ex. F at 2-4.
he gave Gore at the meeting, Neuman
described a different document, but not the
Neuman DOJ Letter. Id. at 123:20-124:7.

Gore testified that he “drafted the initial draft
of the letter to request the citizenship question
sometime around the end of October or early
November of 2017.” Ex. E at 150:9-13; see
also id. at 127:12-17, 343:19-21.

Neuman testified that he “wasn’t part of the        Neuman gave Gore the Neuman DOJ Letter
drafting process of the [DOJ] letter.” Ex. B at     in October 2017. Ex. F at 2-4.
114:15-21.
When asked about the “substance” of his             Dr. Hofeller helped ghostwrite the Neuman
conversations with Dr. Hofeller “about the          DOJ Letter for Neuman in August 2017. Exs.
citizenship question” after January 2017,           G, H.
Neuman testified that Dr. Hofeller said,
“Mark, you need to make sure that we take a
good census, that the administration doesn’t
skimp on the budget.” Ex. B at 138:3-15.
Neuman denied at deposition that “Mr.               The paragraph of the Neuman DOJ Letter that
Hofeller was one of the people [Neuman]             Dr. Hofeller ghostwrote specifically concerns
relied on for expertise on the Voting Rights        VRA enforcement. Exs. G, H.
Act.” Ex. B at 143:25-144:6.

Neuman testified that Dr. Hofeller “did not         Dr. Hofeller helped ghostwrite the Neuman
appear to me to be an adviser to the ...            DOJ Letter for Neuman in August 2017,
administration at all.” Ex. B at 136:9-10.          which Neuman gave to Gore at a meeting
                                                    arranged by the Commerce General Counsel.
                                                    Exs. G, H, F.
Neuman testified that Dr. Hofeller told him         Dr. Hofeller concluded in his 2015 study that
that adding the citizenship question would          adding a citizenship question to facilitate the
“maximize[]” representation for the “Latino         use of CVAP in redistricting would benefit
community.” Ex. B at 142:3-18.                      “Non-Hispanic Whites” while significantly
                                                    harming Latino voters. Ex. D at 6-9.
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Defendants represented to this Court that          Neuman was the key conduit between
“[t]he record does not indicate that Mr.           Commerce and DOJ in the fall of 2017,
Neuman provided any particularly significant       including transmitting the Neuman DOJ
consultations on the citizenship question …        Letter to Gore at the request of Commerce’s
during his conversations with Commerce             General Counsel. Ex. F at 2-4.
officials in 2017.” ECF 346 at 2.

Neuman testified that he did not know who   Dr. Hofeller helped ghostwrite the Neuman
authored the Neuman DOJ letter or who wrote DOJ Letter, which Neuman gave to Gore in
the “first template.” Ex. B at 280:8-15.    October 2017. Exs. F, G, H.

Defendants represented to this Court that          Defendants knew, but failed to disclose, that
there was a “low likelihood of AAG Gore’s          Gore met with Neuman in October 2017 at
testimony resulting in any relevant evidence       the request of Commerce’s General Counsel,
concerning Secretary Ross’s decision or            during which Neuman gave Gore the Neuman
intent.” ECF 90 at 1.                              DOJ Letter. Ex. F at 2-4.




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                 EXHIBIT B
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                                                                      Page 1
                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

ROBYN KRAVITZ, et al.,  )      Civil Action No.
                        )      8:18-cv-01041-GJH
          Plaintiffs,   )
                        )      Hon. George J. Hazel
vs.                     )
                        )
U.S DEPARTMENT OF       )
COMMERCE, et al.,       )
                        )
          Defendants.   )
________________________)
                        )
LA UNION DEL PUEBLO     )      Civil Action No.
ENTERO; et al.,         )      8:18-cv-01570-GJH
                        )
          Plaintiffs,   )      Hon. George J. Hazel
                        )
vs.                     )
                        )
WILBUR L. ROSS, sued in )
his official capacity as)
U.S. Secretary of       )
Commerce, et al.,       )
                        )
          Defendants.   )

            VIDEOTAPED DEPOSITION OF A. MARK NEUMAN
                  Taken on behalf of Plaintiffs
                        October 28, 2018
        (Starting time of the deposition: 12:22 p.m.)

                  Veritext Legal Solutions
                     Mid-Atlantic Region
                  1250 Eye Street NW - Suite 350
                 Washington, D.C. 20005
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                                                                           Page 36
1    you know.

2         A.     I don't have -- I -- I never really sort of

3    knew the total number of people who were on the

4    Commerce transition.      Because, again, there were

5    people who showed up at meetings, and I didn't see

6    very much, and there were other people that -- the

7    core group of people, when we were writing a Commerce

8    agency action plan, sitting around the table, David

9    Bohigian, Willie Gaynor, David Rokeach.

10        Q.     (By Mr. Duraiswamy) Anyone else that you

11   remember on the Commerce team, other than those three?

12        A.     Loretta Green was sort of the -- you know,

13   like coordinating -- coordinating appointments for

14   Ray, you know, arranging when Ray would show up.

15   Again, that -- that was really the core group of

16   people on the agency action plan.         And I wasn't always

17   there.    So like, you know, there -- there was a lot of

18   time that I wasn't even in town.

19        Q.     Who is Tom Hoffler?

20        A.     Tom Hoffler was a person who was known in

21   the redistricting community.        He passed away in -- in

22   August.

23        Q.     Was he a member of the transition?

24        A.     No, he was not.

25        Q.     What was the context in which you talked to
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                                                                           Page 37
1    him about the citizenship question during the

2    transition?

3         A.     He would have told me what views of members

4    of Congress would have been on this issue.

5         Q.     Did he reach out to you to have that

6    conversation, or did you reach out to him?

7         A.     I can't remember which it was, but, you

8    know, I've known him for 25 years.

9         Q.     How do you know him?

10        A.     I knew him when he was working at the NRCC,

11   and I knew him when he was working at the Department

12   of Agriculture.

13        Q.     Could you spell his last name for me?

14        A.     It's H-O-F-F-L-E-R, I think.        Thomas

15   Hoffler.

16        Q.     How many times did you talk to him about the

17   citizenship question during the transition?

18        A.     I don't know how many times.

19        Q.     More than five?     Less than five?

20        A.     It certainly would be less than ten.           It

21   would -- probably less than five during the

22   transition.

23        Q.     Why were you talking to him about the views

24   of members of Congress regarding the citizenship

25   question?
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                                                                           Page 38
1         A.    The goal of the transition is not to sort of

2    say, "This is what you should do.         This is what you

3    shouldn't do."    The goal of the -- one of the most

4    important things that Willie Gaynor and others wanted

5    us to do is reach out to people who would be pushing

6    different things related to Commerce and make sure

7    that we had an understanding if someone was going to

8    introduce legislation on NOAA, that we would have a

9    forecast of likely proposals, likely interests, likely

10   budgetary issues, likely priorities.          So the incoming

11   team would have a good sense of what Congress is

12   likely to do.

13        Q.    So if I understand you correctly, one of the

14   things you were trying to accomplish on a transition

15   is understand the views of members of Congress with

16   regard to certain policy issues that were relevant to

17   the Commerce Department and what the --

18        A.    Correct.

19        Q.    -- incoming team would have to deal with at

20   the Commerce Department, correct?

21        A.    So on NOAA, we would be interested.           Well,

22   people from Alaska are very interested in fisheries.

23   The Magnuson Act.     People from other states with

24   installations are interested in the NOAA satellites,

25   that this delegation is interested in the technology
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                                                                           Page 39
1    issues or the intellectual property issues related to

2    PTO, that there are budgetary issues that the

3    Oversight Committee or the Appropriations Committee

4    thinks that the Census Bureau is costing too much, or

5    spending too much money.       You'd want to have all of

6    that, that forecast in there, and not prejudge what --

7    whether Congress was right or wrong about the issue.

8               But Congress is likely to introduce

9    legislation affecting international -- affecting NAFTA

10   and dispute resolutions.       So you would want to have a

11   forecast so you could give them a sense of what --

12   what issues they're going to face coming into the

13   door.

14        Q.    So you were speaking with Mr. Hoffler to

15   understand the views of Congress with respect to a

16   potential citizenship question on the decennial,

17   because that was an issue that you anticipated the

18   incoming Commerce team was going to be dealing with?

19        A.    They needed to understand that this was one

20   of the issues that people would raise with him.

21        Q.    Who is the "they"?       When you say, "they

22   needed to understand that this was one of the

23   issues" --

24        A.    The incoming Commerce team needed to

25   understand all the potential issues that would be
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                                                                        Page 40
1    raised by members of Congress, especially those in

2    oversight roles or committee chairmen.           And so this

3    was one of many, many issues that were identified.

4         Q.    So you were speaking with Mr. Hoffler to --

5    to understand and identify issues related to the

6    Commerce Department that members of Congress would

7    likely be interested in; is that correct?

8         A.    I was trying to make sure that if the new

9    Commerce team were going on the Hill and meeting with

10   people on the census, that they would understand

11   issues that would be raised to them.

12        Q.    And specifically the conversations with

13   Mr. Hoffler were to understand what members of

14   Congress might say or think about possibly adding a

15   citizenship question to the 2020 decennial?

16        A.    No, that would have been one --

17              MR. ROSENBERG:      Objection, form.

18        Q.    (By Mr. Duraiswamy) I'm sorry, go ahead.

19        A.    That would have been one of the issues.

20   Remember, Tom Hoffler is also pretty important,

21   because in the past Tom Hoffler was able to get

22   members of Congress to support funding for the Bureau.

23   Because he would say, we need to take a good census.

24   Because, remember, people generally don't want to

25   spend money on the census until we get on top of 2020.
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                                                                         Page 41
1         Q.    And you said Mr. Hoffler was a redistricting

2    expert; is that right?

3         A.    He was a point person on redistricting,

4    yeah.

5         Q.    A point person in what context?

6         A.    He would talk to members of Congress about

7    redistricting.

8         Q.    From his perch at the NRCC?

9         A.    He wasn't -- I'm not sure he was at the NRCC

10   at the time.    I'm not sure he was a -- he was

11   certainly a person that was connected to that issue.

12        Q.    Do you know when he was at the NRCC?

13        A.    I would imagine that he was a consultant or

14   something.    Again, I don't know his status, but I know

15   that he was connected to that.

16        Q.    What other issues did you talk to

17   Mr. Hoffler about during the transition, other than

18   the citizenship question, redistricting issues and

19   funding issues?

20        A.    About the -- about the challenges that the

21   census would face in 2020.        Because again, we were

22   going to the Internet to the online response.             We were

23   going to -- we're adopting new technology.            And, you

24   know, when I talk to people, stakeholders, I'm talking

25   always about the challenges that we'll face in the
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                                                                        Page 42
1    next census that we didn't face in the last one.

2               And those really have to do with the work

3    force.    They have to do with the technology that

4    sometimes is successful, sometimes is unsuccessful.

5    And what -- it's really important for the census to

6    have a broad -- a broad range of stakeholders that all

7    have skin in the game, that all feel like they're

8    united around the idea of, you know, we may have

9    political differences, but we all want to take a good

10   census.

11        Q.    What do you recall learning from Mr. Hoffler

12   about the views of members of Congress regarding a

13   potential citizenship question on the 2020 decennial?

14        A.    Pretty much what I just explained to you.

15        Q.    Maybe I didn't understand.         I'm trying to

16   understand what were the views that members of

17   Congress held that he conveyed to you?

18              MR. ROSENBERG:      Objection.     It call -- form.

19   It calls for speculation.

20        Q.    (By Mr. Duraiswamy) You -- you can answer.

21   They will object from time to time.          Unless they tell

22   you not to answer, you can answer.

23              MR. FELDMAN:      The only comment I would have,

24   if you know in the conversations that he specifically

25   represented something from his knowledge of Congress'
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                                                                        Page 43
1    view.

2         A.     I -- I -- I don't recall specifics, but I

3    know, in general, Tom always believed, and I share his

4    view on this, block level data, accurate block level

5    data is very important.

6         Q.     (By Mr. Duraiswamy) For redistricting

7    purposes?

8         A.     For everything.      For everything.

9         Q.     Including redistricting purposes?

10        A.     Including redistricting purposes.

11        Q.     Block level data for what?

12        A.     For everything.      For all census data, and

13   that basically if you -- the hardest thing about the

14   census is not counting everyone living in America.

15   It's counting everyone living in America at the right

16   address one time.

17        Q.     And he conveyed that view to you in your

18   conversations with him during the transition?

19               MR. ROSENBERG:     Objection, vague, form.

20        A.     Yeah, again --

21        Q.     (By Mr. Duraiswamy) Let me try to --

22        A.     I gave you a broad thing of -- of something

23   that Tom was always concerned with in every

24   conversation that I would have with him.

25        Q.     I'm just trying to understand.         You said you
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 14 of 126


                                                                         Page 44
1    talked to him about the views of members of Congress

2    related to the citizenship question.

3         A.    I -- so I would start --

4         Q.    That's my understanding.

5         A.    I would start out the conversation by saying

6    what are members of Congress likely to raise on the

7    census issue that we can incorporate into the

8    transition planning so the new Commerce team is not

9    blindsided.

10        Q.    And then he raised the issue of a

11   citizenship question or an immigration --

12        A.    That was one of -- that was one of the

13   questions.

14        Q.    Okay.    Did he --

15        A.    And I'm sure that we talked about census

16   residency rules as well.

17        Q.    Can you -- just for people who may not

18   understand what census residency rules means, can you

19   explain what that means?

20        A.    It basically means where were you on

21   April 1st.    So people move around, they're snowbirds,

22   they're living at colleges, they're incarcerated or

23   otherwise detained.      They're in group houses.         There's

24   overseas military.      Census residency rules say -- are

25   designed to ensure that people are -- are counted at
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 15 of 126


                                                                          Page 45
1    the right address.

2         Q.    I assume you talked about census residency

3    rules for undocumented immigrants?

4         A.    No, not that I recall.

5         Q.    It's possible, but you just don't recall one

6    way or the other?

7         A.    I don't recall that.        It's generally not

8    something associated -- residency rules generally

9    don't get associated with that issue, unless you're

10   dealing with migrant farm workers who tend to be

11   documented.

12        Q.    Well, you know there's litigation going on

13   about that right now, right?

14        A.    Not -- I don't.

15              MR. ROSENBERG:      Objection.

16        A.    I don't.

17        Q.    (By Mr. Duraiswamy) Okay.         That's fair.      I'm

18   sorry.

19              (The court reporter motioned to the

20   attorney.)

21              MR. DURAISWAMY:       I will do my best, but I

22   will caution you that may not be the last time you

23   have to remind me.

24              COURT REPORTER:       Thanks.

25        Q.    (By Mr. Duraiswamy) And the census residency
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 16 of 126


                                                                        Page 51
1    Then there was October.       Not a lot happened.       Then

2    November, a lot of activity.        Then December, a lot of

3    activity.    Now a lot of activity.

4                So it's -- and, again, this is a part-time

5    volunteer job, so it's very difficult for me to kind

6    of try to recall exactly who said what when.

7         Q.     Well -- well, do you recall discussing with

8    other individuals on the Commerce team whether there

9    were particular people or constituencies who are

10   interested in adding a citizenship question to the

11   census?

12               MR. ROSENBERG:     Objection, vague.

13               MR. FELDMAN:     If you -- if you can answer

14   it, answer it.

15        A.     Tom Hoffler was, I think, the first person

16   that said something to me about that issue.

17        Q.     (By Mr. Duraiswamy) Meaning he -- he --

18        A.     He flagged it, you know.        He said --

19        Q.     He flagged it as something that might be of

20   interest to some people --

21        A.     Right.

22        Q.     -- in constituencies?

23        A.     Right.

24        Q.     And you said he was a point person for

25   redistricting in certain circles.          He's -- he's a
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 17 of 126


                                                                        Page 52
1    Republican -- he was a Republican?

2         A.    Yeah, he is.

3         Q.    Okay.

4         A.    Yeah.

5         Q.    And so his work on redistricting over the

6    years has been in connection with the Republican party

7    or different state Republican parties, if you know?

8         A.    Well, he was --

9               MR. ROSENBERG:      Objection, vague, lack of

10   foundation.

11              MR. FELDMAN:      Go ahead.

12        A.    He was the person I recall in the 2000

13   census who was advising Bill Thomas, who was the

14   Chairman of the House Administration Committee, and

15   Bill Thomas was an expert, you know, as -- he was an

16   expert on a lot of things, but he was an expert on

17   redistricting.     So I knew that Tom Hoffler had the ear

18   of committee chairmen who would interact with a

19   Secretary of Commerce.

20        Q.    (By Mr. Duraiswamy) Did he -- do you recall

21   him referring to specific members of Congress who

22   might be interested in that issue?

23        A.    I don't recall --

24              MR. ROSENBERG:      Objection, vague --

25        A.    -- the specific ones.
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 18 of 126


                                                                        Page 53
1               MR. ROSENBERG:      -- as to who the him was.

2               MR. DURAISWAMY:       Okay.

3               MR. FELDMAN:      He answered it.

4               MR. DURAISWAMY:       That's fine.     I'd ask,

5    though, that you just object to the form.

6               MR. ROSENBERG:      (Nodding head.)

7         Q.    (By Mr. Duraiswamy) What was the substance

8    of the conversations that you had with the other

9    members of the Commerce team regarding a citizenship

10   question during the transition?

11        A.    Again, one of many issues.

12        Q.    I understand it's one of many issues.            I'm

13   just trying to understand what was discussed about it.

14              MR. FELDMAN:      When?

15              MR. DURAISWAMY:       During the transition.

16              MR. FELDMAN:      That's from a period of when

17   to when?   Why don't we put --

18        A.    From September through -- through January.

19        Q.    (By Mr. Duraiswamy) When did you join the

20   transition?

21        A.    Probably September was the first time I went

22   there.

23        Q.    Okay.    And I assume we can agree that the

24   transition ended at the time that President Trump, now

25   President Trump, took office as --
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 19 of 126


                                                                        Page 54
1         A.    Right.

2         Q.    -- the president, correct?

3         A.    Right.

4         Q.    Okay.

5         A.    So, again, the November, December, January

6    is a whirlwind of activity.        I'm volunteering.       This

7    is my spare time that I'm doing it, and it's not like

8    I'm there 8:00 to 5:00 five days a week.           I'm there

9    when I can be there.      And so, again, very difficult

10   for me to try to recall who said what to whom.

11        Q.    Okay.    Let me try to be more specific.          Did

12   you all talk about the potential uses of a citizenship

13   question on the census?

14        A.    Uses?

15        Q.    Of how the citizenship -- of how -- strike

16   that.

17              By uses, I mean how the data gathered from

18   asking the citizenship question could be used?

19        A.    Well, my understanding would be that the use

20   would be having block level citizen voting age

21   population data.

22        Q.    And that was the understanding that you had

23   at the time?

24        A.    That was what I was told was the principal

25   objective.
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 20 of 126


                                                                        Page 55
1         Q.     By who?

2         A.     By Tom Hoffler.

3         Q.     For what purpose?

4         A.     Taxes.

5         Q.     What would be the value of having block

6    level --

7         A.     Citizen age voting -- to ensure one person,

8    one vote.

9         Q.     Can you explain, how -- how does having

10   block level citizenship voting age population data

11   ensure one person, one vote?

12        A.     This is going to be a long explanation.

13        Q.     That's fine.

14        A.     Have you -- have you read through my

15   presentation on this?

16        Q.     Yes.

17        A.     You know which one it is?

18        Q.     I think so.

19        A.     You said to a federal judge that I -- that

20   there was no record of what I talked about with the

21   Secretary.    And yet you're saying that you read my

22   presentation to the Secretary, but you told a federal

23   judge that I didn't --

24               MR. FELDMAN:     Just answer the question.

25        Q.     (By Mr. Duraiswamy) I think he produced it
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 21 of 126


                                                                        Page 56
1    in response to the subpoena we served after the

2    federal judge ordered the deposition.

3         A.     No, actually it was in -- it was in the

4    documents before.

5                MR. FELDMAN:     Mark, answer -- answer his

6    question.

7         Q.     (By Mr. Duraiswamy) In any event, can you

8    explain what Mr. Hoffler said to you about why --

9         A.     No.   Wait.   No.    You wanted me to explain

10   why I think that block level data is important to

11   citizen voting age population, or do you want it

12   explained why Tom Hoffler does?

13        Q.     I'm trying to understand the conversations

14   you had during the transition.         So you said --

15        A.     He said that after the long-form data went

16   away in 2000, that the quality of block level citizen

17   voting age population had now diminished.            So the --

18   so the ability to draw a district which would elect a

19   Latino in a population where there were non-citizens

20   was very, very difficult.

21        Q.     He said that to you during the transition?

22        A.     He -- we would have talked about it.           I'm

23   not sure whether it was in the transition or after the

24   transition, but we would have talked about that issue.

25        Q.     I'm trying to focus on in the transition
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 22 of 126


                                                                        Page 57
1    right now.    So you're not sure if you had that

2    conversation with him about that potential use of

3    citizenship data during the transition; is that right?

4          A.    I'm not sure that I did.

5          Q.    Okay.   So I'm trying to understand, you

6    discussed potential uses of citizenship data gathered

7    from the decennial with others on the Commerce team or

8    Mr. Hoffler during the transition?

9          A.    I would think so.

10         Q.    Okay.   And --

11         A.    I -- I don't recall, but I would think so.

12         Q.    Do you recall discussing the possibility

13   that it could be used for immigration enforcement

14   purposes?

15         A.    Oh, I -- I would never -- first of all, I

16   would -- that would be illegal, number one.            Number

17   two, anyone that would suggest that or broach that to

18   me, I would immediately be totally opposed to that.

19         Q.    I understand your view about that.          Did

20   someone, in fact, suggest or broach that to you during

21   the transition?

22         A.    No, no.

23         Q.    Okay.   I'm just -- I'm not asking for your

24   views, and I'm not even asking if you advocated for

25   it.   I'm just trying to understand, did you have any
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 23 of 126


                                                                        Page 58
1    conversations with anyone where the possibility, good

2    or bad, of using --

3         A.    Definitely -- definitely not.

4         Q.    Let me just finish the question --

5               MR. FELDMAN:      Let him finish the question.

6         Q.    (By Mr. Duraiswamy) -- so the record's

7    clear -- of using citizenship data from the decennial

8    for immigration enforcement purposes came up?

9         A.    No.

10        Q.    Okay.    Did you discuss, during the

11   transition, potential use of citizenship data from the

12   decennial for reapportionment purposes?

13        A.    Citizenship, no.

14        Q.    Did you discuss, during the transition, with

15   anyone, whether undocumented immigrants or

16   non-citizens should be included in the state

17   population counts for reapportionment purposes?             That

18   issue, generally.      I'm not asking you about a position

19   you took, but did that issue come up in your

20   conversations?

21        A.    Not -- not to my --

22              MR. ROSENBERG:      Objection, form.

23        A.    Not to my recollection, no.

24        Q.    (By Mr. Duraiswamy) Did the issue of how

25   states might use citizenship data from the decennial
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 24 of 126


                                                                        Page 59
1    census in deciding how to draw legislative districts

2    come up in your conversations with Mr. Hoffler?

3         A.    I don't believe so.        Again, you know, when

4    you -- these are conversations long ago, but it --

5    it -- I don't think so.       Because it -- again, it's not

6    the kind of thing that he would talk about.

7         Q.    Did it come up in your discussions with

8    anyone else during --

9         A.    No.

10        Q.    -- the transition?       Are you aware of anyone

11   else involved with the transition or the Trump

12   campaign or the incoming Trump administration

13   discussing that issue during the transition?

14        A.    I -- not personally, but I've heard that

15   from reporters and other people.

16        Q.    Okay.    What have you heard from reporters

17   and other people?

18        A.    That those people -- that there were people

19   discussing it.     And I said, "Well, if they were, they

20   weren't discussing it with me."

21        Q.    Who have you heard was discussing that issue

22   during the transition?

23              MR. ROSENBERG:      Objection, vague.

24        A.    Again, I don't have personal knowledge of --

25   because I didn't -- no one discussed it with me.
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 25 of 126


                                                                       Page 114
1         A.    I don't know.

2         Q.    I'm just looking for an approximation.            More

3    than an hour?

4         A.    I doubt it was more than an hour.

5         Q.    More than 30 minutes?

6         A.    Probably.

7         Q.    Okay.    So roughly somewhere between 30 and

8    60 minutes?

9         A.    I think so.

10        Q.    You're aware that there was a letter sent by

11   the Department of Justice to the Commerce Department

12   in December 2017 regarding the addition of a

13   citizenship question to the census?

14        A.    Yes.

15        Q.    Did you have any involvement in the drafting

16   of that letter?

17              MR. ROSENBERG:      Objection, form.

18              MR. FELDMAN:      If you know.

19        A.    Well, it -- again, I wasn't part of the

20   drafting process of the letter, but I'm sure that in

21   our -- I -- when I met with John Gore, I wanted to

22   show him what the Census Bureau said about why they

23   ask the ACS question.       Because, again --

24              MR. ROSENBERG:      And I'm -- again, I'm going

25   to object and instruct the witness not to answer the
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 26 of 126


                                                                       Page 123
1               MS. BRANNON:      Okay.

2               MR. ROSENBERG:      -- of course, in the

3    Government be as -- as nimble as possible in meeting

4    and conferring and responding, and I imagine that we

5    could do so tomorrow.

6               MS. BRANNON:      Okay.    No, that makes sense.

7    So we will agree to that.        There has -- and just to be

8    clear, the reason, there has been some meet and

9    confer -- meet and confer on related topics to this,

10   and a motion was filed today in the NYIC case.             And so

11   I am just not familiar enough, and would want to

12   confer with my colleagues as to whether or not the

13   nature of the discussions that have come up at the

14   deposition today fall within that issue or whether it

15   is a new and separate issue.         We will certainly try to

16   meet and confer about that part with you as quickly as

17   possible before we would move forward without

18   revealing anything publicly.

19              MR. ROSENBERG:      Thank you.

20        Q.    (By Mr. Duraiswamy) Okay.         Sorry for the

21   interlude.    So at that meeting you provided some

22   information to Mr. Gore for purposes of the letter

23   that DOJ subsequently drafted regarding the

24   citizenship question?

25        A.    Mainly the -- mainly a copy of the -- of the
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 27 of 126


                                                                       Page 124
1    letter from the Obama Administration, Justice

2    Department, to the Census Bureau on the issue of

3    adding a question on the ACS.         Right.

4         Q.    There -- there were -- in the documents that

5    you produced, there were two such letters, I believe,

6    one from 2014 and one from 2016.         Does that sound

7    correct to you?

8         A.    Yeah.

9         Q.    And you provided both of those?

10        A.    Just -- I think probably just the 2016 one.

11        Q.    Okay.    And the purpose of that was to

12   show --

13        A.    Modalities.

14        Q.    Well, strike --

15              MR. ROSENBERG:      And I'm going to interpose

16   an objection and again instruction to not answer again

17   on deliberative process privilege grounds.

18        Q.    (By Mr. Duraiswamy) Well -- well, let me

19   strike that and ask a -- a different question.

20              That document, if I'm recalling correctly,

21   has a chart of different demographic questions that

22   are asked on the ACS and an explanation of the

23   governmental uses of those questions; is that correct?

24        A.    Yes.

25        Q.    Okay.    And you were providing that to
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 28 of 126


                                                                       Page 125
1    Mr. Gore in order to explain the potential use of a

2    citizenship question on the decennial census as well?

3               MR. ROSENBERG:      The same -- the same

4    objection and instruction not to answer on

5    deliberative process privilege grounds.

6               MR. FELDMAN:      Go ahead.

7         A.    I wanted the -- John Gore, who was a

8    non-career person, to understand the modalities and

9    accepted process of the interaction between DOJ and

10   Census on census issues.

11        Q.    (By Mr. Duraiswamy) What was it about that

12   that you wanted him to understand?

13              MR. ROSENBERG:      The same objection and

14   instruction not to answer on deliberative process

15   privilege grounds.

16              MR. FELDMAN:      Go ahead.

17        A.    I wanted him to understand what had -- the

18   previous interactions on additions of questions.

19        Q.    (By Mr. Duraiswamy) What about those

20   interactions did you want him to understand?

21              MR. ROSENBERG:      The same objection and

22   instruction not to answer on deliberative process

23   privilege grounds.

24              MR. FELDMAN:      Go ahead.

25        A.    How that -- the normal procedures.           Who at
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 29 of 126


                                                                       Page 126
1    DOJ, when you're talking about census issues, talks to

2    Census and who they talk to.

3         Q.    (By Mr. Duraiswamy) And the fact that in

4    adding questions to the ACS or the decennial census

5    questionnaire, the requests come from outside of the

6    Commerce Department to the Commerce Department where

7    there is a need for some other agency; is that

8    correct?

9               MR. ROSENBERG:      Objection.     The same

10   objection and instruction not to answer on

11   deliberative process privilege grounds and also an

12   objection to form.

13              MR. FELDMAN:      Go ahead and answer if you

14   understand the question.

15        A.    I communicated that requests for data to the

16   Census from the administration come from agencies.

17        Q.    (By Mr. Duraiswamy) You agree that the

18   census doesn't typically -- well, strike that.

19              Did he provide you any information at that

20   meeting?

21              MR. ROSENBERG:      Same objection and

22   instruction not to answer on deliberative process --

23        A.    I don't know.

24              MR. ROSENBERG: -- privilege grounds, unless

25   the witness can answer that with a yes or no.
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 30 of 126


                                                                       Page 136
1         A.    No.

2         Q.    James Sherk?

3         A.    No.

4         Q.    Have you spoken with Mr. Hoffler about this

5    issue since the transition?

6         A.    Tom was very sick, very sick.          And, in fact,

7    I didn't know that he passed away.          So Tom was really

8    kind of out of the picture.        And I also want to say,

9    Tom was not an -- did not appear to me to be an

10   adviser to the -- to the administration at all.

11        Q.    A separate question.

12        A.    Yeah.

13        Q.    And I'm not -- I didn't necessarily mean to

14   connect it.

15        A.    So I don't kind of see him as an

16   intermediary for the administration.

17        Q.    No, I'm asking about Mr. Hoffler separately.

18   Did you -- I'm not sure that I got a clear answer to

19   the question.     Did you have any communications with

20   him about a potential citizenship question since the

21   transition?

22        A.    Tom Hoffler?

23        Q.    Yes.

24        A.    Oh, yes.     Yes.

25        Q.    How many times, roughly?
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 31 of 126


                                                                       Page 137
1         A.    It would be more than a couple, but it

2    wouldn't be more than a dozen.         And remember, we're

3    talking about from January through -- through whenever

4    I last talked to him, which would have been maybe --

5    I'm not even sure I talked to him in 2017.

6               MR. FELDMAN:      2017 or 2000 --

7         A.    Or 2000 -- I'm not sure I talked to him

8    since even May of this year.

9         Q.    (By Mr. Duraiswamy) And he -- what were

10   the -- what was the substance of those conversations?

11        A.    Well, Tom and I are good friends, so I don't

12   know -- you know, I've known him for 30 years.             We

13   talked a lot about his cancer treatment.           We talked a

14   lot about what he was going through.          We talked a lot

15   about prayer.     So, you know, there would be

16   conversations about what was going on in politics that

17   would bleed into our personal conversations.

18        Q.    And some of that was about the potential

19   citizenship question on the 2020 census?

20        A.    It seemed like -- like it wasn't a topic in

21   the last -- in the last -- certainly the last six

22   months.   Again, hard for me to remember about --

23   again, with someone like Tom that I'm a -- a good

24   friend of a long time, and with someone that I check

25   in with about their health, and there are not a lot of
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 32 of 126


                                                                       Page 138
1    people like that, so I don't -- I don't recall how

2    many times.

3         Q.    Well, my question is -- well, I think you

4    mentioned before that you did have those conversations

5    since January 2017, but my question is just what was

6    the substance of your conversation about this issue,

7    about the citizenship question?

8         A.    Well, he talked about how block level data

9    was -- and, again, block level data is an obsession

10   with him, because block level data means that you can

11   draw the most accurate districts.          And so, again, his

12   focus was always on block level data, and always on,

13   "Mark, you need to make sure that we take a good

14   census, that the administration doesn't skimp on the

15   budget," because a good census is good for what he

16   does.

17        Q.    And he was the person that you principally

18   relied on for your understanding regarding the need

19   for block level citizenship data; is that right?

20        A.    He was the one of the people that I --

21   actually, Tom -- in talking to Tom, I knew that it was

22   going to be an issue that the department would

23   confront, because I knew Tom had the ability to get

24   members of Congress, who were important to the

25   administration, to pay attention to the issue.             You
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 33 of 126


                                                                       Page 139
1    know, that's what -- again, in the transition, your

2    job is to forecast what's going to come across the

3    transom for the new administration.

4         Q.     Did you speak with anyone else in Congress

5    or affiliated with a member of Congress about the

6    citizenship question since January of 2017?

7         A.     I talked to -- you know, I talk to my own

8    member of Congress, Rodney Davis, all the time.             You

9    know, I see him at things.        I talk to people in the

10   Illinois delegation that I see at the University of

11   Illinois.    I -- again, to say did I talk to someone in

12   Congress, I talk to people in Congress who I've known

13   for a long time.     I went to school with Peter Roskam.

14   I -- I talk about lots of things with them.

15        Q.     Sure.

16        A.     Did I go and do a presentation in anyone's

17   office about this, no.

18        Q.     I was wondering if you talked to any of them

19   about this issue?

20        A.     I'm sure that I talked to members of

21   Congress, including Democratic members of Congress

22   about this issue.

23        Q.     And what do you recall them communicating to

24   you about it?

25        A.     I recall Congressman Lacy Clay being upset
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 34 of 126


                                                                        Page 142
1    suggested to you that block level citizenship data --

2    strike that.

3                Has anyone ever suggested to you that having

4    access to block level citizenship data would be

5    helpful to Republican efforts in redistricting?

6           A.   I'm sure someone has said that.

7           Q.   Tom, presumably?

8           A.   What he said is that it will help draw maps,

9    which will be acceptable as the maps that best provide

10   minority representation, and so therefore are not

11   challenged.    So the frustration is you keep drawing a

12   district, and because you don't have block level data,

13   someone says, well, you didn't draw a map that

14   maximized -- I use the word "maximized," Latino

15   representation based on their numbers.           And when you

16   don't have that block level citizenship data, what

17   you're doing is you're cheating the Latino community

18   out of representation at all levels of government.

19          Q.   That was the -- that was something that he

20   suggested to you?

21          A.   No, it was -- it was a conversation that we

22   had.   My point about maximization is my word.            I want

23   Latino representation to be maximized.

24          Q.   Have you done any research on the Voting

25   Rights Act?
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 35 of 126


                                                                       Page 143
1         A.    I'm not an expert on the Voting Rights Act.

2         Q.    Have you done any research on the Voting

3    Rights Act?

4         A.    I'm not an expert on it.         I -- I read about

5    the Voting Rights Act, yeah.

6         Q.    Do you have any expertise on the legal

7    standard for Section 2 of the Voting Rights Act?

8         A.    I'm not an expert on it.

9         Q.    Have you relied on others for expertise on

10   the Voting Rights Act in Section 2 in particular?

11        A.    Yes.    So I -- you know, when I -- when I

12   study things, I look to people who are experts.

13        Q.    Okay.    And who -- who have you looked to for

14   expertise on those issues?

15        A.    Off the top of my head, I'd have to go back.

16   I'd have to go back and look at it.          But I did -- I --

17   one of the things that I was most interested in is

18   there was an amicus brief that was filed by five

19   census directors.      And those -- in a nutshell, what

20   those census directors said is block level data is the

21   most important thing in end product in terms of

22   ensure -- ensuring accurate representation, and you

23   can only get block level data from the census.             I

24   didn't look at that until -- you know, until 2018.

25        Q.    Was Mr. Hoffler one of the people you relied
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 36 of 126


                                                                       Page 144
1    on for expertise about the Voting Rights Act --

2         A.    I -- you --

3         Q.    I'm asking you.       Sorry.

4         A.    Oh, okay.

5         Q.    Was he one of the people?

6         A.    No.

7         Q.    Who -- who were the people?          You said off

8    the -- you'd have to go back and check, but --

9         A.    I'd have to -- I'd have to -- I don't

10   recall.

11        Q.    You -- you can't remember anyone that you've

12   relied on --

13        A.    I can recall looking at the cases --

14        Q.    -- for expertise on that issue?

15        A.    -- and looking at what Justices of the

16   Supreme Court said about it and looking at that.

17        Q.    Okay.    Let's go back to if you recall

18   communicating with anyone else direct -- in the Trump

19   administration directly or indirectly about the

20   citizenship question, other than the people we've

21   already identified.

22              MR. FELDMAN:      I'm not sure I understand.

23   Are you talking about was there anybody else other

24   than the people that have been discussed?

25              MR. DURAISWAMY:       Yes.
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 37 of 126


                                                                        Page 272
1         A.    I don't remember the person's name.            I seem

2    to remember he had a Bush connection, like law school

3    or something like that.

4         Q.    Any other candidates that you can recall?

5         A.    Brunell was the main one that I recall.

6         Q.    Anyone else from the redistricting world

7    that you recall being considered?

8         A.    Not that I recall, no.

9               [Marked Exhibit No. 17.]

10        Q.    Handing you what we've marked as Exhibit 17.

11   Did we mark it as Exhibit 17?         Yes.   Sorry.    Do you

12   see this is an e-mail exchange between Secretary Ross

13   and Peter Davidson from October 8th, 2017?

14        A.    Uh-huh.

15        Q.    Was the --

16        A.    Yes.

17        Q.    For the record, can you identify the subject

18   of the e-mail exchange?

19        A.    Subject is, "Letter from DOJ."

20        Q.    Okay.    And the first e-mail is from

21   Secretary Ross to Mr. Davidson --

22        A.    Uh-huh.

23        Q.    -- asking what is its status.          Do you see

24   that?

25        A.    Yes.
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 38 of 126


                                                                       Page 273
1         Q.    And Mr. Davidson responds that he is on the

2    phone with you, and you're giving him a readout of a

3    meeting last week, correct?

4         A.    I see that.

5         Q.    Was that your meeting with John Gore?

6               MR. ROSENBERG:      Objection, assumes facts not

7    in evidence.    It calls for speculation.

8         A.    I don't know whether it's -- it would make

9    sense, but I don't know.

10        Q.    (By Mr. Duraiswamy) Did you have a meeting

11   with anyone else about a letter from DOJ?

12        A.    That -- that's why I said the -- the timing

13   seems like it's -- dovetails with what you and I were

14   discussing earlier.

15        Q.    Right.    Because the meeting with John Gore

16   was about the letter from DOJ regarding the

17   citizenship question, correct?

18        A.    No, the letter -- the meeting with John Gore

19   was about the -- how Census interacts with the Justice

20   Department.    Again, this is a communication from two

21   other people, not from me.

22              MR. ROSENBERG:      And just -- just for the

23   record, again, we're going back to the substance of

24   the communications with Mr. Gore, which the Government

25   believes is covered by the deliberative process
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 39 of 126


                                                                       Page 274
1    privilege, and so I would instruct the witness not to,

2    you know, provide any additional information regarding

3    that meeting.

4                MR. FELDMAN:     And subject to that, he's

5    answered the question, I believe.

6           Q.   (By Mr. Duraiswamy) Well -- well, you had a

7    phone call with Mr. Neuman -- strike that.

8                You had a phone call with Mr. Davidson

9    around -- on or around October 8th, correct?

10          A.   It -- it says that.       I don't know that I

11   did.

12          Q.   Okay.

13          A.   I don't recall that I did.

14          Q.   No reason to believe it didn't happen,

15   correct?

16          A.   I don't recall that it happened.

17          Q.   Okay.   No reason to believe that when

18   Mr. Davidson wrote on October 8th in an e-mail, "I'm

19   on the phone with Mark Neuman right now" that he was

20   lying?

21          A.   I don't know the answer to that question.

22          Q.   Okay.   You don't know whether he was lying

23   or not when he wrote Secretary Ross on October 8th?

24          A.   I don't know what he did --

25               MR. ROSENBERG:     Objection.
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 40 of 126


                                                                       Page 275
1         A.     -- and what he didn't do.        I only know when

2    you ask me things about me.

3         Q.     (By Mr. Duraiswamy) Well, I am asking you

4    things about you.      I'm asking you -- I understand you

5    may not specifically remember.         I'm just asking you,

6    do you --

7         A.     I said I do not recall.

8         Q.     -- have any reason to believe it didn't

9    happen?

10               MR. ROSENBERG:     Objection, form.

11               MR. FELDMAN:     If you know what -- if -- if

12   you don't have a reason that it didn't happen, say --

13   tell him.

14        A.     I don't have a reason to know whether it

15   happened or it didn't happen.

16        Q.     (By Mr. Duraiswamy) Just -- just so we're

17   clear on what the e-mail says, Secretary Ross asks

18   Mr. Davidson what is the status of the letter from

19   DOJ, right?

20        A.     That's what this says.

21        Q.     Okay.   And Mr. Davidson responds and says

22   that he's on the phone with you and you're giving him

23   a readout of a meeting that you had the previous week,

24   correct?

25        A.     That's what this says.
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 41 of 126


                                                                       Page 276
1         Q.    Okay.    And separate from the e-mail, your

2    meeting with John Gore was around this time frame,

3    correct?

4         A.    Yes.

5         Q.    Okay.    But you have no recollection of

6    this -- of a phone call with Mr. Davidson around this

7    date?

8         A.    I don't recall that.

9         Q.    Do you recall ever having a phone call with

10   Mr. Davidson where he told you that Secretary Ross

11   wanted an update on the status of a letter from DOJ?

12        A.    I don't recall.

13        Q.    The e-mail seems to indicate that

14   Mr. Davidson wrapped up the call at 10:54 p.m. after

15   emailing Secretary Ross that he was on the phone with

16   you at 6:47 p.m.     First of all, do -- do you see what

17   I'm referring to in the e-mail?

18        A.    Yes.

19        Q.    Okay.    Have you ever been on the phone with

20   Mr. Davidson for four hours?

21              MR. ROSENBERG:      Objection, misleading.

22              MR. DURAISWAMY:       What is misleading about

23   the --

24        A.    I --

25              MR. DURAISWAMY:       Wait, wait.     What's --
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 42 of 126


                                                                       Page 277
1                MR. ROSENBERG:     It may not --

2                MR. DURAISWAMY:      No, no.    That -- that's an

3    improper objection.

4                MR. ROSENBERG:     No.

5                MR. DURAISWAMY:      What's misleading about the

6    question?

7                MR. ROSENBERG:     It's -- so we don't know

8    necessarily from these date -- time stamps whether

9    there might be different time zones involved in this

10   e-mail.

11               MR. DURAISWAMY:      Do you -- what was my

12   question?

13               MR. ROSENBERG:     I made my objection.

14        Q.     (By Mr. Duraiswamy) Have you ever been on

15   the phone with Mr. Davidson for four hours?

16        A.     I don't recall.

17        Q.     How long were -- were your typical phone

18   calls with him about census issues?

19        A.     I don't recall how long they would go.

20        Q.     You don't recall anything about how long

21   your phone calls were with him?

22        A.     No.

23        Q.     Do you recall if they were -- it's possible

24   that they were 14 hours in length?

25        A.     I'm sure that I never talked him for 14
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 43 of 126


                                                                       Page 278
1    hours.

2         Q.    Okay.    Do you remember that when we started

3    this deposition, we talked about the fact that if you

4    say that you don't recall something, when, in fact,

5    you do recall it, that that's false testimony?             Do you

6    remember that we talked about that --

7         A.    Yes.

8         Q.    -- at the outset?       Okay.    What do you recall

9    about the length of the phone calls or conversations

10   that you had with Mr. Davidson about the census over

11   the last couple of years?

12        A.    I recall that I had some.

13        Q.    And you have no recollection about how long

14   those calls were or those interactions were?

15        A.    Well, you said -- you asked me if I was --

16   talked to him for four hours.         I don't recall talking

17   to anyone for hour hours in one phone call.

18        Q.    No.    I'm asking you now approximately how

19   long were the interactions that you had with him

20   regarding the census.       Can you give me a range?

21        A.    I -- I don't know.       I don't recall how long

22   they were.

23                [Marked Exhibit No. 18.]

24        Q.    Handing you what we've marked as Exhibit 18.

25   We've got one copy for you guys.         Take a minute to
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 44 of 126


                                                                       Page 279
1    review this document and let me know if you've seen it

2    before.

3         A.    I have seen it before.

4         Q.    When did you see it?

5         A.    I've seen versions of this before.

6         Q.    When you say versions of this, what do you

7    mean?

8         A.    Well, something that starts out with John

9    Thompson and then says reinstatement of the

10   questionnaire.     I -- I've -- this is -- I recall

11   seeing something like this in different versions --

12        Q.    This is --

13        A.    -- at different times.

14        Q.    Okay.    And just so the record is clear, this

15   is a -- a draft of a letter from the Department of

16   Justice to the Commerce Department requesting the

17   reinstatement of a question on the 2020 census

18   questionnaire related to citizenship, correct?

19        A.    Do we know that it's from DOJ?          Oh, because

20   it says --

21        Q.    Do you see the last line?

22        A.    -- for doj.gov.

23        Q.    Yes.

24        A.    So what was the question again?

25        Q.    So this is a draft of a letter from DOJ to
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 45 of 126


                                                                         Page 280
1    the Commerce Department requesting a reinstatement of

2    a citizenship question on the 2020 --

3         A.    Right.

4         Q.    -- census, right?

5               MR. ROSENBERG:      Objection, form, assumes

6    facts not in evidence.

7         A.    I -- I -- I -- it seems to be that.

8         Q.    (By Mr. Duraiswamy) Okay.         And when did

9    you -- or who -- who provided you with versions of

10   this draft letter?

11        A.    I'm not sure which version this is.            Again,

12   I'm familiar with the letter.         I'm not sure who the

13   original author is.      I'm sure that I looked at it.          I

14   might have commented on it, but I'm not sure who

15   writes a first -- a first template, as it were.

16   What's interesting is when I look at this, it seems

17   like --

18              MR. FELDMAN:      And this being?

19        A.    This being the version that you're looking

20   at right now.

21              MR. FELDMAN:      Exhibit 18.

22        A.    And I look at the letter that I first saw in

23   ProPublica.    This letter is very different than the

24   letter that ultimately went from DOJ.

25        Q.    (By Mr. Duraiswamy) Okay.         In order to help
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 46 of 126


                                                                       Page 281
1    us all get out of here on time, I'm going to ask you

2    try to --

3         A.     Oh, we're all going to get here on -- out of

4    here on time.

5         Q.     Well, I want you -- in order to avoid the

6    risk of our having to come back and do more

7    questioning, I want to you to try to focus on just

8    answering the question --

9         A.     Right.

10        Q.     -- that I've asked.       So my question, you

11   stated that you had previously seen a version of this

12   draft, correct?

13        A.     Correct.

14        Q.     Okay.    And I believe you said --

15        A.     And, again, there are people within the

16   Secretary's office who could have had a version, could

17   have had -- marked up their own version, could have --

18   again, trying to figure out who an original author is

19   when this looks a little --

20               MR. FELDMAN:     The question --

21        Q.     (By Mr. Duraiswamy) Yeah.

22               MR. FELDMAN:     Just --

23        Q.     (By Mr. Duraiswamy) I don't -- I don't

24   want -- I don't -- I'm not asking you to tell me about

25   who the original author was or anything.           I want to
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 47 of 126


                                                                       Page 282
1    try to ask about your experience with this --

2         A.    Right.

3         Q.    -- with versions of this draft letter.

4    Okay?    Do you recall who provided you with a -- a

5    version of this draft letter?

6         A.    No.

7         Q.    Presumably, you -- well, strike that.

8               You said you might have commented on it.             Do

9    you recall what comments you may have made on the

10   draft letter?

11        A.    I don't recall.

12        Q.    Do you recall why you were reviewing it?

13        A.    I was comparing this to that ACS letter.             So

14   again, how does DOJ interact with Census on data

15   needs.

16        Q.    Why were you comparing it to the ACS letter?

17        A.    Process.     I'm a process person.

18        Q.    But I'm -- I'm --

19        A.    If you want --

20        Q.    -- trying to understand why specifically you

21   were asked to or took the initiative to compare a

22   draft version of this letter to the ACS letter that we

23   talked about before.

24        A.    Again, I want to make sure that if the

25   department has an interest in evaluating a change in
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 48 of 126


                                                                       Page 283
1    the questionnaire, that they're following procedures.

2    This clearly doesn't look like the -- the letter that

3    actually went out, but it looks like almost a

4    placeholder, a template.

5         Q.    When you say you want to make sure that if

6    the department has an interest in evaluating a change

7    in the questionnaire, you're referring to the -- the

8    Department of Commerce --

9         A.    Correct.

10        Q.    -- correct?

11        A.    Correct.

12        Q.    Okay.    And you recall that others at the

13   Department of Commerce were reviewing and offering

14   thoughts on draft versions of this letter?

15        A.    I seem to recall that, yes.

16        Q.    Who do you recall was involved in that

17   effort?

18        A.    It might have been the general counsel's

19   office, and it might have been the policy office.              And

20   again, blurring a lot of those people, interactions

21   together, new people coming on board, Peter Davidson

22   coming on board, Earl being involved in policy

23   matters, people that work for Earl.          There are a lot

24   of cooks in the kitchen.

25        Q.    Other than Mr. Davidson and Mr. Comstock,
      Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 49 of 126


                                                                       Page 284
1    who you just mentioned, are there other specific

2    people that you recall being involved in that process?

3         A.     Maybe --

4                MR. ROSENBERG:     Objection, mischaracterizes

5    testimony.

6                MR. FELDMAN:     Go ahead.

7         A.     Maybe Izzy Hernandez, maybe Sahra Park-Su.

8    You know, when I think of the policy people, they're

9    all sort of blended together, the general counsel's

10   people and so forth.

11        Q.     (By Mr. Duraiswamy) Do you recall any

12   specific comments or edits that you suggested to the

13   draft version of this letter?

14        A.     I don't recall, but I'm sure that I made

15   comments.

16        Q.     You just don't remember specifically what

17   the comments were?

18        A.     Right, right.

19        Q.     Do you remember who you made the comments to

20   or who you provided the comments to?

21        A.     They would have been within that group of

22   people, and I would -- I would -- you know, when I say

23   general counsel, I -- I include James in that too.

24        Q.     Okay.

25        A.     And in this --
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                  EXHIBIT C
               Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 51 of 126




From:                               Stephanie Edelman <Stephanie@stephanieedelman.com>
Sent:                               Tuesday, September 1, 2015 5:01 PM
To:                                 'Tom Hofeller'
Subject:                            RE: Address & Entity for Invoice


Of course, totally understand! I've sent your invoice for processing to our accountant. Let me know if there's anything
else.

Best,
Stephanie

From: Tom Hofeller [mailto:celticheal@aol.com]
Sent: Tuesday, September 01, 2015 4:58 PM
To: Stephanie Edelman <Stephanie@stephanieedelman.com>
Subject: RE: Address & Entity for Invoice

Thank you so much. It's just that I have to keep my public statements simple outside of the expert court witness work I
do.

From: Stephanie Edelman [mailto:Stephanie@stephanieedelman.com]
Sent: Tuesday, September 01, 2015 3:22 PM
To: celticheal@aol.com<mailto:celticheal@aol.com>
Subject: Re: Address & Entity for Invoice


Absolutely, that is fine, and just to reiterate at this point the only intention with the Beacon is to use it as the vehicle to
fund the report-- there are no immediate plans to publish anything on this report in the Beacon. If there were down the
road, we would certainly discuss with you before proceeding. Sorry for any inconvenience or undue stress this has
caused!


Sent from my Verizon 4G LTE Smartphone



------ Original message------

From: Tom Hofeller

Date: Tue, Sep 1, 2015 3:15 PM

To: Stephanie Edelman;

Subject:RE: Address & Entity for Invoice


How about the commitment on attribution?


                                                               1
               Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 52 of 126
From: Stephanie Edelman [mailto:Stephanie@stephanieedelman.com]
Sent: Tuesday, September 01, 2015 12:17 PM
To: celticheal@aol.com<mailto:celticheal@aol.com>
Subject: Re: Address & Entity for Invoice


Yes, you are correct --that is the purpose of the report and I'll relay all this info to my boss. He had just mentioned in
passing yesterday the possibility of a media write up as an afterthought , but that was not the purpose of the report and
I highly doubt that will even be pursued--but regardless the Beacon is the entity we will pay from. Hope this helps, and
or course we are happy to discuss further!


Sent from my Verizon 4G LTE Smartphone



------ Original message------

From: Tom Hofeller

Date: Tue, Sep 1, 2015 12:12 PM

To: Stephanie Edelman;

Subject:RE: Address & Entity for Invoice


Stephanie:

When I undertook this project I understood that the purpose of the report was to inform a decision on the part of your
client regarding a funding decision for the Evenwel Plaintiffs. Understanding this, I did the report for that purpose. If I
had known that a media source was involved, which I didn't, I would have required an understanding as to the use of the
information.

I am OK with your use of this report as long as there is a prior agreement on attribution. My position is that the report
would not be attributed either directly or indirectly. Perhaps we need to discuss this.

I do not feel that any of the information, in general, will be any surprise to interested parties, except for the original
stated reason for which it was commissioned. I trust we can easily agree on this issue.

My invoice is attached.

Tom

From: Stephanie Edelman [mailto:Stephanie@stephanieedelman.com]
Sent: Monday, August 31, 2015 4:38 PM
To: 'Tom Hofeller'
Subject: RE: Address & Entity for Invoice

Hi, that was not the initial purpose of the report, which is to inform our principal's decision whether or not to fund a
group handling the Evenwel lawsuit, although my boss mentioned it as a possibility that the Beacon could write
something up on it, but would that problematic? Please let me know if so!

                                                               2
               Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 53 of 126

From: Tom Hofeller [mailto:celticheal@aol.com]
Sent: Monday, August 31, 2015 3:58 PM
To: Stephanie Edelman <Stephanie@stephanieedelman.com<mailto:Stephanie@stephanieedelman.com>>
Subject: RE: Address & Entity for Invoice

Is this report going to be used as a basis for an article in the Free Beacon?

From: Stephanie Edelman [mailto:Stephanie@stephanieedelman.com]
Sent: Monday, August 31, 2015 2:40 PM
To: 'Tom Hofeller'
Subject: Address & Entity for Invoice

Hi, Tom,

You can invoice us the Washington Free Beacon, at 1000 Wilson Boulevard, Suite 2600, Arlington, VA 22209. If electronic
invoice is easiest, you're welcome to send it directly to me. If you want to mail a hard copy, you can address it to my
attention. Let me know if you have any questions. Many thanks again for such a detailed report!

Best,
Stephanie

________________________________

Confidentiality Notice:

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sender, permanently delete the e-mail and any attachments, and destroy all hard copies immediately.

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or opinions presented are those of only the author and do not necessarily represent those of any entity with which the
sender may be affiliated in any capacity. This communication is for information purposes only and should not be
regarded as an offer, solicitation, coordination or endorsement of any kind.

Thank you.




                                                              3
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                  EXHIBIT D
    Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 55 of 126



      THE USE OF CITIZEN VOTING AGE POPULATION IN REDISTRICTING1


This study comments on the practicality of the use of citizen voting age population (CVAP) as
a basis for achieving population equality for legislative redistricting. What this means in
practice is that the total CVAP for a state would be divided by the number of legislative
districts to be redistricted in order to compute an idea district population for each single-
member district. Each district’s variance from this ideal district population would be used to
calculate both the least and most populous district and also to compute the total percentage
deviation (or “high to low”) for a redistricting plan as a whole. Compliance with the federal
“one person, one vote” standard would thus be determined on the basis of CVAP as opposed
to total population (TPOP), as is presently the case. The use of CVAP is not a new concept,
but as of this date, federal courts have not held that it is permissible to use CVAP as a
standard for legislative redistricting.


In Hawaii, courts have ruled that registered voters may be used as a population base for
legislative redistricting. This practice was adopted to remove non-resident military personnel
from the redistricting population base, and to avoid the creation of legislative districts with
extremely high percentages of non-registered adults. The courts, however, have also
mandated that the TPOPs in the districts must be closely related to the district deviations
based on registered voters. Appendix 1 discusses these court rulings in more detail. This
practice is still tied to total population.


In addition, the removal of prison inmates housed from other states has been allowed in 3
states in the 2010 redistricting cycle (Delaware, Maryland and New York). This practice,
often referred to as “prisoner adjustment” also moves the counts for domestic inmates in state
prisons to the location where they lived before being incarcerated (prisoners not from out-of
state). Democrat allies are now lobbying the Census Bureau to include this practice in the
2010 Decennial. Prisoner adjustment is generally believed to be favorable to the Democrats,




1
 This study does not constitute professional legal advice and is not intended to be substituted in place of advice from
qualified legal counsel.

                                                        Page 1 of 9
   Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 56 of 126



but may, in some states, be less favorable to minorities. This, of course depends on the
locations of the prisons. This practice, however, is still tied to total population.


As of today, the use of CVAP is limited to an evaluation of minority voting strength in
districts protected by the mandates of the Federal Voting Rights Act (sometimes, also, to
evaluate compliance with state and local civil rights provisions), and is most commonly used
to determine the ability of Latino voters to have equal opportunities to elect their preferred
candidates of choice in newly enacted districts.


The use of CVAP in redistricting has always been difficult. In decennial censuses prior to
2010, a citizenship question was included in the long form questionnaire which was
distributed to approximately one in seven households. This information, however, was not
available until after most states had already completed their line-drawing process.


For several reasons, the Bureau of the Census decided to discontinue the use of the long form
questionnaire for the 2010 Decennial Census and to depend exclusively on the short form
Questionnaire, which did not include a question on citizenship. The two primary reasons
given for this change were cost savings and an increase in the initial percentage of
questionnaires returned by mail.


As a replacement to the long form questionnaire, the Census Bureau instituted the American
Community Survey. To quote the Census Bureau: “The American Community Survey (ACS)
is an ongoing survey that provides vital information on a yearly basis about our nation and its
people. Information from the survey generates data that help determine how more than $400
billion in federal and state funds are distributed each year.” Each year, about 3.5+ million
households receive very detailed questionnaires of which about 2.2 million are successfully
returned.   This represents a 62% return rate.


In the version of the ACS data used for redistricting in this cycle, the questionnaires from 5
years were compiled together into a report released in late 2010. This included the samples
collected in 2005 through 2009. The number of questionnaires included in the 2005 through

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2009 sample was about 9.5 million. By comparison, about 16.2 million households would
have received a Long-Form Questionnaire had its use been continued in the 2010 Decennial
Census. This means that the accuracy of the ACS sample is significantly lower than the long
form sample would have been. In addition, the use of a 5-year rolling sample was much less
reflective of the actual characteristics of the population at the time of the actual 2010
Decennial Enumeration. which would have been a one-time snapshot taken in mid-2010
(April to August). Even if a majority of the justices on the U. S. Supreme Court are
sympathetic to the use of CVAP, it is not probable, in my judgment, that they will accept a
rolling 5-year survey in lieu of an actual full enumeration for use in redistricting or
reapportionment.


Another issue with use of the ACS in redistricting is that the accuracy for small units of
geography is extremely poor. This is particularly true for Census Tracts and Census Block
Groups. In some cases the confidence interval for a Block Group exceeds the actual range of
the data, creating negative numbers for the low point of the confidence interval.


Another problem with the ACS data is that the units of geography by which the ACS is
compiled is different from the geographic units used in redistricting. Almost all states are
using Census Voting Districts (VTDs) are preferred as the basic geographic building blocks
for creating new districts. VTD boundaries generally follow precinct boundaries. ACS data
are simply not available for VTDs, and any estimates of CVAP populations for VTDs would
be even more inaccurate than the ACS estimates for Census Tracts and Block Groups.


For those states in which CVAP estimates for legislative districts have been compiled,
determinations have been required to compute the percentage of each Census Block Group’s
population which is in each legislative or congressional district. The CVAP statistics have
been summed for all the block groups which have either 50% or 75% of their population in an
individual district and these estimates have been imputed to the total adult populations of the
districts. The Texas Legislative Counsel’s report (Appendix 3), contains the confidence
intervals for the estimated of Texas House district are generally from 2 to 3 percent.



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In many states, such as Texas, experienced redistricting experts have relied much more on the
use of ethnic surname matches against the registered voter file to determine Latino voting
strength, rather than estimates of the percentage of adult citizens who are Latino. Of course,
since the population base for compliance with the one person, one vote rule has been TPOP,
ethnic surname and CVAP estimates have only been used as indices of probable district
election performance for Latino candidates.


Another issue to consider is whether or not CVAP, or just total citizen population (CPOP),
would be the proper base, should the U. S. Supreme Court determine that citizenship should
replace TPOP, which is presently in use. So far, courts have not even accepted the use of total
voting age population (TVAP or VAP) as a redistricting standard, so it would be a high leap
from TPOP to CVAP as the new standard.


All this leads to a possible conclusion that without a congressional mandate for the United
States Census Bureau to add a citizenship question to the 2020 Decennial Census form, or
such a mandate from the Supreme Court, the relief sought in the Evenwel case is functionally
unworkable.


The other important topic to address are the political ramifications of using CVAP as the
redistricting population standard for one person, one vote compliance. Would the gain of
GOP voting strength be worth the alienation of Latino voters who will perceive a switch to
CVAP as an attempt to diminish their voting strength? That, however, is not the subject of
this study.


By mutual agreement, a study of the effect of using CVAP instead of TPOP as the
redistricting population basis for drafting a plan for the Texas State House of Representatives
has been commissioned. Demographic information on the current 150 State House districts
has been obtained from the website of the Texas Legislative Council. Since State House
districts are roughly equal in population they are appropriate for such an examination.




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A spreadsheet containing information on each of the 150 State House districts in Texas has
been compiled. There is one row for each district and each row contains 15 columns of
geographic, demographic and political information for each individual district. This
spreadsheet has been sorted in 6 different orders which make up Tables 2 through 7. The
column header by which the table is sorted is shaded purple. An explanation of each of the 15
columns can be found in Appendix 2.


          Table 2 is sorted by district number (Column A).


          Table 7 is sorted by the population deviation measured in terms of TPOP (Column M).


          Table 3 is sorted by the population deviation measured in terms of CVAP (Column O).


The population deviations for the current districts, as measured in terms of TPOP, ranges
from 4.83% above to -5.02% below the idea district population (Table 7. Column M). The
ideal population is the sum of the base population (either TPOP or CVAP) divided by the total
number of districts. The range of deviation from the most to least populated district is 9.85%
(total deviation), which is below the 9.99% range acceptable under the provisions of the
United States Supreme Court’s “one person, one vote” rule. The deviations of the 2003
House district could have been lower. They are as high as they are because Texas’
Constitution has special provisions for the redistricting of it State House of Representatives
which mandate keeping districts within whole counties or groups of whole counties. These
provisions, however, may, to some extent, fall by the wayside as a result of the current federal
court lawsuit challenging Texas’ adherence to the Voting Rights Act in its latest redistricting
(2003).


When CVAP is used as the population base, the population deviations for the current State
House districts increase in range from a high of 20.47% to a low of -40.38% with a total
deviation of 60.85% (Table 3, Column O),. This deviation is clearly unacceptable under the
“one person, one vote” rule. If the Supreme Court were to impose CVAP as the proper



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population base, and mandate its application to the districts for 2016, a radical redrawing of
the State House districts would be required.


              POLITICAL AND DEMOGRAPHIC EFFECTS OF USING CVAP


There are several general rules related to redistricting in general which should be discussed at
this point:


    1. First, the party which controls the actual line-drawing process, in most instances,
        possesses a huge advantage which outweighs almost all other factors influencing the
        redistricting process. This would be equally true if the population base were to be
        shifted from TPOP to CVAP.


    2. Second, redistricting has often been described as a “game of margins”. Many times a
        shift of two or three precincts into or out of a district can significantly alter the
        political characteristic of that district. As an example, if a district is solidly
        Democratic and the Republicans are drawing the plan, the Republican will almost
        always add additional heavily Democratic precincts to that district to improve their
        advantage in surrounding districts. On the other hand, if Democrats are doing the line
        drawing, they will often submerge heavily Republican precincts into a strong
        Democratic district to improve their chances of electing Democrats in the surrounding
        districts.


These factors would also apply for Texas if CVAP were to become the new population base.
In the case of Texas redistricting, the ability of the party in power to overcome a switch to
CVAP would be somewhat limited in State House redistricting because of the mandate to
keep counties intact – particularly if the Democrats regained control.


Table 4, which sorts the existing House districts by percent Hispanic CVAP, demonstrates
that considerable population would have to be added to a majority of the Latino districts to
bring their populations up to acceptable levels of deviation (Table 4, Column H). There are

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presently 35 districts with HCVAP percentages over 40. As a whole, those 35 districts only
contain sufficient HCVAP populations to comprise 30.1 districts (See the green shading on
Table 4). As would be expected, the remaining 115 districts have sufficient combined
HCVAP populations to comprise 119.6 districts.


Table 6 sorts the districts by the political party of the incumbent State House members (See
Table 6, Column C). The 97 GOP districts have sufficient CVAP populations to actually
form 103.2 districts, while the 53 Democrat districts only have sufficient CVAP population to
comprise 46.8 districts. Use of CVAP would clearly be a disadvantage for the Democrats.


Since all of the Republican and Democrat districts are not located in two distinct areas, it is
helpful to examine the effects of switching from TPOP to CVAP as the population base by
regions. Texas has been divided into 13 regions comprised of whole State House Districts.
Those regions are show on Maps 1 and 2. The regions are:


   1. Dallas-Ft Worth and suburbs (3 regions)
   2. Houston and its suburbs (2 regions)
   3. Austin and its suburbs (1 region)
   4. San Antonio and its suburbs (1 region)
   5. El Paso County (1 region)
   6. The Rio Grande Valley and South Texas (1 region)
   7. The area southeast of Houston (1 region)
   8. The northeast area of Texas (1 region)
   9. The central area of the State, roughly between DFW, Austin and Houston (1 region)
   10. The areas of West-Central and Western Texas (1 region).


These regions certainly are not in any way official, but are sufficient for this redistricting
analysis.


The data for these 13 regions may be found on Table 5 (which is sorted first by Column B and
then by Column A) and demonstrates some interesting characteristics. This table compares

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the number of projected CVAP-based districts which would be contained in these 13 regions
to the number of actual Texas State House districts presently located within them (the 2003
House Plan). The combined CVAP district deviations within each region have been summed
to determine the number of districts each region would be entitle to using CVAP as the
population base. These data are summarized on Table 8, and correspond to the green-shaded
areas on Table 5 (found in Column O at the bottom of the section for each region).


The use of CVAP as the population based would cause a loss of relative population (and, thus
districts) in the Greater Dallas/Ft. Worth Area (-.7 districts overall), with the greatest loss in
Dallas County (1.7 districts). Harris County and its suburbs would lose relative population
(1.7 districts overall), with a loss of 1.9 districts being slightly offset by the gain in the
surrounding suburban counties. The greatest loss would be in South Texas, El Paso and the
Rio Grande Valley which would lose 2.6 districts overall. All other regions of the State
would enjoy relative gains in population, with the greatest gains being in Central as well as
West Texas’ rural and semi-rural counties.


Even within the individual regions (Using Table 5), an inspection of the CVAP deviation
percentages of Republican versus Democratic districts shows that the Democratic CVAP
deviations are generally negative and the GOP deviations are generally positive. The means
that Democratic districts could geographically expand to absorb additional high Democrat
precincts from adjacent Republican districts, strengthening the adjoining GOP districts.


                                         CONCLUSIONS


    •   A shift from a redistricting population based determined using total population to adult
        population is radical departure from the federal “one person, one vote” rule presently
        used in the United States.


    •   Without a question on citizenship being included on the 2020 Decennial Census
        questionnaire, the use of citizen voting age population is functionally unworkable.



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•   The Obama Administration and congressional Democrats would probably be
    extremely hostile to the addition of a citizenship question on the 2020 Decennial
    Census questionnaire.


•   The chances of a U. S. Supreme Court’s mandate to add a citizenship question to the
    2020 Decennial Census are not high.


•   A switch to the use of citizen voting age population as the redistricting population
    base for redistricting would be advantageous to Republicans and Non-Hispanic
    Whites.


•   A proposal to use CVAP can be expected to provoke a high degree of resistance from
    Democrats and the major minority groups in the nation.




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                            TABLE 1
             American Community Survey (ACS)
                  Sample Sizes by Year and Type

             Housing Units               Group Quarters People
           Initial                 Initial
  Year                  Final                   Actual      Synthetic
         Addresses                Sample
                     Interviews               Interviews   Interviews
          Selected                Selected
  2013   3,551,227 2,208,513      207,410      163,663      135,758
  2012   3,539,552 2,375,715      208,551      154,182      137,086
  2011   3,272,520 2,128,104      204,553      148,486      150,052
  2010   2,899,676 1,917,799      197,045      144,948        N/A
  2009   2,897,256 1,917,748      198,808      146,716        N/A
  2008   2,894,711 1,931,955      186,862      145,974        N/A




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                                                                                       TABLE 2
                                                                                 STATE OF TEXAS
                                                                     STATE HOUSE OF REPRESENTITIVES
                                                               83rd Legislature - 1st Called Session - S.B. 3 (June 2013)
                                                      Citizen Voting Age Population Analysis Using American Community Survey
                                                                             Sorted by District Number
 A           B            C       D         E          F         G        H          I          J           K          L          M           N          O            P
                                                               PCT       PCT       PCT     %HVAP - %HCVAP/          TPOP       %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo HCVAP HVAP %HCVAP                  %HVAP      Deviation   Deviation   Deviation  Deviation   % TPOP Dev
 1       Northeast TX     R      165,823   125,927   122,470     75.1        3.1       5.8         -2.7       53.5       -1814       -1.08     14,488      13.42         14.50
2        Northeast TX     R      173,869   130,806   124,825     85.1        5.5      10.0         -4.5       55.2        6232        3.72     16,843      15.60         11.88
3      Houston Suburbs    R      164,955   119,595   109,760     75.4        9.7      20.0        -10.3       48.5       -2682       -1.60      1,778        1.65         3.25
 4      DFW Suburbs       R      168,429   123,603   117,715     81.5        6.3      11.7         -5.4       53.6         792        0.47      9,733        9.01         8.54
 5       Northeast TX     R      160,253   120,169   112,555     78.8        5.2      13.2         -7.9       39.8       -7384       -4.40      4,573        4.23         8.64
 6       Northeast TX     R      160,008   119,154   109,970     70.1        6.5      14.9         -8.3       44.0       -7629       -4.55      1,988        1.84         6.39
 7       Northeast TX     R      161,039   120,296   112,255     74.7        3.9      11.2         -7.3       34.9       -6598       -3.94      4,273        3.96         7.89
 8      Central Texas     R      161,098   123,550   114,450     72.1        8.8      15.4         -6.6       57.0       -6539       -3.90      6,468        5.99         9.89
 9       Northeast TX     R      166,719   125,947   121,420     75.8        2.5       6.9         -4.4       35.8        -918       -0.55     13,438      12.44         12.99
10      DFW Suburbs       R      163,063   116,978   111,680     75.6       13.1      18.7         -5.5       70.4       -4574       -2.73      3,698        3.42         6.15
11       Northeast TX     R      168,699   128,086   118,640     72.2        5.7      13.9         -8.3       40.6        1062        0.63     10,658        9.87         9.24
12      Central Texas     R      160,573   119,556   111,590     64.4       11.8      19.5         -7.7       60.6       -7064       -4.21      3,608        3.34         7.56
13      Central Texas     R      170,617   131,129   123,515     75.2        9.5      15.9         -6.4       59.7        2980        1.78     15,533      14.38         12.61
14      Central Texas     R      163,187   131,479   114,485     68.6       14.1      21.0         -6.9       67.2       -4450       -2.65      6,503        6.02         8.68
15     Houston Suburbs    R      167,349   120,450   116,690     81.8        7.4      13.5         -6.1       55.0        -288       -0.17      8,708        8.06         8.24
16     Houston Suburbs    R      166,647   122,271   108,180     80.7        9.3      21.1        -11.8       44.2        -990       -0.59        198        0.18         0.77
17      Central Texas     R      163,480   121,295   112,125     61.1       27.0      33.4         -6.4       80.9       -4157       -2.48      4,143        3.84         6.32
18       Southeast TX     R      169,888   132,877   126,560     71.3        8.1      14.2         -6.1       57.0        2251        1.34     18,578      17.20         15.86
19       Southeast TX     R      171,969   131,682   128,705     82.5        3.7       6.3         -2.6       58.3        4332        2.58     20,723      19.19         16.61
20      Central Texas     R      159,816   121,754   115,395     82.8       10.3      16.6         -6.2       62.4       -7821       -4.67      7,413        6.87        11.53
21       Southeast TX     R      172,180   130,308   121,365     82.0        5.2       9.3         -4.1       55.7        4543        2.71     13,383      12.39          9.68
22       Southeast TX     D      161,930   122,897   115,525     37.0        7.7      15.7         -8.0       49.0       -5707       -3.40      7,543        6.99        10.39
23     Houston Suburbs    R      163,720   123,736   111,960     59.8       16.6      22.7         -6.1       73.2       -3917       -2.34      3,978        3.68         6.02
24     Houston Suburbs    R      162,685   118,491   118,260     74.8       11.3      15.6         -4.3       72.3       -4952       -2.95     10,278        9.52        12.47
25     Houston Suburbs    R      174,168   129,041   121,250     62.4       20.8      27.4         -6.6       75.9        6531        3.90     13,268      12.29          8.39
26     Houston Suburbs    R      160,091   117,247    97,320     52.2       11.6      14.9         -3.3       77.8       -7546       -4.50    -10,662      -9.87         -5.37
27     Houston Suburbs    D      160,084   113,596   104,295     26.2       14.8      19.7         -4.8       75.4       -7553       -4.51     -3,687      -3.41          1.09
28     Houston Suburbs    R      160,373   107,968   100,995     53.3       15.6      20.6         -5.0       75.8       -7264       -4.33     -6,987      -6.47         -2.14
29     Houston Suburbs    R      175,700   124,171   116,165     57.5       17.4      23.2         -5.8       74.9        8063        4.81      8,183        7.58         2.77
30      Central Texas     R      166,022   124,729   121,220     59.0       31.8      35.2         -3.4       90.4       -1615       -0.96     13,238      12.26         13.22
31     S Tex RG Valley    D      171,858   121,699   104,285     23.1       73.9      77.7         -3.8       95.1        4221        2.52     -3,697      -3.42         -5.94
32     S Tex RG Valley    R      167,074   126,072   124,080     46.8       44.2      45.9         -1.6       96.5        -563       -0.34     16,098      14.91         15.24
33      DFW Suburbs       R      172,135   119,518   115,655     77.9        8.5      13.5         -4.9       63.5        4498        2.68      7,673        7.11         4.42
34     S Tex RG Valley    D      173,149   125,896   117,465     28.0       64.6      67.7         -3.1       95.4        5512        3.29      9,483        8.78         5.49




                                                                             Table 2 - Page 1 of 4
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 A           B            C       D         E          F        G        H       I       J         K         L           M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP       %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP    Deviation   Deviation   Deviation  Deviation   % TPOP Dev
35     S Tex RG Valley    D      168,627   109,154    77,585    18.6       78.9   85.1      -6.2     92.7        990         0.59    -30,397     -28.15        -28.74
36     S Tex RG Valley    D      168,963   110,963    76,060    11.9       86.0   90.8      -4.8     94.7       1326         0.79    -31,922     -29.56        -30.35
37     S Tex RG Valley    D      169,088   113,454    78,885    15.5       81.5   87.1      -5.6     93.6       1451         0.87    -29,097     -26.95        -27.81
38     S Tex RG Valley    D      168,214   110,865    92,195    13.5       80.2   86.7      -6.4     92.6        577         0.34    -15,787     -14.62        -14.96
39     S Tex RG Valley    D      168,659   110,751    85,015    14.6       78.9   88.0      -9.1     89.7       1022         0.61    -22,967     -21.27        -21.88
40     S Tex RG Valley    D      168,662   108,086    79,875     8.2       88.4   92.1      -3.8     95.9       1025         0.61    -28,107     -26.03        -26.64
41     S Tex RG Valley    D      168,776   115,033    88,365    17.9       75.7   80.4      -4.6     94.2       1139         0.68    -19,617     -18.17        -18.85
42     S Tex RG Valley    D      167,668   111,699    84,125     5.4       91.2   95.0      -3.9     95.9          31        0.02    -23,857     -22.09        -22.11
43     S Tex RG Valley    R      169,564   124,492   120,575    35.8       57.7   59.8      -2.1     96.5       1927         1.15     12,593      11.66         10.51
44      Central Texas     R      174,451   126,713   125,720    60.9       29.7   32.7      -3.0     90.9       6814         4.06     17,738      16.43         12.36
45        Austin Area     R      167,604   126,549   124,330    66.7       25.5   30.0      -4.6     84.8         -33       -0.02     16,348      15.14         15.16
46        Austin Area     D      166,410   118,539    94,335    41.6       24.6   41.6     -16.9     59.3      -1227        -0.73    -13,647     -12.64        -11.91
47        Austin Area     R      175,314   127,689   125,095    80.3       12.3   12.6      -0.3     97.7       7677         4.58     17,113      15.85         11.27
48        Austin Area     D      173,008   135,585   127,810    74.4       16.7   20.4      -3.7     81.9       5371         3.20     19,828      18.36         15.16
49        Austin Area     D      167,309   144,371   130,085    73.1       14.3   21.6      -7.3     66.2       -328        -0.20     22,103      20.47         20.66
50        Austin Area     D      166,516   124,252   110,735    57.5       17.7   25.3      -7.6     69.9      -1121        -0.67      2,753        2.55         3.22
51        Austin Area     D      175,709   128,793    98,320    41.5       44.0   56.2     -12.2     78.3       8072         4.82     -9,662      -8.95        -13.76
52        Austin Area     R      165,994   114,146   111,445    62.8       19.6   26.7      -7.1     73.5      -1643        -0.98      3,463        3.21         4.19
53        West Texas      R      162,897   127,381   123,515    72.2       23.1   26.8      -3.7     86.3      -4740        -2.83     15,533      14.38         17.21
54      Central Texas     R      167,736   117,164   112,385    51.6       15.8   17.6      -1.9     89.5          99        0.06      4,403        4.08         4.02
55      Central Texas     R      162,176   119,755   116,635    64.4       14.9   19.4      -4.5     76.8      -5461        -3.26      8,653        8.01        11.27
56      Central Texas     R      163,869   123,411   117,985    72.6       12.4   17.8      -5.4     69.7      -3768        -2.25     10,003        9.26        11.51
57       Southeast TX     R      164,418   124,630   118,140    72.8        7.2   13.0      -5.8     55.5      -3219        -1.92     10,158        9.41        11.33
58      Central Texas     R      169,146   123,826   118,105    84.2        8.7   14.9      -6.1     58.8       1509         0.90     10,123        9.37         8.47
59      Central Texas     R      163,609   122,193   118,030    75.9       11.4   15.6      -4.2     73.1      -4028        -2.40     10,048        9.31        11.71
60        West Texas      R      171,429   131,870   127,825    86.9        9.2   11.8      -2.6     78.0       3792         2.26     19,843      18.38         16.11
61      DFW Suburbs       R      176,054   130,782   128,065    88.5        6.0   10.6      -4.6     56.9       8417         5.02     20,083      18.60         13.58
62       Northeast TX     R      160,023   122,203   117,530    85.0        4.2    8.6      -4.4     49.0      -7614        -4.54      9,548        8.84        13.38
63      DFW Suburbs       R      167,337   115,634   113,605    80.8        8.0   13.1      -5.1     61.2       -300        -0.18      5,623        5.21         5.39
64      DFW Suburbs       R      167,588   129,175   116,875    75.0       10.1   16.6      -6.5     60.8         -49       -0.03      8,893        8.24         8.26
65      DFW Suburbs       R      165,742   124,977   109,350    62.3        9.8   18.6      -8.8     52.5      -1895        -1.13      1,368        1.27         2.40
66      DFW Suburbs       R      172,129   130,796   113,390    69.7        6.0    9.1      -3.1     65.8       4492         2.68      5,408        5.01         2.33
67      DFW Suburbs       R      172,141   126,368   111,250    70.1        7.5   13.9      -6.4     54.0       4504         2.69      3,268        3.03         0.34
68        West Texas      R      160,508   121,547   112,760    80.9       12.8   18.5      -5.7     69.1      -7129        -4.25      4,778        4.42         8.68
69        West Texas      R      160,087   123,063   117,450    77.2        9.7   12.9      -3.2     75.3      -7550        -4.50      9,468        8.77        13.27
70      DFW Suburbs       R      172,135   117,432   110,995    75.3       10.0   15.9      -5.9     62.9       4498         2.68      3,013        2.79         0.11
71        West Texas      R      166,924   127,097   123,650    71.2       17.9   20.1      -2.1     89.4       -713        -0.43     15,668      14.51         14.94
72        West Texas      R      170,479   130,771   123,075    64.6       27.6   32.3      -4.8     85.3       2842         1.70     15,093      13.98         12.28
73          Bexar         R      166,719   127,882   126,130    79.7       16.6   19.8      -3.3     83.6       -918        -0.55     18,148      16.81         17.35
74     S Tex RG Valley    D      162,357   115,236    91,345    24.6       69.4   76.6      -7.3     90.5      -5280        -3.15    -16,637     -15.41        -12.26



                                                                           Table 2 - Page 2 of 4
                                 Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 67 of 126


 A           B            C       D         E          F        G        H       I       J         K         L          M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP      %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP    Deviation  Deviation   Deviation  Deviation   % TPOP Dev
 75        El Paso        D      159,691   103,209    77,455     8.9       89.0   91.8      -2.8     97.0      -7946       -4.74    -30,527     -28.27        -23.53
 76        El Paso        D      159,752   116,389    94,705    11.2       83.5   87.3      -3.7     95.7      -7885       -4.70    -13,277     -12.30         -7.59
 77        El Paso        D      160,385   115,924    90,830    22.9       69.6   76.0      -6.4     91.6      -7252       -4.33    -17,152     -15.88        -11.56
 78        El Paso        D      160,161   111,913    98,925    31.6       58.3   64.7      -6.4     90.0      -7476       -4.46     -9,057      -8.39         -3.93
 79        El Paso        D      160,658   112,399    98,435    17.0       76.7   79.9      -3.2     96.0      -6979       -4.16     -9,547      -8.84         -4.68
 80    S Tex RG Valley    D      161,949   106,402    86,650    15.5       78.7   86.1      -7.4     91.4      -5688       -3.39    -21,332     -19.76        -16.36
 81      West Texas       R      169,684   120,535   108,980    51.8       39.0   46.9      -7.9     83.2       2047        1.22        998        0.92        -0.30
 82       West Texas      R      163,234   118,623   113,415    59.3       28.6   35.2      -6.6     81.2      -4403       -2.63      5,433        5.03         7.66
 83      West Texas       R      173,918   127,906   123,330    67.1       24.9   28.1      -3.2     88.8       6281        3.75     15,348      14.21         10.47
 84      West Texas       R      167,970   128,898   124,075    58.7       28.0   30.2      -2.2     92.8        333        0.20     16,093      14.90         14.70
 85    Houston Suburbs    R      160,182   113,433   102,620    48.3       27.5   35.1      -7.6     78.5      -7455       -4.45     -5,362      -4.97         -0.52
 86      West Texas       R      165,183   121,555   115,915    76.4       16.5   22.3      -5.8     73.9      -2454       -1.46      7,933        7.35         8.81
 87      West Texas       R      174,343   125,360   109,320    65.0       21.8   29.7      -7.9     73.3       6706        4.00      1,338        1.24        -2.76
 88      West Texas       R      160,896   115,622   103,670    60.9       29.4   38.9      -9.5     75.7      -6741       -4.02     -4,312      -3.99          0.03
 89     DFW Suburbs       R      172,138   118,380   116,895    72.4        8.9   13.0      -4.2     68.0       4501        2.68      8,913        8.25         5.57
 90      Tarrent Cnty     D      159,684   105,664    71,770    27.9       49.0   70.7     -21.7     69.3      -7953       -4.74    -36,212     -33.54        -28.79
 91      Tarrent Cnty     R      162,838   119,048   108,845    75.9       10.9   18.2      -7.2     60.2      -4799       -2.86        863        0.80         3.66
 92      Tarrent Cnty     R      162,326   126,290   116,980    70.3        9.6   14.5      -4.9     66.1      -5311       -3.17      8,998        8.33        11.50
 93      Tarrent Cnty     R      162,161   113,584   103,455    64.1       14.8   22.8      -8.0     65.0      -5476       -3.27     -4,527      -4.19         -0.93
 94      Tarrent Cnty     R      167,374   125,516   114,195    69.8       10.2   15.3      -5.2     66.3       -263       -0.16      6,213        5.75         5.91
 95      Tarrent Cnty     D      161,634   115,752    96,150    32.9       12.9   24.3     -11.4     53.0      -6003       -3.58    -11,832     -10.96         -7.38
 96      Tarrent Cnty     R      164,930   113,924   109,035    65.5       10.1   15.2      -5.1     66.5      -2707       -1.61      1,053        0.98         2.59
 97      Tarrent Cnty     R      168,869   131,311   122,870    70.5        9.8   15.7      -5.9     62.3       1232        0.73     14,888      13.79         13.05
 98      Tarrent Cnty     R      164,081   114,953   114,875    83.7        6.7    9.8      -3.1     68.8      -3556       -2.12      6,893        6.38         8.50
 99      Tarrent Cnty     R      170,473   125,722   116,830    74.7       14.7   20.1      -5.4     73.1       2836        1.69      8,848        8.19         6.50
100      Dallas Cnty      D      161,143   117,479    97,410    29.8       18.3   33.1     -14.8     55.2      -6494       -3.87    -10,572      -9.79         -5.92
101      Tarrent Cnty     D      164,664   110,209    92,990    35.5       19.7   32.5     -12.8     60.6      -2973       -1.77    -14,992     -13.88        -12.11
102      Dallas Cnty      R      161,136   122,520    96,850    65.0       11.3   24.1     -12.8     46.8      -6501       -3.88    -11,132     -10.31         -6.43
103      Dallas Cnty      D      170,948   121,837    71,970    39.0       42.7   64.3     -21.7     66.3       3311        1.98    -36,012     -33.35        -35.33
104      Dallas Cnty      D      172,784   115,035    78,780    25.3       51.7   69.2     -17.5     74.7       5147        3.07    -29,202     -27.04        -30.11
105      Dallas Cnty      R      175,728   127,590    95,900    51.1       24.1   39.2     -15.1     61.4       8091        4.83    -12,082     -11.19        -16.02
106     DFW Suburbs       R      161,947   110,568   107,290    76.1        8.8   14.7      -5.9     60.1      -5690       -3.39       -692      -0.64          2.75
107      Dallas Cnty      R      171,872   123,986   108,045    57.9       15.6   28.9     -13.4     53.8       4235        2.53         63        0.06        -2.47
108      Dallas Cnty      R      163,233   133,667   122,505    74.3       13.6   19.5      -6.0     69.4      -4404       -2.63     14,523      13.45         16.08
109      Dallas Cnty      D      174,223   122,347   112,780    23.4       11.4   20.0      -8.6     57.0       6586        3.93      4,798        4.44         0.51
110      Dallas Cnty      D      167,508   111,827    83,885    14.6       24.9   45.5     -20.6     54.7       -129       -0.08    -24,097     -22.32        -22.24
111      Dallas Cnty      D      166,963   118,393   103,410    24.2       15.1   25.5     -10.3     59.4       -674       -0.40     -4,572      -4.23         -3.83
112      Dallas Cnty      R      167,051   120,192    97,965    54.9       14.8   26.3     -11.5     56.4       -586       -0.35    -10,017      -9.28         -8.93
113      Dallas Cnty      R      171,418   120,834   106,040    53.5       15.3   26.0     -10.8     58.6       3781        2.26     -1,942      -1.80         -4.05
114      Dallas Cnty      R      172,330   130,817   105,540    68.2       11.0   24.2     -13.2     45.6       4693        2.80     -2,442      -2.26         -5.06



                                                                           Table 2 - Page 3 of 4
                                     Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 68 of 126


  A             B             C         D          E          F        G         H       I       J         K          L          M           N          O            P
                                                                      PCT       PCT     PCT    %HVAP - %HCVAP/      TPOP      %TPOP        CVAP      % CVAP % CVAP Dev -
 Dist     Area of State     Party     Total      VAP       CVAP
                                                                      Anglo    HCVAP HVAP %HCVAP         %HVAP     Deviation  Deviation   Deviation  Deviation   % TPOP Dev
 115       Dallas Cnty        R       171,802    127,352   100,760      58.5       16.7   24.4      -7.8      68.2       4165        2.48     -7,222      -6.69         -9.17
 116         Bexar            D       171,463    132,823   115,470      32.3       57.1   59.9      -2.8      95.3       3826        2.28      7,488        6.93         4.65
 117         Bexar            R       168,692    117,126   111,045      32.3       60.9   58.8       2.1     103.6       1055        0.63      3,063        2.84         2.21
 118         Bexar            D       164,436    116,859   106,575      28.1       67.1   68.7      -1.6      97.6      -3201       -1.91     -1,407      -1.30          0.61
 119         Bexar            D       159,981    114,477   106,465      28.5       58.3   62.7      -4.4      93.0      -7656       -4.57     -1,517      -1.40          3.16
 120         Bexar            D       175,132    124,829   114,810      30.6       34.1   42.2      -8.1      80.9       7495        4.47      6,828        6.32         1.85
 121         Bexar            R       174,867    133,224   128,905      61.0       26.7   31.4      -4.6      85.2       7230        4.31     20,923      19.38         15.06
 122         Bexar            R       175,184    128,725   124,270      64.8       23.4   27.8      -4.3      84.4       7547        4.50     16,288      15.08         10.58
 123         Bexar            D       175,674    135,763   119,930      30.6       62.3   66.5      -4.2      93.7       8037        4.79     11,948      11.06          6.27
 124         Bexar            D       174,795    120,503   115,090      24.8       62.4   66.0      -3.6      94.6       7158        4.27      7,108        6.58         2.31
 125         Bexar            D       174,549    125,158   115,800      26.3       64.3   69.1      -4.8      93.1       6912        4.12      7,818        7.24         3.12
 126        Houston           R       169,256    123,014    99,335      51.8       17.0   26.8      -9.9      63.2       1619        0.97     -8,647      -8.01         -8.97
 127        Houston           R       163,983    115,865   114,290      67.1       12.4   18.1      -5.7      68.6      -3654       -2.18      6,308        5.84         8.02
 128        Houston           R       172,221    124,645   116,020      66.4       17.1   25.0      -7.9      68.5       4584        2.73      8,038        7.44         4.71
 129        Houston           R       174,127    130,457   121,280      62.9       13.6   20.4      -6.8      66.5       6490        3.87     13,298      12.32          8.44
 130        Houston           R       175,532    122,108   119,770      71.6       11.6   17.7      -6.2      65.3       7895        4.71     11,788      10.92          6.21
 131        Houston           D       175,227    121,368    93,535      13.2       24.0   41.2     -17.2      58.3       7590        4.53    -14,447     -13.38        -17.91
 132        Houston           R       172,973    117,666   109,150      52.4       20.6   33.0     -12.4      62.5       5336        3.18      1,168        1.08        -2.10
 133        Houston           R       171,401    135,423   114,530      70.2        9.5   14.7      -5.2      64.6       3764        2.25      6,548        6.06         3.82
 134        Houston           R       174,421    143,575   130,040      74.7       11.0   13.3      -2.3      82.6       6784        4.05     22,058      20.43         16.38
 135        Houston           R       172,422    121,136    99,750      50.0       18.2   28.5     -10.3      64.0       4785        2.85     -8,232      -7.62        -10.48
 136       Austin Area        R       164,376    116,361   113,740      72.8       12.9   16.3      -3.4      79.1      -3261       -1.95      5,758        5.33         7.28
 137        Houston           D       171,079    127,834    64,375      32.5       22.0   51.5     -29.6      42.6       3442        2.05    -43,607     -40.38        -42.44
 138        Houston           R       173,059    124,435    98,420      50.3       22.3   41.3     -19.0      54.0       5422        3.23     -9,562      -8.86        -12.09
 139        Houston           D       175,733    123,875   100,540      21.6       19.0   35.8     -16.7      53.2       8096        4.83     -7,442      -6.89        -11.72
 140        Houston           D       170,732    112,332    69,415      17.2       58.5   75.8     -17.2      77.3       3095        1.85    -38,567     -35.72        -37.56
 141        Houston           D       166,498    113,951    92,390      13.5       18.2   37.6     -19.4      48.4      -1139       -0.68    -15,592     -14.44        -13.76
 142        Houston           D       159,541    113,288    91,845      20.3       21.3   35.0     -13.7      60.8      -8096       -4.83    -16,137     -14.94        -10.11
 143        Houston           D       167,215    113,877    84,625      23.7       53.0   69.4     -16.4      76.4       -422       -0.25    -23,357     -21.63        -21.38
 144        Houston           D       161,859    108,509    75,785      34.9       50.3   69.8     -19.5      72.1      -5778       -3.45    -32,197     -29.82        -26.37
 145        Houston           D       164,574    116,918    83,645      28.4       55.6   69.8     -14.2      79.7      -3063       -1.83    -24,337     -22.54        -20.71
 146        Houston           D       174,485    130,444    97,195      24.7       11.2   27.3     -16.1      41.0       6848        4.09    -10,787      -9.99        -14.07
 147        Houston           D       175,873    136,034   114,905      28.9       18.4   31.2     -12.8      59.0       8236        4.91      6,923        6.41         1.50
 148        Houston           D       170,811    125,873    91,615      40.1       43.5   61.1     -17.6      71.2       3174        1.89    -16,367     -15.16        -17.05
 149        Houston           D       170,702    121,535    89,230      27.0       19.1   33.8     -14.7      56.6       3065        1.83    -18,752     -17.37        -19.19
 150        Houston           R       168,735    120,462   109,725      66.0       12.3   21.0      -8.7      58.7       1098        0.65      1,743        1.61         0.96

Note: The Indeal CVAP Population is 107,982. The ideal TPOP Deviation is 167,637.
Source is Texas Legislative Council at ftp://ftpgis1.tlc.state.tx.us/PlanH358/Reports/Excel/
Note: CVAP data is from 2010 ACS (2005 through 2009




                                                                                     Table 2 - Page 4 of 4
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                                                                                       TABLE 3
                                                                                 STATE OF TEXAS
                                                                     STATE HOUSE OF REPRESENTITIVES
                                                               83rd Legislature - 1st Called Session - S.B. 3 (June 2013)
                                                     Citizen Voting Age Population Analysis Using American Community Survey
                                                                         Sorted by Percent CVAP Deviation

 A           B            C       D         E          F        G        H       I       J        K         L           M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/    TPOP       %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP        %HVAP    Deviation   Deviation   Deviation  Deviation   % TPOP Dev
 49       Austin Area     D      167,309   144,371   130,085    73.1       14.3   21.6     -7.3     66.2       -328        -0.20     22,103      20.47         20.66
134        Houston        R      174,421   143,575   130,040    74.7       11.0   13.3     -2.3     82.6       6784         4.05     22,058      20.43         16.38
121         Bexar         R      174,867   133,224   128,905    61.0       26.7   31.4     -4.6     85.2       7230         4.31     20,923      19.38         15.06
 19      Southeast TX     R      171,969   131,682   128,705    82.5        3.7    6.3     -2.6     58.3       4332         2.58     20,723      19.19         16.61
 61     DFW Suburbs       R      176,054   130,782   128,065    88.5        6.0   10.6     -4.6     56.9       8417         5.02     20,083      18.60         13.58
 60       West Texas      R      171,429   131,870   127,825    86.9        9.2   11.8     -2.6     78.0       3792         2.26     19,843      18.38         16.11
 48       Austin Area     D      173,008   135,585   127,810    74.4       16.7   20.4     -3.7     81.9       5371         3.20     19,828      18.36         15.16
 18      Southeast TX     R      169,888   132,877   126,560    71.3        8.1   14.2     -6.1     57.0       2251         1.34     18,578      17.20         15.86
 73         Bexar         R      166,719   127,882   126,130    79.7       16.6   19.8     -3.3     83.6       -918        -0.55     18,148      16.81         17.35
 44     Central Texas     R      174,451   126,713   125,720    60.9       29.7   32.7     -3.0     90.9       6814         4.06     17,738      16.43         12.36
 47       Austin Area     R      175,314   127,689   125,095    80.3       12.3   12.6     -0.3     97.7       7677         4.58     17,113      15.85         11.27
  2      Northeast TX     R      173,869   130,806   124,825    85.1        5.5   10.0     -4.5     55.2       6232         3.72     16,843      15.60         11.88
 45       Austin Area     R      167,604   126,549   124,330    66.7       25.5   30.0     -4.6     84.8         -33       -0.02     16,348      15.14         15.16
122         Bexar         R      175,184   128,725   124,270    64.8       23.4   27.8     -4.3     84.4       7547         4.50     16,288      15.08         10.58
 32    S Tex RG Valley    R      167,074   126,072   124,080    46.8       44.2   45.9     -1.6     96.5       -563        -0.34     16,098      14.91         15.24
 84       West Texas      R      167,970   128,898   124,075    58.7       28.0   30.2     -2.2     92.8        333         0.20     16,093      14.90         14.70
 71       West Texas      R      166,924   127,097   123,650    71.2       17.9   20.1     -2.1     89.4       -713        -0.43     15,668      14.51         14.94
 13     Central Texas     R      170,617   131,129   123,515    75.2        9.5   15.9     -6.4     59.7       2980         1.78     15,533      14.38         12.61
 53       West Texas      R      162,897   127,381   123,515    72.2       23.1   26.8     -3.7     86.3      -4740        -2.83     15,533      14.38         17.21
 83       West Texas      R      173,918   127,906   123,330    67.1       24.9   28.1     -3.2     88.8       6281         3.75     15,348      14.21         10.47
 72       West Texas      R      170,479   130,771   123,075    64.6       27.6   32.3     -4.8     85.3       2842         1.70     15,093      13.98         12.28
 97      Tarrent Cnty     R      168,869   131,311   122,870    70.5        9.8   15.7     -5.9     62.3       1232         0.73     14,888      13.79         13.05
108       Dallas Cnty     R      163,233   133,667   122,505    74.3       13.6   19.5     -6.0     69.4      -4404        -2.63     14,523      13.45         16.08
  1      Northeast TX     R      165,823   125,927   122,470    75.1        3.1    5.8     -2.7     53.5      -1814        -1.08     14,488      13.42         14.50
 9       Northeast TX     R      166,719   125,947   121,420    75.8        2.5    6.9     -4.4     35.8       -918        -0.55     13,438      12.44         12.99
 21      Southeast TX     R      172,180   130,308   121,365    82.0        5.2    9.3     -4.1     55.7       4543         2.71     13,383      12.39          9.68
129        Houston        R      174,127   130,457   121,280    62.9       13.6   20.4     -6.8     66.5       6490         3.87     13,298      12.32          8.44
 25    Houston Suburbs    R      174,168   129,041   121,250    62.4       20.8   27.4     -6.6     75.9       6531         3.90     13,268      12.29          8.39
 30     Central Texas     R      166,022   124,729   121,220    59.0       31.8   35.2     -3.4     90.4      -1615        -0.96     13,238      12.26         13.22
 43    S Tex RG Valley    R      169,564   124,492   120,575    35.8       57.7   59.8     -2.1     96.5       1927         1.15     12,593      11.66         10.51
123         Bexar         D      175,674   135,763   119,930    30.6       62.3   66.5     -4.2     93.7       8037         4.79     11,948      11.06          6.27
130        Houston        R      175,532   122,108   119,770    71.6       11.6   17.7     -6.2     65.3       7895         4.71     11,788      10.92          6.21
 11      Northeast TX     R      168,699   128,086   118,640    72.2        5.7   13.9     -8.3     40.6       1062         0.63     10,658        9.87         9.24
 24    Houston Suburbs    R      162,685   118,491   118,260    74.8       11.3   15.6     -4.3     72.3      -4952        -2.95     10,278        9.52        12.47
 57      Southeast TX     R      164,418   124,630   118,140    72.8        7.2   13.0     -5.8     55.5      -3219        -1.92     10,158        9.41        11.33



                                                                             Table 3 - Page 1 of 4
                                 Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 70 of 126
 A           B            C       D         E          F        G        H       I       J         K         L           M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP       %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP    Deviation   Deviation   Deviation  Deviation   % TPOP Dev
 58     Central Texas     R      169,146   123,826   118,105    84.2        8.7   14.9      -6.1     58.8       1509         0.90     10,123        9.37         8.47
 59     Central Texas     R      163,609   122,193   118,030    75.9       11.4   15.6      -4.2     73.1      -4028        -2.40     10,048        9.31        11.71
 56     Central Texas     R      163,869   123,411   117,985    72.6       12.4   17.8      -5.4     69.7      -3768        -2.25     10,003        9.26        11.51
  4     DFW Suburbs       R      168,429   123,603   117,715    81.5        6.3   11.7      -5.4     53.6        792         0.47      9,733        9.01         8.54
 62      Northeast TX     R      160,023   122,203   117,530    85.0        4.2    8.6      -4.4     49.0      -7614        -4.54      9,548        8.84        13.38
 34    S Tex RG Valley    D      173,149   125,896   117,465    28.0       64.6   67.7      -3.1     95.4       5512         3.29      9,483        8.78         5.49
 69       West Texas      R      160,087   123,063   117,450    77.2        9.7   12.9      -3.2     75.3      -7550        -4.50      9,468        8.77        13.27
 92      Tarrent Cnty     R      162,326   126,290   116,980    70.3        9.6   14.5      -4.9     66.1      -5311        -3.17      8,998        8.33        11.50
 89     DFW Suburbs       R      172,138   118,380   116,895    72.4        8.9   13.0      -4.2     68.0       4501         2.68      8,913        8.25         5.57
 64     DFW Suburbs       R      167,588   129,175   116,875    75.0       10.1   16.6      -6.5     60.8         -49       -0.03      8,893        8.24         8.26
 99      Tarrent Cnty     R      170,473   125,722   116,830    74.7       14.7   20.1      -5.4     73.1       2836         1.69      8,848        8.19         6.50
 15    Houston Suburbs    R      167,349   120,450   116,690    81.8        7.4   13.5      -6.1     55.0       -288        -0.17      8,708        8.06         8.24
 55     Central Texas     R      162,176   119,755   116,635    64.4       14.9   19.4      -4.5     76.8      -5461        -3.26      8,653        8.01        11.27
 29    Houston Suburbs    R      175,700   124,171   116,165    57.5       17.4   23.2      -5.8     74.9       8063         4.81      8,183        7.58         2.77
128        Houston        R      172,221   124,645   116,020    66.4       17.1   25.0      -7.9     68.5       4584         2.73      8,038        7.44         4.71
 86       West Texas      R      165,183   121,555   115,915    76.4       16.5   22.3      -5.8     73.9      -2454        -1.46      7,933        7.35         8.81
125         Bexar         D      174,549   125,158   115,800    26.3       64.3   69.1      -4.8     93.1       6912         4.12      7,818        7.24         3.12
 33     DFW Suburbs       R      172,135   119,518   115,655    77.9        8.5   13.5      -4.9     63.5       4498         2.68      7,673        7.11         4.42
 22      Southeast TX     D      161,930   122,897   115,525    37.0        7.7   15.7      -8.0     49.0      -5707        -3.40      7,543        6.99        10.39
116         Bexar         D      171,463   132,823   115,470    32.3       57.1   59.9      -2.8     95.3       3826         2.28      7,488        6.93         4.65
 20     Central Texas     R      159,816   121,754   115,395    82.8       10.3   16.6      -6.2     62.4      -7821        -4.67      7,413        6.87        11.53
124         Bexar         D      174,795   120,503   115,090    24.8       62.4   66.0      -3.6     94.6       7158         4.27      7,108        6.58         2.31
147        Houston        D      175,873   136,034   114,905    28.9       18.4   31.2     -12.8     59.0       8236         4.91      6,923        6.41         1.50
 98      Tarrent Cnty     R      164,081   114,953   114,875    83.7        6.7    9.8      -3.1     68.8      -3556        -2.12      6,893        6.38         8.50
120         Bexar         D      175,132   124,829   114,810    30.6       34.1   42.2      -8.1     80.9       7495         4.47      6,828        6.32         1.85
133        Houston        R      171,401   135,423   114,530    70.2        9.5   14.7      -5.2     64.6       3764         2.25      6,548        6.06         3.82
 14     Central Texas     R      163,187   131,479   114,485    68.6       14.1   21.0      -6.9     67.2      -4450        -2.65      6,503        6.02         8.68
  8     Central Texas     R      161,098   123,550   114,450    72.1        8.8   15.4      -6.6     57.0      -6539        -3.90      6,468        5.99         9.89
127        Houston        R      163,983   115,865   114,290    67.1       12.4   18.1      -5.7     68.6      -3654        -2.18      6,308        5.84         8.02
 94      Tarrent Cnty     R      167,374   125,516   114,195    69.8       10.2   15.3      -5.2     66.3       -263        -0.16      6,213        5.75         5.91
136       Austin Area     R      164,376   116,361   113,740    72.8       12.9   16.3      -3.4     79.1      -3261        -1.95      5,758        5.33         7.28
 63     DFW Suburbs       R      167,337   115,634   113,605    80.8        8.0   13.1      -5.1     61.2       -300        -0.18      5,623        5.21         5.39
 82       West Texas      R      163,234   118,623   113,415    59.3       28.6   35.2      -6.6     81.2      -4403        -2.63      5,433        5.03         7.66
 66     DFW Suburbs       R      172,129   130,796   113,390    69.7        6.0    9.1      -3.1     65.8       4492         2.68      5,408        5.01         2.33
109       Dallas Cnty     D      174,223   122,347   112,780    23.4       11.4   20.0      -8.6     57.0       6586         3.93      4,798        4.44         0.51
 68       West Texas      R      160,508   121,547   112,760    80.9       12.8   18.5      -5.7     69.1      -7129        -4.25      4,778        4.42         8.68
  5      Northeast TX     R      160,253   120,169   112,555    78.8        5.2   13.2      -7.9     39.8      -7384        -4.40      4,573        4.23         8.64
 54     Central Texas     R      167,736   117,164   112,385    51.6       15.8   17.6      -1.9     89.5          99        0.06      4,403        4.08         4.02
  7      Northeast TX     R      161,039   120,296   112,255    74.7        3.9   11.2      -7.3     34.9      -6598        -3.94      4,273        3.96         7.89
 17     Central Texas     R      163,480   121,295   112,125    61.1       27.0   33.4      -6.4     80.9      -4157        -2.48      4,143        3.84         6.32
 23    Houston Suburbs    R      163,720   123,736   111,960    59.8       16.6   22.7      -6.1     73.2      -3917        -2.34      3,978        3.68         6.02
 10     DFW Suburbs       R      163,063   116,978   111,680    75.6       13.1   18.7      -5.5     70.4      -4574        -2.73      3,698        3.42         6.15



                                                                           Table 3 - Page 2 of 4
                                 Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 71 of 126
 A           B            C       D         E          F        G        H       I       J         K          L          M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/      TPOP      %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP     Deviation  Deviation   Deviation  Deviation   % TPOP Dev
 12     Central Texas     R      160,573   119,556   111,590    64.4       11.8   19.5      -7.7      60.6      -7064       -4.21      3,608        3.34         7.56
 52      Austin Area      R      165,994   114,146   111,445    62.8       19.6   26.7      -7.1      73.5      -1643       -0.98      3,463        3.21         4.19
 67     DFW Suburbs       R      172,141   126,368   111,250    70.1        7.5   13.9      -6.4      54.0       4504        2.69      3,268        3.03         0.34
117         Bexar         R      168,692   117,126   111,045    32.3       60.9   58.8       2.1     103.6       1055        0.63      3,063        2.84         2.21
 70     DFW Suburbs       R      172,135   117,432   110,995    75.3       10.0   15.9      -5.9      62.9       4498        2.68      3,013        2.79         0.11
 50      Austin Area      D      166,516   124,252   110,735    57.5       17.7   25.3      -7.6      69.9      -1121       -0.67      2,753        2.55         3.22
  6      Northeast TX     R      160,008   119,154   109,970    70.1        6.5   14.9      -8.3      44.0      -7629       -4.55      1,988        1.84         6.39
  3    Houston Suburbs    R      164,955   119,595   109,760    75.4        9.7   20.0     -10.3      48.5      -2682       -1.60      1,778        1.65         3.25
150        Houston        R      168,735   120,462   109,725    66.0       12.3   21.0      -8.7      58.7       1098        0.65      1,743        1.61         0.96
 65     DFW Suburbs       R      165,742   124,977   109,350    62.3        9.8   18.6      -8.8      52.5      -1895       -1.13      1,368        1.27         2.40
 87       West Texas      R      174,343   125,360   109,320    65.0       21.8   29.7      -7.9      73.3       6706        4.00      1,338        1.24        -2.76
132        Houston        R      172,973   117,666   109,150    52.4       20.6   33.0     -12.4      62.5       5336        3.18      1,168        1.08        -2.10
 96      Tarrent Cnty     R      164,930   113,924   109,035    65.5       10.1   15.2      -5.1      66.5      -2707       -1.61      1,053        0.98         2.59
 81       West Texas      R      169,684   120,535   108,980    51.8       39.0   46.9      -7.9      83.2       2047        1.22        998        0.92        -0.30
 91      Tarrent Cnty     R      162,838   119,048   108,845    75.9       10.9   18.2      -7.2      60.2      -4799       -2.86        863        0.80         3.66
 16    Houston Suburbs    R      166,647   122,271   108,180    80.7        9.3   21.1     -11.8      44.2       -990       -0.59        198        0.18         0.77
107      Dallas Cnty      R      171,872   123,986   108,045    57.9       15.6   28.9     -13.4      53.8       4235        2.53         63        0.06        -2.47
106     DFW Suburbs       R      161,947   110,568   107,290    76.1        8.8   14.7      -5.9      60.1      -5690       -3.39       -692      -0.64          2.75
118         Bexar         D      164,436   116,859   106,575    28.1       67.1   68.7      -1.6      97.6      -3201       -1.91     -1,407      -1.30          0.61
119         Bexar         D      159,981   114,477   106,465    28.5       58.3   62.7      -4.4      93.0      -7656       -4.57     -1,517      -1.40          3.16
113      Dallas Cnty      R      171,418   120,834   106,040    53.5       15.3   26.0     -10.8      58.6       3781        2.26     -1,942      -1.80         -4.05
114      Dallas Cnty      R      172,330   130,817   105,540    68.2       11.0   24.2     -13.2      45.6       4693        2.80     -2,442      -2.26         -5.06
 27    Houston Suburbs    D      160,084   113,596   104,295    26.2       14.8   19.7      -4.8      75.4      -7553       -4.51     -3,687      -3.41          1.09
 31    S Tex RG Valley    D      171,858   121,699   104,285    23.1       73.9   77.7      -3.8      95.1       4221        2.52     -3,697      -3.42         -5.94
 88       West Texas      R      160,896   115,622   103,670    60.9       29.4   38.9      -9.5      75.7      -6741       -4.02     -4,312      -3.99          0.03
 93      Tarrent Cnty     R      162,161   113,584   103,455    64.1       14.8   22.8      -8.0      65.0      -5476       -3.27     -4,527      -4.19         -0.93
111      Dallas Cnty      D      166,963   118,393   103,410    24.2       15.1   25.5     -10.3      59.4       -674       -0.40     -4,572      -4.23         -3.83
 85    Houston Suburbs    R      160,182   113,433   102,620    48.3       27.5   35.1      -7.6      78.5      -7455       -4.45     -5,362      -4.97         -0.52
 28    Houston Suburbs    R      160,373   107,968   100,995    53.3       15.6   20.6      -5.0      75.8      -7264       -4.33     -6,987      -6.47         -2.14
115      Dallas Cnty      R      171,802   127,352   100,760    58.5       16.7   24.4      -7.8      68.2       4165        2.48     -7,222      -6.69         -9.17
139        Houston        D      175,733   123,875   100,540    21.6       19.0   35.8     -16.7      53.2       8096        4.83     -7,442      -6.89        -11.72
135        Houston        R      172,422   121,136    99,750    50.0       18.2   28.5     -10.3      64.0       4785        2.85     -8,232      -7.62        -10.48
126        Houston        R      169,256   123,014    99,335    51.8       17.0   26.8      -9.9      63.2       1619        0.97     -8,647      -8.01         -8.97
 78        El Paso        D      160,161   111,913    98,925    31.6       58.3   64.7      -6.4      90.0      -7476       -4.46     -9,057      -8.39         -3.93
 79        El Paso        D      160,658   112,399    98,435    17.0       76.7   79.9      -3.2      96.0      -6979       -4.16     -9,547      -8.84         -4.68
138        Houston        R      173,059   124,435    98,420    50.3       22.3   41.3     -19.0      54.0       5422        3.23     -9,562      -8.86        -12.09
 51      Austin Area      D      175,709   128,793    98,320    41.5       44.0   56.2     -12.2      78.3       8072        4.82     -9,662      -8.95        -13.76
112      Dallas Cnty      R      167,051   120,192    97,965    54.9       14.8   26.3     -11.5      56.4       -586       -0.35    -10,017      -9.28         -8.93
100      Dallas Cnty      D      161,143   117,479    97,410    29.8       18.3   33.1     -14.8      55.2      -6494       -3.87    -10,572      -9.79         -5.92
 26    Houston Suburbs    R      160,091   117,247    97,320    52.2       11.6   14.9      -3.3      77.8      -7546       -4.50    -10,662      -9.87         -5.37
146        Houston        D      174,485   130,444    97,195    24.7       11.2   27.3     -16.1      41.0       6848        4.09    -10,787      -9.99        -14.07
102      Dallas Cnty      R      161,136   122,520    96,850    65.0       11.3   24.1     -12.8      46.8      -6501       -3.88    -11,132     -10.31         -6.43



                                                                           Table 3 - Page 3 of 4
                                     Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 72 of 126
  A             B             C         D          E          F        G         H       I       J         K         L          M           N          O           P
                                                                      PCT       PCT     PCT    %HVAP - %HCVAP/     TPOP      %TPOP        CVAP      % CVAP % CVAP Dev -
 Dist     Area of State     Party     Total      VAP       CVAP
                                                                      Anglo    HCVAP HVAP %HCVAP         %HVAP    Deviation  Deviation   Deviation  Deviation  % TPOP Dev
  95       Tarrent Cnty       D       161,634    115,752    96,150      32.9       12.9   24.3     -11.4     53.0      -6003       -3.58    -11,832     -10.96        -7.38
 105       Dallas Cnty        R       175,728    127,590    95,900      51.1       24.1   39.2     -15.1     61.4       8091        4.83    -12,082     -11.19       -16.02
  76         El Paso          D       159,752    116,389    94,705      11.2       83.5   87.3      -3.7     95.7      -7885       -4.70    -13,277     -12.30        -7.59
  46       Austin Area        D       166,410    118,539    94,335      41.6       24.6   41.6     -16.9     59.3      -1227       -0.73    -13,647     -12.64       -11.91
 131         Houston          D       175,227    121,368    93,535      13.2       24.0   41.2     -17.2     58.3       7590        4.53    -14,447     -13.38       -17.91
 101       Tarrent Cnty       D       164,664    110,209    92,990      35.5       19.7   32.5     -12.8     60.6      -2973       -1.77    -14,992     -13.88       -12.11
 141         Houston          D       166,498    113,951    92,390      13.5       18.2   37.6     -19.4     48.4      -1139       -0.68    -15,592     -14.44       -13.76
  38     S Tex RG Valley      D       168,214    110,865    92,195      13.5       80.2   86.7      -6.4     92.6        577        0.34    -15,787     -14.62       -14.96
 142         Houston          D       159,541    113,288    91,845      20.3       21.3   35.0     -13.7     60.8      -8096       -4.83    -16,137     -14.94       -10.11
 148         Houston          D       170,811    125,873    91,615      40.1       43.5   61.1     -17.6     71.2       3174        1.89    -16,367     -15.16       -17.05
  74     S Tex RG Valley      D       162,357    115,236    91,345      24.6       69.4   76.6      -7.3     90.5      -5280       -3.15    -16,637     -15.41       -12.26
  77         El Paso          D       160,385    115,924    90,830      22.9       69.6   76.0      -6.4     91.6      -7252       -4.33    -17,152     -15.88       -11.56
 149         Houston          D       170,702    121,535    89,230      27.0       19.1   33.8     -14.7     56.6       3065        1.83    -18,752     -17.37       -19.19
  41     S Tex RG Valley      D       168,776    115,033    88,365      17.9       75.7   80.4      -4.6     94.2       1139        0.68    -19,617     -18.17       -18.85
  80     S Tex RG Valley      D       161,949    106,402    86,650      15.5       78.7   86.1      -7.4     91.4      -5688       -3.39    -21,332     -19.76       -16.36
  39     S Tex RG Valley      D       168,659    110,751    85,015      14.6       78.9   88.0      -9.1     89.7       1022        0.61    -22,967     -21.27       -21.88
 143         Houston          D       167,215    113,877    84,625      23.7       53.0   69.4     -16.4     76.4       -422       -0.25    -23,357     -21.63       -21.38
  42     S Tex RG Valley      D       167,668    111,699    84,125       5.4       91.2   95.0      -3.9     95.9         31        0.02    -23,857     -22.09       -22.11
 110       Dallas Cnty        D       167,508    111,827    83,885      14.6       24.9   45.5     -20.6     54.7       -129       -0.08    -24,097     -22.32       -22.24
 145         Houston          D       164,574    116,918    83,645      28.4       55.6   69.8     -14.2     79.7      -3063       -1.83    -24,337     -22.54       -20.71
  40     S Tex RG Valley      D       168,662    108,086    79,875       8.2       88.4   92.1      -3.8     95.9       1025        0.61    -28,107     -26.03       -26.64
  37     S Tex RG Valley      D       169,088    113,454    78,885      15.5       81.5   87.1      -5.6     93.6       1451        0.87    -29,097     -26.95       -27.81
 104       Dallas Cnty        D       172,784    115,035    78,780      25.3       51.7   69.2     -17.5     74.7       5147        3.07    -29,202     -27.04       -30.11
  35     S Tex RG Valley      D       168,627    109,154    77,585      18.6       78.9   85.1      -6.2     92.7        990        0.59    -30,397     -28.15       -28.74
  75         El Paso          D       159,691    103,209    77,455       8.9       89.0   91.8      -2.8     97.0      -7946       -4.74    -30,527     -28.27       -23.53
  36     S Tex RG Valley      D       168,963    110,963    76,060      11.9       86.0   90.8      -4.8     94.7       1326        0.79    -31,922     -29.56       -30.35
 144         Houston          D       161,859    108,509    75,785      34.9       50.3   69.8     -19.5     72.1      -5778       -3.45    -32,197     -29.82       -26.37
 103       Dallas Cnty        D       170,948    121,837    71,970      39.0       42.7   64.3     -21.7     66.3       3311        1.98    -36,012     -33.35       -35.33
  90       Tarrent Cnty       D       159,684    105,664    71,770      27.9       49.0   70.7     -21.7     69.3      -7953       -4.74    -36,212     -33.54       -28.79
 140         Houston          D       170,732    112,332    69,415      17.2       58.5   75.8     -17.2     77.3       3095        1.85    -38,567     -35.72       -37.56
 137         Houston          D       171,079    127,834    64,375      32.5       22.0   51.5     -29.6     42.6       3442        2.05    -43,607     -40.38       -42.44

Note: The Indeal CVAP Population is 107,982. The ideal TPOP Deviation is 167,637.
Source is Texas Legislative Council at ftp://ftpgis1.tlc.state.tx.us/PlanH358/Reports/Excel/
Note: CVAP data is from 2010 ACS (2005 through 2009




                                                                                     Table 3 - Page 4 of 4
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                                                                                       TABLE 4
                                                                                 STATE OF TEXAS
                                                                     STATE HOUSE OF REPRESENTITIVES
                                                               83rd Legislature - 1st Called Session - S.B. 3 (June 2013)
                                                     Citizen Voting Age Population Analysis Using American Community Survey
                                                                       Sorted by Percentage Citizen Adult Latino
 A           B            C       D         E          F        G         H       I       J         K          L          M           N          O            P
                                                               PCT       PCT     PCT    %HVAP - %HCVAP/      TPOP      %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo    HCVAP HVAP %HCVAP         %HVAP     Deviation  Deviation   Deviation  Deviation   % TPOP Dev
 42    S Tex RG Valley    D      167,668   111,699    84,125     5.4        91.2   95.0      -3.9      95.9         31        0.02    -23,857     -22.09        -22.11
 75        El Paso        D      159,691   103,209    77,455     8.9        89.0   91.8      -2.8      97.0      -7946       -4.74    -30,527     -28.27        -23.53
 40    S Tex RG Valley    D      168,662   108,086    79,875     8.2        88.4   92.1      -3.8      95.9       1025        0.61    -28,107     -26.03        -26.64
 36    S Tex RG Valley    D      168,963   110,963    76,060    11.9        86.0   90.8      -4.8      94.7       1326        0.79    -31,922     -29.56        -30.35
 76        El Paso        D      159,752   116,389    94,705    11.2        83.5   87.3      -3.7      95.7      -7885       -4.70    -13,277     -12.30         -7.59
 37    S Tex RG Valley    D      169,088   113,454    78,885    15.5        81.5   87.1      -5.6      93.6       1451        0.87    -29,097     -26.95        -27.81
 38    S Tex RG Valley    D      168,214   110,865    92,195    13.5        80.2   86.7      -6.4      92.6        577        0.34    -15,787     -14.62        -14.96
 39    S Tex RG Valley    D      168,659   110,751    85,015    14.6        78.9   88.0      -9.1      89.7       1022        0.61    -22,967     -21.27        -21.88
 35    S Tex RG Valley    D      168,627   109,154    77,585    18.6        78.9   85.1      -6.2      92.7        990        0.59    -30,397     -28.15        -28.74
 80    S Tex RG Valley    D      161,949   106,402    86,650    15.5        78.7   86.1      -7.4      91.4      -5688       -3.39    -21,332     -19.76        -16.36
 79        El Paso        D      160,658   112,399    98,435    17.0        76.7   79.9      -3.2      96.0      -6979       -4.16     -9,547      -8.84         -4.68
 41    S Tex RG Valley    D      168,776   115,033    88,365    17.9        75.7   80.4      -4.6      94.2       1139        0.68    -19,617     -18.17        -18.85
 31    S Tex RG Valley    D      171,858   121,699   104,285    23.1        73.9   77.7      -3.8      95.1       4221        2.52     -3,697      -3.42         -5.94
 77        El Paso        D      160,385   115,924    90,830    22.9        69.6   76.0      -6.4      91.6      -7252       -4.33    -17,152     -15.88        -11.56
 74    S Tex RG Valley    D      162,357   115,236    91,345    24.6        69.4   76.6      -7.3      90.5      -5280       -3.15    -16,637     -15.41        -12.26
118         Bexar         D      164,436   116,859   106,575    28.1        67.1   68.7      -1.6      97.6      -3201       -1.91     -1,407      -1.30          0.61
 34    S Tex RG Valley    D      173,149   125,896   117,465    28.0        64.6   67.7      -3.1      95.4       5512        3.29      9,483        8.78         5.49
125         Bexar         D      174,549   125,158   115,800    26.3        64.3   69.1      -4.8      93.1       6912        4.12      7,818        7.24         3.12
124         Bexar         D      174,795   120,503   115,090    24.8        62.4   66.0      -3.6      94.6       7158        4.27      7,108        6.58         2.31
123         Bexar         D      175,674   135,763   119,930    30.6        62.3   66.5      -4.2      93.7       8037        4.79     11,948      11.06          6.27
117         Bexar         R      168,692   117,126   111,045    32.3        60.9   58.8       2.1     103.6       1055        0.63      3,063        2.84         2.21
140        Houston        D      170,732   112,332    69,415    17.2        58.5   75.8     -17.2      77.3       3095        1.85    -38,567     -35.72        -37.56
 78        El Paso        D      160,161   111,913    98,925    31.6        58.3   64.7      -6.4      90.0      -7476       -4.46     -9,057      -8.39         -3.93
119         Bexar         D      159,981   114,477   106,465    28.5        58.3   62.7      -4.4      93.0      -7656       -4.57     -1,517      -1.40          3.16
 43    S Tex RG Valley    R      169,564   124,492   120,575    35.8        57.7   59.8      -2.1      96.5       1927        1.15     12,593      11.66         10.51
116         Bexar         D      171,463   132,823   115,470    32.3        57.1   59.9      -2.8      95.3       3826        2.28      7,488        6.93         4.65
145        Houston        D      164,574   116,918    83,645    28.4        55.6   69.8     -14.2      79.7      -3063       -1.83    -24,337     -22.54        -20.71
143        Houston        D      167,215   113,877    84,625    23.7        53.0   69.4     -16.4      76.4       -422       -0.25    -23,357     -21.63        -21.38
104      Dallas Cnty      D      172,784   115,035    78,780    25.3        51.7   69.2     -17.5      74.7       5147        3.07    -29,202     -27.04        -30.11
144        Houston        D      161,859   108,509    75,785    34.9        50.3   69.8     -19.5      72.1      -5778       -3.45    -32,197     -29.82        -26.37
 90      Tarrent Cnty     D      159,684   105,664    71,770    27.9        49.0   70.7     -21.7      69.3      -7953       -4.74    -36,212     -33.54        -28.79
 32    S Tex RG Valley    R      167,074   126,072   124,080    46.8        44.2   45.9      -1.6      96.5       -563       -0.34     16,098      14.91         15.24
 51      Austin Area      D      175,709   128,793    98,320    41.5        44.0   56.2     -12.2      78.3       8072        4.82     -9,662      -8.95        -13.76
148        Houston        D      170,811   125,873    91,615    40.1        43.5   61.1     -17.6      71.2       3174        1.89    -16,367     -15.16        -17.05
103      Dallas Cnty      D      170,948   121,837    71,970    39.0        42.7   64.3     -21.7      66.3       3311        1.98    -36,012     -33.35        -35.33
                                                                                                                                                               -459.53
                                                                                                                            Average Deviation (35 Districts)    -13.13

                                                                             Table 4 - Page 1 of 4
                                 Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 74 of 126
 A           B            C       D         E          F        G        H         I        J           K            L            M              N            O              P
                                                               PCT      PCT       PCT     %HVAP -     %HCVAP/      TPOP        %TPOP           CVAP        % CVAP       % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP     HVAP     %HCVAP      %HVAP       Deviation    Deviation      Deviation    Deviation    % TPOP Dev

81       West Texas       R      169,684   120,535 108,980      51.8      39.0     46.9        -7.9        83.2        2047           1.22           998         0.92             -0.30
120         Bexar         D      175,132   124,829   114,810    30.6      34.1     42.2        -8.1        80.9         7495           4.47        6,828         6.32              1.85
 30     Central Texas     R      166,022   124,729   121,220    59.0      31.8     35.2        -3.4        90.4        -1615          -0.96       13,238        12.26             13.22
 44     Central Texas     R      174,451   126,713   125,720    60.9      29.7     32.7        -3.0        90.9         6814           4.06       17,738        16.43             12.36
 88      West Texas       R      160,896   115,622   103,670    60.9      29.4     38.9        -9.5        75.7        -6741          -4.02       -4,312        -3.99              0.03
 82      West Texas       R      163,234   118,623   113,415    59.3      28.6     35.2        -6.6        81.2        -4403          -2.63        5,433         5.03              7.66
 84      West Texas       R      167,970   128,898   124,075    58.7      28.0     30.2        -2.2        92.8          333           0.20       16,093        14.90             14.70
 72      West Texas       R      170,479   130,771   123,075    64.6      27.6     32.3        -4.8        85.3         2842           1.70       15,093        13.98             12.28
 85    Houston Suburbs    R      160,182   113,433   102,620    48.3      27.5     35.1        -7.6        78.5        -7455          -4.45       -5,362        -4.97             -0.52
 17     Central Texas     R      163,480   121,295   112,125    61.1      27.0     33.4        -6.4        80.9        -4157          -2.48        4,143         3.84              6.32
121         Bexar         R      174,867   133,224   128,905    61.0      26.7     31.4        -4.6        85.2         7230           4.31       20,923        19.38             15.06
 45      Austin Area      R      167,604   126,549   124,330    66.7      25.5     30.0        -4.6        84.8          -33          -0.02       16,348        15.14             15.16
 83      West Texas       R      173,918   127,906   123,330    67.1      24.9     28.1        -3.2        88.8         6281           3.75       15,348        14.21             10.47
110      Dallas Cnty      D      167,508   111,827    83,885    14.6      24.9     45.5       -20.6        54.7         -129          -0.08      -24,097       -22.32            -22.24
 46      Austin Area      D      166,410   118,539    94,335    41.6      24.6     41.6       -16.9        59.3        -1227          -0.73      -13,647       -12.64            -11.91
105      Dallas Cnty      R      175,728   127,590    95,900    51.1      24.1     39.2       -15.1        61.4         8091           4.83      -12,082       -11.19            -16.02
131       Houston         D      175,227   121,368    93,535    13.2      24.0     41.2       -17.2        58.3         7590           4.53      -14,447       -13.38            -17.91
122         Bexar         R      175,184   128,725   124,270    64.8      23.4     27.8        -4.3        84.4         7547           4.50       16,288        15.08             10.58
 53      West Texas       R      162,897   127,381   123,515    72.2      23.1     26.8        -3.7        86.3        -4740          -2.83       15,533        14.38             17.21
138       Houston         R      173,059   124,435    98,420    50.3      22.3     41.3       -19.0        54.0         5422           3.23       -9,562        -8.86            -12.09
137       Houston         D      171,079   127,834    64,375    32.5      22.0     51.5       -29.6        42.6         3442           2.05      -43,607       -40.38            -42.44
 87      West Texas       R      174,343   125,360   109,320    65.0      21.8     29.7        -7.9        73.3         6706           4.00        1,338         1.24             -2.76
142       Houston         D      159,541   113,288    91,845    20.3      21.3     35.0       -13.7        60.8        -8096          -4.83      -16,137       -14.94            -10.11
 25    Houston Suburbs    R      174,168   129,041   121,250    62.4      20.8     27.4        -6.6        75.9         6531           3.90       13,268        12.29              8.39
132       Houston         R      172,973   117,666   109,150    52.4      20.6     33.0       -12.4        62.5         5336           3.18        1,168         1.08             -2.10
101     Tarrent Cnty      D      164,664   110,209    92,990    35.5      19.7     32.5       -12.8        60.6        -2973          -1.77      -14,992       -13.88            -12.11
 52      Austin Area      R      165,994   114,146   111,445    62.8      19.6     26.7        -7.1        73.5        -1643          -0.98        3,463         3.21              4.19
149       Houston         D      170,702   121,535    89,230    27.0      19.1     33.8       -14.7        56.6         3065           1.83      -18,752       -17.37            -19.19
139       Houston         D      175,733   123,875   100,540    21.6      19.0     35.8       -16.7        53.2         8096           4.83       -7,442        -6.89            -11.72
147       Houston         D      175,873   136,034   114,905    28.9      18.4     31.2       -12.8        59.0         8236           4.91        6,923         6.41              1.50
100      Dallas Cnty      D      161,143   117,479    97,410    29.8      18.3     33.1       -14.8        55.2        -6494          -3.87      -10,572        -9.79             -5.92
135       Houston         R      172,422   121,136    99,750    50.0      18.2     28.5       -10.3        64.0         4785           2.85       -8,232        -7.62            -10.48
141       Houston         D      166,498   113,951    92,390    13.5      18.2     37.6       -19.4        48.4        -1139          -0.68      -15,592       -14.44            -13.76
 71      West Texas       R      166,924   127,097   123,650    71.2      17.9     20.1        -2.1        89.4         -713          -0.43       15,668        14.51             14.94
 50      Austin Area      D      166,516   124,252   110,735    57.5      17.7     25.3        -7.6        69.9        -1121          -0.67        2,753         2.55              3.22
 29    Houston Suburbs    R      175,700   124,171   116,165    57.5      17.4     23.2        -5.8        74.9         8063           4.81        8,183         7.58              2.77
128       Houston         R      172,221   124,645   116,020    66.4      17.1     25.0        -7.9        68.5         4584           2.73        8,038         7.44              4.71
126       Houston         R      169,256   123,014    99,335    51.8      17.0     26.8        -9.9        63.2         1619           0.97       -8,647        -8.01             -8.97
 48      Austin Area      D      173,008   135,585   127,810    74.4      16.7     20.4        -3.7        81.9         5371           3.20       19,828        18.36             15.16
115      Dallas Cnty      R      171,802   127,352   100,760    58.5      16.7     24.4        -7.8        68.2         4165           2.48       -7,222        -6.69             -9.17
 23    Houston Suburbs    R      163,720   123,736   111,960    59.8      16.6     22.7        -6.1        73.2        -3917          -2.34        3,978         3.68              6.02
 73         Bexar         R      166,719   127,882   126,130    79.7      16.6     19.8        -3.3        83.6         -918          -0.55       18,148        16.81             17.35

                                                                          Table 4 - Page 2 of 4
                                 Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 75 of 126
 A           B            C       D         E          F        G        H       I       J         K         L           M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP       %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP    Deviation   Deviation   Deviation  Deviation   % TPOP Dev
 86      West Texas       R      165,183   121,555   115,915    76.4       16.5   22.3      -5.8     73.9      -2454        -1.46      7,933        7.35         8.81
 54     Central Texas     R      167,736   117,164   112,385    51.6       15.8   17.6      -1.9     89.5          99        0.06      4,403        4.08         4.02
 28    Houston Suburbs    R      160,373   107,968   100,995    53.3       15.6   20.6      -5.0     75.8      -7264        -4.33     -6,987      -6.47         -2.14
107      Dallas Cnty      R      171,872   123,986   108,045    57.9       15.6   28.9     -13.4     53.8       4235         2.53         63        0.06        -2.47
113      Dallas Cnty      R      171,418   120,834   106,040    53.5       15.3   26.0     -10.8     58.6       3781         2.26     -1,942      -1.80         -4.05
111      Dallas Cnty      D      166,963   118,393   103,410    24.2       15.1   25.5     -10.3     59.4       -674        -0.40     -4,572      -4.23         -3.83
 55     Central Texas     R      162,176   119,755   116,635    64.4       14.9   19.4      -4.5     76.8      -5461        -3.26      8,653        8.01        11.27
 27    Houston Suburbs    D      160,084   113,596   104,295    26.2       14.8   19.7      -4.8     75.4      -7553        -4.51     -3,687      -3.41          1.09
112      Dallas Cnty      R      167,051   120,192    97,965    54.9       14.8   26.3     -11.5     56.4       -586        -0.35    -10,017      -9.28         -8.93
 93     Tarrent Cnty      R      162,161   113,584   103,455    64.1       14.8   22.8      -8.0     65.0      -5476        -3.27     -4,527      -4.19         -0.93
 99     Tarrent Cnty      R      170,473   125,722   116,830    74.7       14.7   20.1      -5.4     73.1       2836         1.69      8,848        8.19         6.50
 49      Austin Area      D      167,309   144,371   130,085    73.1       14.3   21.6      -7.3     66.2       -328        -0.20     22,103      20.47         20.66
 14     Central Texas     R      163,187   131,479   114,485    68.6       14.1   21.0      -6.9     67.2      -4450        -2.65      6,503        6.02         8.68
108      Dallas Cnty      R      163,233   133,667   122,505    74.3       13.6   19.5      -6.0     69.4      -4404        -2.63     14,523      13.45         16.08
129       Houston         R      174,127   130,457   121,280    62.9       13.6   20.4      -6.8     66.5       6490         3.87     13,298      12.32          8.44
 10     DFW Suburbs       R      163,063   116,978   111,680    75.6       13.1   18.7      -5.5     70.4      -4574        -2.73      3,698        3.42         6.15
 95     Tarrent Cnty      D      161,634   115,752    96,150    32.9       12.9   24.3     -11.4     53.0      -6003        -3.58    -11,832     -10.96         -7.38
136      Austin Area      R      164,376   116,361   113,740    72.8       12.9   16.3      -3.4     79.1      -3261        -1.95      5,758        5.33         7.28
 68      West Texas       R      160,508   121,547   112,760    80.9       12.8   18.5      -5.7     69.1      -7129        -4.25      4,778        4.42         8.68
127       Houston         R      163,983   115,865   114,290    67.1       12.4   18.1      -5.7     68.6      -3654        -2.18      6,308        5.84         8.02
 56     Central Texas     R      163,869   123,411   117,985    72.6       12.4   17.8      -5.4     69.7      -3768        -2.25     10,003        9.26        11.51
150       Houston         R      168,735   120,462   109,725    66.0       12.3   21.0      -8.7     58.7       1098         0.65      1,743        1.61         0.96
 47      Austin Area      R      175,314   127,689   125,095    80.3       12.3   12.6      -0.3     97.7       7677         4.58     17,113      15.85         11.27
 12     Central Texas     R      160,573   119,556   111,590    64.4       11.8   19.5      -7.7     60.6      -7064        -4.21      3,608        3.34         7.56
 26    Houston Suburbs    R      160,091   117,247    97,320    52.2       11.6   14.9      -3.3     77.8      -7546        -4.50    -10,662      -9.87         -5.37
130       Houston         R      175,532   122,108   119,770    71.6       11.6   17.7      -6.2     65.3       7895         4.71     11,788      10.92          6.21
109      Dallas Cnty      D      174,223   122,347   112,780    23.4       11.4   20.0      -8.6     57.0       6586         3.93      4,798        4.44         0.51
 59     Central Texas     R      163,609   122,193   118,030    75.9       11.4   15.6      -4.2     73.1      -4028        -2.40     10,048        9.31        11.71
 24    Houston Suburbs    R      162,685   118,491   118,260    74.8       11.3   15.6      -4.3     72.3      -4952        -2.95     10,278        9.52        12.47
102      Dallas Cnty      R      161,136   122,520    96,850    65.0       11.3   24.1     -12.8     46.8      -6501        -3.88    -11,132     -10.31         -6.43
146       Houston         D      174,485   130,444    97,195    24.7       11.2   27.3     -16.1     41.0       6848         4.09    -10,787      -9.99        -14.07
114      Dallas Cnty      R      172,330   130,817   105,540    68.2       11.0   24.2     -13.2     45.6       4693         2.80     -2,442      -2.26         -5.06
134       Houston         R      174,421   143,575   130,040    74.7       11.0   13.3      -2.3     82.6       6784         4.05     22,058      20.43         16.38
 91     Tarrent Cnty      R      162,838   119,048   108,845    75.9       10.9   18.2      -7.2     60.2      -4799        -2.86        863        0.80         3.66
 20     Central Texas     R      159,816   121,754   115,395    82.8       10.3   16.6      -6.2     62.4      -7821        -4.67      7,413        6.87        11.53
 94     Tarrent Cnty      R      167,374   125,516   114,195    69.8       10.2   15.3      -5.2     66.3       -263        -0.16      6,213        5.75         5.91
 64     DFW Suburbs       R      167,588   129,175   116,875    75.0       10.1   16.6      -6.5     60.8         -49       -0.03      8,893        8.24         8.26
 96     Tarrent Cnty      R      164,930   113,924   109,035    65.5       10.1   15.2      -5.1     66.5      -2707        -1.61      1,053        0.98         2.59
 70     DFW Suburbs       R      172,135   117,432   110,995    75.3       10.0   15.9      -5.9     62.9       4498         2.68      3,013        2.79         0.11
 97     Tarrent Cnty      R      168,869   131,311   122,870    70.5        9.8   15.7      -5.9     62.3       1232         0.73     14,888      13.79         13.05
 65     DFW Suburbs       R      165,742   124,977   109,350    62.3        9.8   18.6      -8.8     52.5      -1895        -1.13      1,368        1.27         2.40
 69      West Texas       R      160,087   123,063   117,450    77.2        9.7   12.9      -3.2     75.3      -7550        -4.50      9,468        8.77        13.27
  3    Houston Suburbs    R      164,955   119,595   109,760    75.4        9.7   20.0     -10.3     48.5      -2682        -1.60      1,778        1.65         3.25

                                                                           Table 4 - Page 3 of 4
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  A             B             C         D          E          F        G         H      I       J         K           L            M               N         O            P
                                                                      PCT       PCT    PCT    %HVAP - %HCVAP/      TPOP         %TPOP          CVAP       % CVAP % CVAP Dev -
 Dist     Area of State     Party     Total      VAP       CVAP
                                                                      Anglo    HCVAP HVAP %HCVAP        %HVAP     Deviation    Deviation     Deviation    Deviation   % TPOP Dev
  92      Tarrent Cnty        R       162,326    126,290   116,980      70.3       9.6   14.5      -4.9     66.1        -5311         -3.17         8,998        8.33        11.50
 133        Houston           R       171,401    135,423   114,530      70.2       9.5   14.7      -5.2     64.6         3764          2.25         6,548        6.06         3.82
  13      Central Texas       R       170,617    131,129   123,515      75.2       9.5   15.9      -6.4     59.7         2980          1.78        15,533      14.38         12.61
 16      Houston Suburbs      R       166,647    122,271   108,180      80.7       9.3   21.1     -11.8     44.2         -990         -0.59           198        0.18         0.77
  60       West Texas         R       171,429    131,870   127,825      86.9       9.2   11.8      -2.6     78.0         3792          2.26        19,843      18.38         16.11
 89       DFW Suburbs         R       172,138    118,380   116,895      72.4       8.9   13.0      -4.2     68.0         4501          2.68         8,913        8.25         5.57
 106      DFW Suburbs         R       161,947    110,568   107,290      76.1       8.8   14.7      -5.9     60.1        -5690         -3.39          -692      -0.64          2.75
  8       Central Texas       R       161,098    123,550   114,450      72.1       8.8   15.4      -6.6     57.0        -6539         -3.90         6,468        5.99         9.89
  58      Central Texas       R       169,146    123,826   118,105      84.2       8.7   14.9      -6.1     58.8         1509          0.90        10,123        9.37         8.47
  33      DFW Suburbs         R       172,135    119,518   115,655      77.9       8.5   13.5      -4.9     63.5         4498          2.68         7,673        7.11         4.42
  18      Southeast TX        R       169,888    132,877   126,560      71.3       8.1   14.2      -6.1     57.0         2251          1.34        18,578      17.20         15.86
 63       DFW Suburbs         R       167,337    115,634   113,605      80.8       8.0   13.1      -5.1     61.2         -300         -0.18         5,623        5.21         5.39
  22      Southeast TX        D       161,930    122,897   115,525      37.0       7.7   15.7      -8.0     49.0        -5707         -3.40         7,543        6.99        10.39
  67      DFW Suburbs         R       172,141    126,368   111,250      70.1       7.5   13.9      -6.4     54.0         4504          2.69         3,268        3.03         0.34
  15     Houston Suburbs      R       167,349    120,450   116,690      81.8       7.4   13.5      -6.1     55.0         -288         -0.17         8,708        8.06         8.24
  57      Southeast TX        R       164,418    124,630   118,140      72.8       7.2   13.0      -5.8     55.5        -3219         -1.92        10,158        9.41        11.33
 98       Tarrent Cnty        R       164,081    114,953   114,875      83.7       6.7    9.8      -3.1     68.8        -3556         -2.12         6,893        6.38         8.50
   6      Northeast TX        R       160,008    119,154   109,970      70.1       6.5   14.9      -8.3     44.0        -7629         -4.55         1,988        1.84         6.39
   4      DFW Suburbs         R       168,429    123,603   117,715      81.5       6.3   11.7      -5.4     53.6          792          0.47         9,733        9.01         8.54
  61      DFW Suburbs         R       176,054    130,782   128,065      88.5       6.0   10.6      -4.6     56.9         8417          5.02        20,083      18.60         13.58
 66       DFW Suburbs         R       172,129    130,796   113,390      69.7       6.0    9.1      -3.1     65.8         4492          2.68         5,408        5.01         2.33
  11      Northeast TX        R       168,699    128,086   118,640      72.2       5.7   13.9      -8.3     40.6         1062          0.63        10,658        9.87         9.24
  2       Northeast TX        R       173,869    130,806   124,825      85.1       5.5   10.0      -4.5     55.2         6232          3.72        16,843      15.60         11.88
  5       Northeast TX        R       160,253    120,169   112,555      78.8       5.2   13.2      -7.9     39.8        -7384         -4.40         4,573        4.23         8.64
  21      Southeast TX        R       172,180    130,308   121,365      82.0       5.2    9.3      -4.1     55.7         4543          2.71        13,383      12.39          9.68
  62      Northeast TX        R       160,023    122,203   117,530      85.0       4.2    8.6      -4.4     49.0        -7614         -4.54         9,548        8.84        13.38
   7      Northeast TX        R       161,039    120,296   112,255      74.7       3.9   11.2      -7.3     34.9        -6598         -3.94         4,273        3.96         7.89
  19      Southeast TX        R       171,969    131,682   128,705      82.5       3.7    6.3      -2.6     58.3         4332          2.58        20,723      19.19         16.61
  1       Northeast TX        R       165,823    125,927   122,470      75.1       3.1    5.8      -2.7     53.5        -1814         -1.08        14,488      13.42         14.50
  9       Northeast TX        R       166,719    125,947   121,420      75.8       2.5    6.9      -4.4     35.8         -918         -0.55        13,438      12.44         12.99
                                                                                                                                                              459.56
                                                                                                                 Average Deviation (115 Districts)               4.00

Note: The Indeal CVAP Population is 107,982. The ideal TPOP Deviation is 167,637.
Source is Texas Legislative Council at ftp://ftpgis1.tlc.state.tx.us/PlanH358/Reports/Excel/
Note: CVAP data is from 2010 ACS (2005 through 2009




                                                                                     Table 4 - Page 4 of 4
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                                                                                     TABLE 5
                                                                               STATE OF TEXAS
                                                                   STATE HOUSE OF REPRESENTITIVES
                                                             83rd Legislature - 1st Called Session - S.B. 3 (June 2013)
                                                   Citizen Voting Age Population Analysis Using American Community Survey
                                                                          Sorted and Summed by Region

 A          B           C       D         E          F        G        H       I       J         K           L            M             N          O            P
                                                             PCT      PCT     PCT    %HVAP - %HCVAP/      TPOP         %TPOP           CVAP     % CVAP % CVAP Dev -
Dist   Area of State   Party   Total     VAP       CVAP
                                                             Anglo   HCVAP HVAP %HCVAP         %HVAP     Deviation    Deviation      Deviation  Deviation   % TPOP Dev
 45    Austin Area      R      167,604   126,549   124,330    66.7       25.5   30.0      -4.6     84.8          -33         -0.02       16,348      15.14         15.16
 46    Austin Area      D      166,410   118,539    94,335    41.6       24.6   41.6     -16.9     59.3        -1227         -0.73      -13,647     -12.64        -11.91
 47    Austin Area      R      175,314   127,689   125,095    80.3       12.3   12.6      -0.3     97.7         7677          4.58       17,113      15.85         11.27
 48    Austin Area      D      173,008   135,585   127,810    74.4       16.7   20.4      -3.7     81.9         5371          3.20       19,828      18.36         15.16
 49    Austin Area      D      167,309   144,371   130,085    73.1       14.3   21.6      -7.3     66.2         -328         -0.20       22,103      20.47         20.66
 50    Austin Area      D      166,516   124,252   110,735    57.5       17.7   25.3      -7.6     69.9        -1121         -0.67        2,753        2.55         3.22
 51    Austin Area      D      175,709   128,793    98,320    41.5       44.0   56.2     -12.2     78.3         8072          4.82       -9,662      -8.95        -13.76
 52    Austin Area      R      165,994   114,146   111,445    62.8       19.6   26.7      -7.1     73.5        -1643         -0.98        3,463        3.21         4.19
136    Austin Area      R      164,376   116,361   113,740    72.8       12.9   16.3      -3.4     79.1        -3261         -1.95        5,758        5.33         7.28
                                                                                                                                                     59.32
                                                                                                        Average Deviation (9 Districts)                6.59

 A          B           C       D         E          F        G        H       I       J        K            L            M              N          O            P
                                                             PCT      PCT     PCT    %HVAP - %HCVAP/      TPOP         %TPOP           CVAP      % CVAP % CVAP Dev -
Dist   Area of State   Party   Total     VAP       CVAP
                                                             Anglo   HCVAP HVAP %HCVAP        %HVAP      Deviation    Deviation      Deviation   Deviation   % TPOP Dev
 73       Bexar         R      166,719   127,882   126,130    79.7       16.6   19.8     -3.3      83.6         -918         -0.55       18,148       16.81         17.35
116       Bexar         D      171,463   132,823   115,470    32.3       57.1   59.9     -2.8      95.3         3826          2.28         7,488        6.93         4.65
117       Bexar         R      168,692   117,126   111,045    32.3       60.9   58.8      2.1     103.6         1055          0.63         3,063        2.84         2.21
118       Bexar         D      164,436   116,859   106,575    28.1       67.1   68.7     -1.6      97.6        -3201         -1.91        -1,407      -1.30          0.61
119       Bexar         D      159,981   114,477   106,465    28.5       58.3   62.7     -4.4      93.0        -7656         -4.57        -1,517      -1.40          3.16
120       Bexar         D      175,132   124,829   114,810    30.6       34.1   42.2     -8.1      80.9         7495          4.47         6,828        6.32         1.85
121       Bexar         R      174,867   133,224   128,905    61.0       26.7   31.4     -4.6      85.2         7230          4.31       20,923       19.38         15.06
122       Bexar         R      175,184   128,725   124,270    64.8       23.4   27.8     -4.3      84.4         7547          4.50       16,288       15.08         10.58
123       Bexar         D      175,674   135,763   119,930    30.6       62.3   66.5     -4.2      93.7         8037          4.79       11,948       11.06          6.27
124       Bexar         D      174,795   120,503   115,090    24.8       62.4   66.0     -3.6      94.6         7158          4.27         7,108        6.58         2.31
125       Bexar         D      174,549   125,158   115,800    26.3       64.3   69.1     -4.8      93.1         6912          4.12         7,818        7.24         3.12
                                                                                                                                                      89.54
                                                                                                        Average Deviation (11 Districts)                8.14




                                                                           Table 5 - Page 1 of 7
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 A          B           C       D         E          F        G        H       I       J        K           L            M              N         O            P
                                                             PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP         %TPOP           CVAP     % CVAP % CVAP Dev -
Dist   Area of State   Party   Total     VAP       CVAP
                                                             Anglo   HCVAP HVAP %HCVAP        %HVAP     Deviation    Deviation      Deviation  Deviation   % TPOP Dev
 8     Central Texas    R      161,098   123,550   114,450    72.1        8.8   15.4     -6.6     57.0        -6539         -3.90        6,468        5.99         9.89
12     Central Texas    R      160,573   119,556   111,590    64.4       11.8   19.5     -7.7     60.6        -7064         -4.21        3,608        3.34         7.56
13     Central Texas    R      170,617   131,129   123,515    75.2        9.5   15.9     -6.4     59.7         2980          1.78       15,533      14.38         12.61
14     Central Texas    R      163,187   131,479   114,485    68.6       14.1   21.0     -6.9     67.2        -4450         -2.65        6,503        6.02         8.68
17     Central Texas    R      163,480   121,295   112,125    61.1       27.0   33.4     -6.4     80.9        -4157         -2.48        4,143        3.84         6.32
20     Central Texas    R      159,816   121,754   115,395    82.8       10.3   16.6     -6.2     62.4        -7821         -4.67        7,413        6.87        11.53
30     Central Texas    R      166,022   124,729   121,220    59.0       31.8   35.2     -3.4     90.4        -1615         -0.96       13,238      12.26         13.22
44     Central Texas    R      174,451   126,713   125,720    60.9       29.7   32.7     -3.0     90.9         6814          4.06       17,738      16.43         12.36
54     Central Texas    R      167,736   117,164   112,385    51.6       15.8   17.6     -1.9     89.5           99          0.06        4,403        4.08         4.02
55     Central Texas    R      162,176   119,755   116,635    64.4       14.9   19.4     -4.5     76.8        -5461         -3.26        8,653        8.01        11.27
56     Central Texas    R      163,869   123,411   117,985    72.6       12.4   17.8     -5.4     69.7        -3768         -2.25       10,003        9.26        11.51
58     Central Texas    R      169,146   123,826   118,105    84.2        8.7   14.9     -6.1     58.8         1509          0.90       10,123        9.37         8.47
59     Central Texas    R      163,609   122,193   118,030    75.9       11.4   15.6     -4.2     73.1        -4028         -2.40       10,048        9.31        11.71
                                                                                                                                                   109.16
                                                                                                       Average Deviation (13 Districts)               8.40

 A          B           C       D         E          F        G        H       I       J         K           L            M              N          O            P
                                                             PCT      PCT     PCT    %HVAP - %HCVAP/      TPOP         %TPOP           CVAP      % CVAP % CVAP Dev -
Dist   Area of State   Party   Total     VAP       CVAP
                                                             Anglo   HCVAP HVAP %HCVAP         %HVAP     Deviation    Deviation      Deviation   Deviation   % TPOP Dev
100    Dallas Cnty      D      161,143   117,479    97,410    29.8       18.3   33.1     -14.8     55.2        -6494         -3.87       -10,572      -9.79         -5.92
102    Dallas Cnty      R      161,136   122,520    96,850    65.0       11.3   24.1     -12.8     46.8        -6501         -3.88       -11,132     -10.31         -6.43
103    Dallas Cnty      D      170,948   121,837    71,970    39.0       42.7   64.3     -21.7     66.3         3311          1.98       -36,012     -33.35        -35.33
104    Dallas Cnty      D      172,784   115,035    78,780    25.3       51.7   69.2     -17.5     74.7         5147          3.07       -29,202     -27.04        -30.11
105    Dallas Cnty      R      175,728   127,590    95,900    51.1       24.1   39.2     -15.1     61.4         8091          4.83       -12,082     -11.19        -16.02
107    Dallas Cnty      R      171,872   123,986   108,045    57.9       15.6   28.9     -13.4     53.8         4235          2.53            63        0.06        -2.47
108    Dallas Cnty      R      163,233   133,667   122,505    74.3       13.6   19.5      -6.0     69.4        -4404         -2.63        14,523      13.45         16.08
109    Dallas Cnty      D      174,223   122,347   112,780    23.4       11.4   20.0      -8.6     57.0         6586          3.93         4,798        4.44         0.51
110    Dallas Cnty      D      167,508   111,827    83,885    14.6       24.9   45.5     -20.6     54.7         -129         -0.08       -24,097     -22.32        -22.24
111    Dallas Cnty      D      166,963   118,393   103,410    24.2       15.1   25.5     -10.3     59.4         -674         -0.40        -4,572      -4.23         -3.83
112    Dallas Cnty      R      167,051   120,192    97,965    54.9       14.8   26.3     -11.5     56.4         -586         -0.35       -10,017      -9.28         -8.93
113    Dallas Cnty      R      171,418   120,834   106,040    53.5       15.3   26.0     -10.8     58.6         3781          2.26        -1,942      -1.80         -4.05
114    Dallas Cnty      R      172,330   130,817   105,540    68.2       11.0   24.2     -13.2     45.6         4693          2.80        -2,442      -2.26         -5.06
115    Dallas Cnty      R      171,802   127,352   100,760    58.5       16.7   24.4      -7.8     68.2         4165          2.48        -7,222      -6.69         -9.17
                                                                                                                                                    -120.31
                                                                                                        Average Deviation (14 Districts)              -8.59




                                                                          Table 5 - Page 2 of 7
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 A          B           C       D         E          F        G        H       I       J        K           L            M              N         O            P
                                                             PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP         %TPOP           CVAP     % CVAP % CVAP Dev -
Dist   Area of State   Party   Total     VAP       CVAP
                                                             Anglo   HCVAP HVAP %HCVAP        %HVAP     Deviation    Deviation      Deviation  Deviation   % TPOP Dev
  4    DFW Suburbs      R      168,429   123,603   117,715    81.5        6.3   11.7     -5.4     53.6          792          0.47        9,733        9.01         8.54
 10    DFW Suburbs      R      163,063   116,978   111,680    75.6       13.1   18.7     -5.5     70.4        -4574         -2.73        3,698        3.42         6.15
 33    DFW Suburbs      R      172,135   119,518   115,655    77.9        8.5   13.5     -4.9     63.5         4498          2.68        7,673        7.11         4.42
 61    DFW Suburbs      R      176,054   130,782   128,065    88.5        6.0   10.6     -4.6     56.9         8417          5.02       20,083      18.60         13.58
63     DFW Suburbs      R      167,337   115,634   113,605    80.8        8.0   13.1     -5.1     61.2         -300         -0.18        5,623        5.21         5.39
 64    DFW Suburbs      R      167,588   129,175   116,875    75.0       10.1   16.6     -6.5     60.8          -49         -0.03        8,893        8.24         8.26
 65    DFW Suburbs      R      165,742   124,977   109,350    62.3        9.8   18.6     -8.8     52.5        -1895         -1.13        1,368        1.27         2.40
 66    DFW Suburbs      R      172,129   130,796   113,390    69.7        6.0    9.1     -3.1     65.8         4492          2.68        5,408        5.01         2.33
 67    DFW Suburbs      R      172,141   126,368   111,250    70.1        7.5   13.9     -6.4     54.0         4504          2.69        3,268        3.03         0.34
 70    DFW Suburbs      R      172,135   117,432   110,995    75.3       10.0   15.9     -5.9     62.9         4498          2.68        3,013        2.79         0.11
 89    DFW Suburbs      R      172,138   118,380   116,895    72.4        8.9   13.0     -4.2     68.0         4501          2.68        8,913        8.25         5.57
106    DFW Suburbs      R      161,947   110,568   107,290    76.1        8.8   14.7     -5.9     60.1        -5690         -3.39         -692      -0.64          2.75
                                                                                                                                                    71.29
                                                                                                       Average Deviation (12 Districts)               5.94

 A          B           C       D         E          F        G        H       I       J        K           L            M             N          O           P
                                                             PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP         %TPOP           CVAP     % CVAP % CVAP Dev -
Dist   Area of State   Party   Total     VAP       CVAP
                                                             Anglo   HCVAP HVAP %HCVAP        %HVAP     Deviation    Deviation      Deviation  Deviation  % TPOP Dev
75       El Paso        D      159,691   103,209    77,455     8.9       89.0   91.8     -2.8     97.0        -7946         -4.74      -30,527     -28.27       -23.53
76       El Paso        D      159,752   116,389    94,705    11.2       83.5   87.3     -3.7     95.7        -7885         -4.70      -13,277     -12.30        -7.59
77       El Paso        D      160,385   115,924    90,830    22.9       69.6   76.0     -6.4     91.6        -7252         -4.33      -17,152     -15.88       -11.56
78       El Paso        D      160,161   111,913    98,925    31.6       58.3   64.7     -6.4     90.0        -7476         -4.46       -9,057      -8.39        -3.93
79       El Paso        D      160,658   112,399    98,435    17.0       76.7   79.9     -3.2     96.0        -6979         -4.16       -9,547      -8.84        -4.68
                                                                                                                                                   -73.68
                                                                                                       Average Deviation (5 Districts)             -14.74




                                                                          Table 5 - Page 3 of 7
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 A          B           C       D         E          F        G        H       I       J         K           L            M              N          O            P
                                                             PCT      PCT     PCT    %HVAP - %HCVAP/      TPOP         %TPOP           CVAP      % CVAP % CVAP Dev -
Dist   Area of State   Party   Total     VAP       CVAP
                                                             Anglo   HCVAP HVAP %HCVAP         %HVAP     Deviation    Deviation      Deviation   Deviation   % TPOP Dev
126     Harris Cnty     R      169,256   123,014    99,335    51.8       17.0   26.8      -9.9     63.2         1619          0.97        -8,647      -8.01         -8.97
127     Harris Cnty     R      163,983   115,865   114,290    67.1       12.4   18.1      -5.7     68.6        -3654         -2.18         6,308        5.84         8.02
128     Harris Cnty     R      172,221   124,645   116,020    66.4       17.1   25.0      -7.9     68.5         4584          2.73         8,038        7.44         4.71
129     Harris Cnty     R      174,127   130,457   121,280    62.9       13.6   20.4      -6.8     66.5         6490          3.87        13,298      12.32          8.44
130     Harris Cnty     R      175,532   122,108   119,770    71.6       11.6   17.7      -6.2     65.3         7895          4.71        11,788      10.92          6.21
131     Harris Cnty     D      175,227   121,368    93,535    13.2       24.0   41.2     -17.2     58.3         7590          4.53       -14,447     -13.38        -17.91
132     Harris Cnty     R      172,973   117,666   109,150    52.4       20.6   33.0     -12.4     62.5         5336          3.18         1,168        1.08        -2.10
133     Harris Cnty     R      171,401   135,423   114,530    70.2        9.5   14.7      -5.2     64.6         3764          2.25         6,548        6.06         3.82
134     Harris Cnty     R      174,421   143,575   130,040    74.7       11.0   13.3      -2.3     82.6         6784          4.05        22,058      20.43         16.38
135     Harris Cnty     R      172,422   121,136    99,750    50.0       18.2   28.5     -10.3     64.0         4785          2.85        -8,232      -7.62        -10.48
137     Harris Cnty     D      171,079   127,834    64,375    32.5       22.0   51.5     -29.6     42.6         3442          2.05       -43,607     -40.38        -42.44
138     Harris Cnty     R      173,059   124,435    98,420    50.3       22.3   41.3     -19.0     54.0         5422          3.23        -9,562      -8.86        -12.09
139     Harris Cnty     D      175,733   123,875   100,540    21.6       19.0   35.8     -16.7     53.2         8096          4.83        -7,442      -6.89        -11.72
140     Harris Cnty     D      170,732   112,332    69,415    17.2       58.5   75.8     -17.2     77.3         3095          1.85       -38,567     -35.72        -37.56
141     Harris Cnty     D      166,498   113,951    92,390    13.5       18.2   37.6     -19.4     48.4        -1139         -0.68       -15,592     -14.44        -13.76
142     Harris Cnty     D      159,541   113,288    91,845    20.3       21.3   35.0     -13.7     60.8        -8096         -4.83       -16,137     -14.94        -10.11
143     Harris Cnty     D      167,215   113,877    84,625    23.7       53.0   69.4     -16.4     76.4         -422         -0.25       -23,357     -21.63        -21.38
144     Harris Cnty     D      161,859   108,509    75,785    34.9       50.3   69.8     -19.5     72.1        -5778         -3.45       -32,197     -29.82        -26.37
145     Harris Cnty     D      164,574   116,918    83,645    28.4       55.6   69.8     -14.2     79.7        -3063         -1.83       -24,337     -22.54        -20.71
146     Harris Cnty     D      174,485   130,444    97,195    24.7       11.2   27.3     -16.1     41.0         6848          4.09       -10,787      -9.99        -14.07
147     Harris Cnty     D      175,873   136,034   114,905    28.9       18.4   31.2     -12.8     59.0         8236          4.91         6,923        6.41         1.50
148     Harris Cnty     D      170,811   125,873    91,615    40.1       43.5   61.1     -17.6     71.2         3174          1.89       -16,367     -15.16        -17.05
149     Harris Cnty     D      170,702   121,535    89,230    27.0       19.1   33.8     -14.7     56.6         3065          1.83       -18,752     -17.37        -19.19
150     Harris Cnty     R      168,735   120,462   109,725    66.0       12.3   21.0      -8.7     58.7         1098          0.65         1,743        1.61         0.96
                                                                                                                                                    -194.62
                                                                                                        Average Deviation (24 Districts)              -8.11




                                                                          Table 5 - Page 4 of 7
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 A           B            C       D         E          F        G        H       I       J         K           L            M              N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/      TPOP         %TPOP           CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP     Deviation    Deviation      Deviation   Deviation   % TPOP Dev
 3     Houston Suburbs    R      164,955   119,595   109,760    75.4        9.7   20.0     -10.3     48.5        -2682         -1.60         1,778        1.65         3.25
15     Houston Suburbs    R      167,349   120,450   116,690    81.8        7.4   13.5      -6.1     55.0         -288         -0.17         8,708        8.06         8.24
16     Houston Suburbs    R      166,647   122,271   108,180    80.7        9.3   21.1     -11.8     44.2         -990         -0.59           198        0.18         0.77
23     Houston Suburbs    R      163,720   123,736   111,960    59.8       16.6   22.7      -6.1     73.2        -3917         -2.34         3,978        3.68         6.02
24     Houston Suburbs    R      162,685   118,491   118,260    74.8       11.3   15.6      -4.3     72.3        -4952         -2.95        10,278        9.52        12.47
25     Houston Suburbs    R      174,168   129,041   121,250    62.4       20.8   27.4      -6.6     75.9         6531          3.90        13,268      12.29          8.39
26     Houston Suburbs    R      160,091   117,247    97,320    52.2       11.6   14.9      -3.3     77.8        -7546         -4.50       -10,662      -9.87         -5.37
27     Houston Suburbs    D      160,084   113,596   104,295    26.2       14.8   19.7      -4.8     75.4        -7553         -4.51        -3,687      -3.41          1.09
28     Houston Suburbs    R      160,373   107,968   100,995    53.3       15.6   20.6      -5.0     75.8        -7264         -4.33        -6,987      -6.47         -2.14
29     Houston Suburbs    R      175,700   124,171   116,165    57.5       17.4   23.2      -5.8     74.9         8063          4.81         8,183        7.58         2.77
85     Houston Suburbs    R      160,182   113,433   102,620    48.3       27.5   35.1      -7.6     78.5        -7455         -4.45        -5,362      -4.97         -0.52
                                                                                                                                                        18.24
                                                                                                          Average Deviation (11 Districts)                1.66

 A           B            C       D         E          F        G        H      I       J        K           L            M             N          O            P
                                                               PCT      PCT    PCT    %HVAP - %HCVAP/     TPOP         %TPOP           CVAP     % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP       %HVAP     Deviation    Deviation      Deviation  Deviation   % TPOP Dev
 1      Northeast TX      R      165,823   125,927   122,470    75.1       3.1    5.8     -2.7     53.5        -1814         -1.08       14,488      13.42         14.50
2       Northeast TX      R      173,869   130,806   124,825    85.1       5.5   10.0     -4.5     55.2         6232          3.72       16,843      15.60         11.88
5       Northeast TX      R      160,253   120,169   112,555    78.8       5.2   13.2     -7.9     39.8        -7384         -4.40        4,573        4.23         8.64
 6      Northeast TX      R      160,008   119,154   109,970    70.1       6.5   14.9     -8.3     44.0        -7629         -4.55        1,988        1.84         6.39
 7      Northeast TX      R      161,039   120,296   112,255    74.7       3.9   11.2     -7.3     34.9        -6598         -3.94        4,273        3.96         7.89
 9      Northeast TX      R      166,719   125,947   121,420    75.8       2.5    6.9     -4.4     35.8         -918         -0.55       13,438      12.44         12.99
11      Northeast TX      R      168,699   128,086   118,640    72.2       5.7   13.9     -8.3     40.6         1062          0.63       10,658        9.87         9.24
62      Northeast TX      R      160,023   122,203   117,530    85.0       4.2    8.6     -4.4     49.0        -7614         -4.54        9,548        8.84        13.38
                                                                                                                                                     70.21
                                                                                                        Average Deviation (8 Districts)                8.78




                                                                            Table 5 - Page 5 of 7
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 A           B            C       D         E          F        G        H       I       J        K           L            M              N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP         %TPOP           CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP        %HVAP     Deviation    Deviation      Deviation   Deviation   % TPOP Dev
31     S Tex RG Valley    D      171,858   121,699   104,285    23.1       73.9   77.7     -3.8     95.1         4221          2.52        -3,697      -3.42         -5.94
32     S Tex RG Valley    R      167,074   126,072   124,080    46.8       44.2   45.9     -1.6     96.5         -563         -0.34        16,098      14.91         15.24
34     S Tex RG Valley    D      173,149   125,896   117,465    28.0       64.6   67.7     -3.1     95.4         5512          3.29         9,483        8.78         5.49
35     S Tex RG Valley    D      168,627   109,154    77,585    18.6       78.9   85.1     -6.2     92.7          990          0.59       -30,397     -28.15        -28.74
36     S Tex RG Valley    D      168,963   110,963    76,060    11.9       86.0   90.8     -4.8     94.7         1326          0.79       -31,922     -29.56        -30.35
37     S Tex RG Valley    D      169,088   113,454    78,885    15.5       81.5   87.1     -5.6     93.6         1451          0.87       -29,097     -26.95        -27.81
38     S Tex RG Valley    D      168,214   110,865    92,195    13.5       80.2   86.7     -6.4     92.6          577          0.34       -15,787     -14.62        -14.96
39     S Tex RG Valley    D      168,659   110,751    85,015    14.6       78.9   88.0     -9.1     89.7         1022          0.61       -22,967     -21.27        -21.88
40     S Tex RG Valley    D      168,662   108,086    79,875     8.2       88.4   92.1     -3.8     95.9         1025          0.61       -28,107     -26.03        -26.64
41     S Tex RG Valley    D      168,776   115,033    88,365    17.9       75.7   80.4     -4.6     94.2         1139          0.68       -19,617     -18.17        -18.85
42     S Tex RG Valley    D      167,668   111,699    84,125     5.4       91.2   95.0     -3.9     95.9           31          0.02       -23,857     -22.09        -22.11
43     S Tex RG Valley    R      169,564   124,492   120,575    35.8       57.7   59.8     -2.1     96.5         1927          1.15        12,593      11.66         10.51
74     S Tex RG Valley    D      162,357   115,236    91,345    24.6       69.4   76.6     -7.3     90.5        -5280         -3.15       -16,637     -15.41        -12.26
80     S Tex RG Valley    D      161,949   106,402    86,650    15.5       78.7   86.1     -7.4     91.4        -5688         -3.39       -21,332     -19.76        -16.36
                                                                                                                                                     -190.07
                                                                                                         Average Deviation (14 Districts)             -13.58

 A           B            C       D         E          F        G        H      I       J        K           L            M             N          O            P
                                                               PCT      PCT    PCT    %HVAP - %HCVAP/     TPOP         %TPOP           CVAP     % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP       %HVAP     Deviation    Deviation      Deviation  Deviation   % TPOP Dev
18      Southeast TX      R      169,888   132,877   126,560    71.3       8.1   14.2     -6.1     57.0         2251          1.34       18,578      17.20         15.86
19      Southeast TX      R      171,969   131,682   128,705    82.5       3.7    6.3     -2.6     58.3         4332          2.58       20,723      19.19         16.61
21      Southeast TX      R      172,180   130,308   121,365    82.0       5.2    9.3     -4.1     55.7         4543          2.71       13,383      12.39          9.68
22      Southeast TX      D      161,930   122,897   115,525    37.0       7.7   15.7     -8.0     49.0        -5707         -3.40        7,543        6.99        10.39
57      Southeast TX      R      164,418   124,630   118,140    72.8       7.2   13.0     -5.8     55.5        -3219         -1.92       10,158        9.41        11.33
                                                                                                                                                     65.18
                                                                                                        Average Deviation (5 Districts)              13.04




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  A             B             C         D          E          F        G         H       I       J         K           L            M              N          O            P
                                                                      PCT       PCT     PCT    %HVAP - %HCVAP/      TPOP         %TPOP           CVAP      % CVAP % CVAP Dev -
 Dist     Area of State     Party     Total      VAP       CVAP
                                                                      Anglo    HCVAP HVAP %HCVAP         %HVAP     Deviation    Deviation      Deviation   Deviation   % TPOP Dev
  90       Tarrent Cnty       D       159,684    105,664    71,770      27.9       49.0   70.7     -21.7     69.3        -7953         -4.74       -36,212     -33.54        -28.79
  91       Tarrent Cnty       R       162,838    119,048   108,845      75.9       10.9   18.2      -7.2     60.2        -4799         -2.86           863        0.80         3.66
  92       Tarrent Cnty       R       162,326    126,290   116,980      70.3        9.6   14.5      -4.9     66.1        -5311         -3.17         8,998        8.33        11.50
  93       Tarrent Cnty       R       162,161    113,584   103,455      64.1       14.8   22.8      -8.0     65.0        -5476         -3.27        -4,527      -4.19         -0.93
  94       Tarrent Cnty       R       167,374    125,516   114,195      69.8       10.2   15.3      -5.2     66.3         -263         -0.16         6,213        5.75         5.91
  95       Tarrent Cnty       D       161,634    115,752    96,150      32.9       12.9   24.3     -11.4     53.0        -6003         -3.58       -11,832     -10.96         -7.38
  96       Tarrent Cnty       R       164,930    113,924   109,035      65.5       10.1   15.2      -5.1     66.5        -2707         -1.61         1,053        0.98         2.59
  97       Tarrent Cnty       R       168,869    131,311   122,870      70.5        9.8   15.7      -5.9     62.3         1232          0.73        14,888      13.79         13.05
  98       Tarrent Cnty       R       164,081    114,953   114,875      83.7        6.7    9.8      -3.1     68.8        -3556         -2.12         6,893        6.38         8.50
  99       Tarrent Cnty       R       170,473    125,722   116,830      74.7       14.7   20.1      -5.4     73.1         2836          1.69         8,848        8.19         6.50
 101       Tarrent Cnty       D       164,664    110,209    92,990      35.5       19.7   32.5     -12.8     60.6        -2973         -1.77       -14,992     -13.88        -12.11
                                                                                                                                                               -18.34
                                                                                                                  Average Deviation (11 Districts)              -1.67

  A             B             C         D          E          F        G         H       I       J        K           L            M              N          O            P
                                                                      PCT       PCT     PCT    %HVAP - %HCVAP/     TPOP         %TPOP           CVAP      % CVAP % CVAP Dev -
 Dist     Area of State     Party     Total      VAP       CVAP
                                                                      Anglo    HCVAP HVAP %HCVAP        %HVAP     Deviation    Deviation      Deviation   Deviation   % TPOP Dev
  53       West Texas         R       162,897    127,381   123,515      72.2       23.1   26.8     -3.7     86.3        -4740         -2.83       15,533       14.38         17.21
  60       West Texas         R       171,429    131,870   127,825      86.9        9.2   11.8     -2.6     78.0         3792          2.26       19,843       18.38         16.11
  68       West Texas         R       160,508    121,547   112,760      80.9       12.8   18.5     -5.7     69.1        -7129         -4.25         4,778        4.42         8.68
  69       West Texas         R       160,087    123,063   117,450      77.2        9.7   12.9     -3.2     75.3        -7550         -4.50         9,468        8.77        13.27
  71       West Texas         R       166,924    127,097   123,650      71.2       17.9   20.1     -2.1     89.4         -713         -0.43       15,668       14.51         14.94
  72       West Texas         R       170,479    130,771   123,075      64.6       27.6   32.3     -4.8     85.3         2842          1.70       15,093       13.98         12.28
  81       West Texas         R       169,684    120,535   108,980      51.8       39.0   46.9     -7.9     83.2         2047          1.22           998        0.92        -0.30
  82       West Texas         R       163,234    118,623   113,415      59.3       28.6   35.2     -6.6     81.2        -4403         -2.63         5,433        5.03         7.66
  83       West Texas         R       173,918    127,906   123,330      67.1       24.9   28.1     -3.2     88.8         6281          3.75       15,348       14.21         10.47
  84       West Texas         R       167,970    128,898   124,075      58.7       28.0   30.2     -2.2     92.8          333          0.20       16,093       14.90         14.70
  86       West Texas         R       165,183    121,555   115,915      76.4       16.5   22.3     -5.8     73.9        -2454         -1.46         7,933        7.35         8.81
  87       West Texas         R       174,343    125,360   109,320      65.0       21.8   29.7     -7.9     73.3         6706          4.00         1,338        1.24        -2.76
  88       West Texas         R       160,896    115,622   103,670      60.9       29.4   38.9     -9.5     75.7        -6741         -4.02        -4,312      -3.99          0.03
                                                                                                                                                              114.11
                                                                                                                 Average Deviation (13 Districts)                8.78

Note: The Indeal CVAP Population is 107,982. The ideal TPOP Deviation is 167,637.
Source is Texas Legislative Council at ftp://ftpgis1.tlc.state.tx.us/PlanH358/Reports/Excel/
Note: CVAP data is from 2010 ACS (2005 through 2009




                                                                                     Table 5 - Page 7 of 7
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                                                                                       TABLE 6
                                                                                 STATE OF TEXAS
                                                                     STATE HOUSE OF REPRESENTITIVES
                                                               83rd Legislature - 1st Called Session - S.B. 3 (June 2013)
                                                     Citizen Voting Age Population Analysis Using American Community Survey
                                                                            Sorted and Summed by Party

 A           B            C       D         E          F        G        H       I       J         K         L           M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP       %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP    Deviation   Deviation   Deviation  Deviation   % TPOP Dev
 1       Northeast TX     R      165,823   125,927   122,470    75.1        3.1    5.8      -2.7     53.5      -1814        -1.08     14,488      13.42         14.50
2        Northeast TX     R      173,869   130,806   124,825    85.1        5.5   10.0      -4.5     55.2       6232         3.72     16,843      15.60         11.88
3      Houston Suburbs    R      164,955   119,595   109,760    75.4        9.7   20.0     -10.3     48.5      -2682        -1.60      1,778        1.65         3.25
 4      DFW Suburbs       R      168,429   123,603   117,715    81.5        6.3   11.7      -5.4     53.6        792         0.47      9,733        9.01         8.54
 5       Northeast TX     R      160,253   120,169   112,555    78.8        5.2   13.2      -7.9     39.8      -7384        -4.40      4,573        4.23         8.64
 6       Northeast TX     R      160,008   119,154   109,970    70.1        6.5   14.9      -8.3     44.0      -7629        -4.55      1,988        1.84         6.39
 7       Northeast TX     R      161,039   120,296   112,255    74.7        3.9   11.2      -7.3     34.9      -6598        -3.94      4,273        3.96         7.89
 8      Central Texas     R      161,098   123,550   114,450    72.1        8.8   15.4      -6.6     57.0      -6539        -3.90      6,468        5.99         9.89
 9       Northeast TX     R      166,719   125,947   121,420    75.8        2.5    6.9      -4.4     35.8       -918        -0.55     13,438      12.44         12.99
10      DFW Suburbs       R      163,063   116,978   111,680    75.6       13.1   18.7      -5.5     70.4      -4574        -2.73      3,698        3.42         6.15
11       Northeast TX     R      168,699   128,086   118,640    72.2        5.7   13.9      -8.3     40.6       1062         0.63     10,658        9.87         9.24
12      Central Texas     R      160,573   119,556   111,590    64.4       11.8   19.5      -7.7     60.6      -7064        -4.21      3,608        3.34         7.56
13      Central Texas     R      170,617   131,129   123,515    75.2        9.5   15.9      -6.4     59.7       2980         1.78     15,533      14.38         12.61
14      Central Texas     R      163,187   131,479   114,485    68.6       14.1   21.0      -6.9     67.2      -4450        -2.65      6,503        6.02         8.68
15     Houston Suburbs    R      167,349   120,450   116,690    81.8        7.4   13.5      -6.1     55.0       -288        -0.17      8,708        8.06         8.24
16     Houston Suburbs    R      166,647   122,271   108,180    80.7        9.3   21.1     -11.8     44.2       -990        -0.59        198        0.18         0.77
17      Central Texas     R      163,480   121,295   112,125    61.1       27.0   33.4      -6.4     80.9      -4157        -2.48      4,143        3.84         6.32
18       Southeast TX     R      169,888   132,877   126,560    71.3        8.1   14.2      -6.1     57.0       2251         1.34     18,578      17.20         15.86
19       Southeast TX     R      171,969   131,682   128,705    82.5        3.7    6.3      -2.6     58.3       4332         2.58     20,723      19.19         16.61
20      Central Texas     R      159,816   121,754   115,395    82.8       10.3   16.6      -6.2     62.4      -7821        -4.67      7,413        6.87        11.53
21       Southeast TX     R      172,180   130,308   121,365    82.0        5.2    9.3      -4.1     55.7       4543         2.71     13,383      12.39          9.68
23     Houston Suburbs    R      163,720   123,736   111,960    59.8       16.6   22.7      -6.1     73.2      -3917        -2.34      3,978        3.68         6.02
24     Houston Suburbs    R      162,685   118,491   118,260    74.8       11.3   15.6      -4.3     72.3      -4952        -2.95     10,278        9.52        12.47
25     Houston Suburbs    R      174,168   129,041   121,250    62.4       20.8   27.4      -6.6     75.9       6531         3.90     13,268      12.29          8.39
26     Houston Suburbs    R      160,091   117,247    97,320    52.2       11.6   14.9      -3.3     77.8      -7546        -4.50    -10,662      -9.87         -5.37
28     Houston Suburbs    R      160,373   107,968   100,995    53.3       15.6   20.6      -5.0     75.8      -7264        -4.33     -6,987      -6.47         -2.14
29     Houston Suburbs    R      175,700   124,171   116,165    57.5       17.4   23.2      -5.8     74.9       8063         4.81      8,183        7.58         2.77
30      Central Texas     R      166,022   124,729   121,220    59.0       31.8   35.2      -3.4     90.4      -1615        -0.96     13,238      12.26         13.22
32     S Tex RG Valley    R      167,074   126,072   124,080    46.8       44.2   45.9      -1.6     96.5       -563        -0.34     16,098      14.91         15.24
33      DFW Suburbs       R      172,135   119,518   115,655    77.9        8.5   13.5      -4.9     63.5       4498         2.68      7,673        7.11         4.42
43     S Tex RG Valley    R      169,564   124,492   120,575    35.8       57.7   59.8      -2.1     96.5       1927         1.15     12,593      11.66         10.51
44      Central Texas     R      174,451   126,713   125,720    60.9       29.7   32.7      -3.0     90.9       6814         4.06     17,738      16.43         12.36
45        Austin Area     R      167,604   126,549   124,330    66.7       25.5   30.0      -4.6     84.8         -33       -0.02     16,348      15.14         15.16
47        Austin Area     R      175,314   127,689   125,095    80.3       12.3   12.6      -0.3     97.7       7677         4.58     17,113      15.85         11.27
52        Austin Area     R      165,994   114,146   111,445    62.8       19.6   26.7      -7.1     73.5      -1643        -0.98      3,463        3.21         4.19



                                                                             Table 6 - Page 1 of 4
                                 Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 85 of 126
 A           B            C       D         E          F        G        H       I       J         K         L           M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP       %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP    Deviation   Deviation   Deviation  Deviation   % TPOP Dev
 53      West Texas       R      162,897   127,381   123,515    72.2       23.1   26.8      -3.7     86.3      -4740        -2.83     15,533      14.38         17.21
 54     Central Texas     R      167,736   117,164   112,385    51.6       15.8   17.6      -1.9     89.5          99        0.06      4,403        4.08         4.02
 55     Central Texas     R      162,176   119,755   116,635    64.4       14.9   19.4      -4.5     76.8      -5461        -3.26      8,653        8.01        11.27
 56     Central Texas     R      163,869   123,411   117,985    72.6       12.4   17.8      -5.4     69.7      -3768        -2.25     10,003        9.26        11.51
 57     Southeast TX      R      164,418   124,630   118,140    72.8        7.2   13.0      -5.8     55.5      -3219        -1.92     10,158        9.41        11.33
 58     Central Texas     R      169,146   123,826   118,105    84.2        8.7   14.9      -6.1     58.8       1509         0.90     10,123        9.37         8.47
 59     Central Texas     R      163,609   122,193   118,030    75.9       11.4   15.6      -4.2     73.1      -4028        -2.40     10,048        9.31        11.71
 60      West Texas       R      171,429   131,870   127,825    86.9        9.2   11.8      -2.6     78.0       3792         2.26     19,843      18.38         16.11
 61     DFW Suburbs       R      176,054   130,782   128,065    88.5        6.0   10.6      -4.6     56.9       8417         5.02     20,083      18.60         13.58
 62     Northeast TX      R      160,023   122,203   117,530    85.0        4.2    8.6      -4.4     49.0      -7614        -4.54      9,548        8.84        13.38
 63     DFW Suburbs       R      167,337   115,634   113,605    80.8        8.0   13.1      -5.1     61.2       -300        -0.18      5,623        5.21         5.39
 64     DFW Suburbs       R      167,588   129,175   116,875    75.0       10.1   16.6      -6.5     60.8         -49       -0.03      8,893        8.24         8.26
 65     DFW Suburbs       R      165,742   124,977   109,350    62.3        9.8   18.6      -8.8     52.5      -1895        -1.13      1,368        1.27         2.40
 66     DFW Suburbs       R      172,129   130,796   113,390    69.7        6.0    9.1      -3.1     65.8       4492         2.68      5,408        5.01         2.33
 67     DFW Suburbs       R      172,141   126,368   111,250    70.1        7.5   13.9      -6.4     54.0       4504         2.69      3,268        3.03         0.34
 68      West Texas       R      160,508   121,547   112,760    80.9       12.8   18.5      -5.7     69.1      -7129        -4.25      4,778        4.42         8.68
 69      West Texas       R      160,087   123,063   117,450    77.2        9.7   12.9      -3.2     75.3      -7550        -4.50      9,468        8.77        13.27
 70     DFW Suburbs       R      172,135   117,432   110,995    75.3       10.0   15.9      -5.9     62.9       4498         2.68      3,013        2.79         0.11
 71      West Texas       R      166,924   127,097   123,650    71.2       17.9   20.1      -2.1     89.4       -713        -0.43     15,668      14.51         14.94
 72      West Texas       R      170,479   130,771   123,075    64.6       27.6   32.3      -4.8     85.3       2842         1.70     15,093      13.98         12.28
 73         Bexar         R      166,719   127,882   126,130    79.7       16.6   19.8      -3.3     83.6       -918        -0.55     18,148      16.81         17.35
 81      West Texas       R      169,684   120,535   108,980    51.8       39.0   46.9      -7.9     83.2       2047         1.22        998        0.92        -0.30
 82      West Texas       R      163,234   118,623   113,415    59.3       28.6   35.2      -6.6     81.2      -4403        -2.63      5,433        5.03         7.66
 83      West Texas       R      173,918   127,906   123,330    67.1       24.9   28.1      -3.2     88.8       6281         3.75     15,348      14.21         10.47
 84      West Texas       R      167,970   128,898   124,075    58.7       28.0   30.2      -2.2     92.8        333         0.20     16,093      14.90         14.70
 85    Houston Suburbs    R      160,182   113,433   102,620    48.3       27.5   35.1      -7.6     78.5      -7455        -4.45     -5,362      -4.97         -0.52
 86      West Texas       R      165,183   121,555   115,915    76.4       16.5   22.3      -5.8     73.9      -2454        -1.46      7,933        7.35         8.81
 87      West Texas       R      174,343   125,360   109,320    65.0       21.8   29.7      -7.9     73.3       6706         4.00      1,338        1.24        -2.76
 88      West Texas       R      160,896   115,622   103,670    60.9       29.4   38.9      -9.5     75.7      -6741        -4.02     -4,312      -3.99          0.03
 89     DFW Suburbs       R      172,138   118,380   116,895    72.4        8.9   13.0      -4.2     68.0       4501         2.68      8,913        8.25         5.57
 91     Tarrent Cnty      R      162,838   119,048   108,845    75.9       10.9   18.2      -7.2     60.2      -4799        -2.86        863        0.80         3.66
 92     Tarrent Cnty      R      162,326   126,290   116,980    70.3        9.6   14.5      -4.9     66.1      -5311        -3.17      8,998        8.33        11.50
 93     Tarrent Cnty      R      162,161   113,584   103,455    64.1       14.8   22.8      -8.0     65.0      -5476        -3.27     -4,527      -4.19         -0.93
 94     Tarrent Cnty      R      167,374   125,516   114,195    69.8       10.2   15.3      -5.2     66.3       -263        -0.16      6,213        5.75         5.91
 96     Tarrent Cnty      R      164,930   113,924   109,035    65.5       10.1   15.2      -5.1     66.5      -2707        -1.61      1,053        0.98         2.59
 97     Tarrent Cnty      R      168,869   131,311   122,870    70.5        9.8   15.7      -5.9     62.3       1232         0.73     14,888      13.79         13.05
 98     Tarrent Cnty      R      164,081   114,953   114,875    83.7        6.7    9.8      -3.1     68.8      -3556        -2.12      6,893        6.38         8.50
 99     Tarrent Cnty      R      170,473   125,722   116,830    74.7       14.7   20.1      -5.4     73.1       2836         1.69      8,848        8.19         6.50
102      Dallas Cnty      R      161,136   122,520    96,850    65.0       11.3   24.1     -12.8     46.8      -6501        -3.88    -11,132     -10.31         -6.43
105      Dallas Cnty      R      175,728   127,590    95,900    51.1       24.1   39.2     -15.1     61.4       8091         4.83    -12,082     -11.19        -16.02
106     DFW Suburbs       R      161,947   110,568   107,290    76.1        8.8   14.7      -5.9     60.1      -5690        -3.39       -692      -0.64          2.75
107      Dallas Cnty      R      171,872   123,986   108,045    57.9       15.6   28.9     -13.4     53.8       4235         2.53         63        0.06        -2.47



                                                                           Table 6 - Page 2 of 4
                                 Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 86 of 126
 A           B            C       D         E          F        G        H       I       J         K          L          M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/      TPOP      %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP     Deviation  Deviation   Deviation  Deviation   % TPOP Dev
108      Dallas Cnty      R      163,233   133,667   122,505    74.3       13.6   19.5      -6.0      69.4      -4404       -2.63     14,523      13.45         16.08
112      Dallas Cnty      R      167,051   120,192    97,965    54.9       14.8   26.3     -11.5      56.4       -586       -0.35    -10,017      -9.28         -8.93
113      Dallas Cnty      R      171,418   120,834   106,040    53.5       15.3   26.0     -10.8      58.6       3781        2.26     -1,942      -1.80         -4.05
114      Dallas Cnty      R      172,330   130,817   105,540    68.2       11.0   24.2     -13.2      45.6       4693        2.80     -2,442      -2.26         -5.06
115      Dallas Cnty      R      171,802   127,352   100,760    58.5       16.7   24.4      -7.8      68.2       4165        2.48     -7,222      -6.69         -9.17
117        Bexar          R      168,692   117,126   111,045    32.3       60.9   58.8       2.1     103.6       1055        0.63      3,063        2.84         2.21
121        Bexar          R      174,867   133,224   128,905    61.0       26.7   31.4      -4.6      85.2       7230        4.31     20,923      19.38         15.06
122        Bexar          R      175,184   128,725   124,270    64.8       23.4   27.8      -4.3      84.4       7547        4.50     16,288      15.08         10.58
126       Houston         R      169,256   123,014    99,335    51.8       17.0   26.8      -9.9      63.2       1619        0.97     -8,647      -8.01         -8.97
127       Houston         R      163,983   115,865   114,290    67.1       12.4   18.1      -5.7      68.6      -3654       -2.18      6,308        5.84         8.02
128       Houston         R      172,221   124,645   116,020    66.4       17.1   25.0      -7.9      68.5       4584        2.73      8,038        7.44         4.71
129       Houston         R      174,127   130,457   121,280    62.9       13.6   20.4      -6.8      66.5       6490        3.87     13,298      12.32          8.44
130       Houston         R      175,532   122,108   119,770    71.6       11.6   17.7      -6.2      65.3       7895        4.71     11,788      10.92          6.21
132       Houston         R      172,973   117,666   109,150    52.4       20.6   33.0     -12.4      62.5       5336        3.18      1,168        1.08        -2.10
133       Houston         R      171,401   135,423   114,530    70.2        9.5   14.7      -5.2      64.6       3764        2.25      6,548        6.06         3.82
134       Houston         R      174,421   143,575   130,040    74.7       11.0   13.3      -2.3      82.6       6784        4.05     22,058      20.43         16.38
135       Houston         R      172,422   121,136    99,750    50.0       18.2   28.5     -10.3      64.0       4785        2.85     -8,232      -7.62        -10.48
136      Austin Area      R      164,376   116,361   113,740    72.8       12.9   16.3      -3.4      79.1      -3261       -1.95      5,758        5.33         7.28
138       Houston         R      173,059   124,435    98,420    50.3       22.3   41.3     -19.0      54.0       5422        3.23     -9,562      -8.86        -12.09
150       Houston         R      168,735   120,462   109,725    66.0       12.3   21.0      -8.7      58.7       1098        0.65      1,743        1.61         0.96
                                                                                                                                                            618.05
                                                                                                               Average Deviation (97 Districts)               6.37

22      Southeast TX      D      161,930   122,897 115,525      37.0        7.7   15.7       -8.0       49.0          -5707         -3.40           7,543     6.99    10.39
27     Houston Suburbs    D      160,084   113,596   104,295    26.2       14.8   19.7       -4.8       75.4          -7553         -4.51          -3,687    -3.41     1.09
31     S Tex RG Valley    D      171,858   121,699   104,285    23.1       73.9   77.7       -3.8       95.1           4221          2.52          -3,697    -3.42    -5.94
34     S Tex RG Valley    D      173,149   125,896   117,465    28.0       64.6   67.7       -3.1       95.4           5512          3.29           9,483     8.78     5.49
35     S Tex RG Valley    D      168,627   109,154    77,585    18.6       78.9   85.1       -6.2       92.7            990          0.59         -30,397   -28.15   -28.74
36     S Tex RG Valley    D      168,963   110,963    76,060    11.9       86.0   90.8       -4.8       94.7           1326          0.79         -31,922   -29.56   -30.35
37     S Tex RG Valley    D      169,088   113,454    78,885    15.5       81.5   87.1       -5.6       93.6           1451          0.87         -29,097   -26.95   -27.81
38     S Tex RG Valley    D      168,214   110,865    92,195    13.5       80.2   86.7       -6.4       92.6            577          0.34         -15,787   -14.62   -14.96
39     S Tex RG Valley    D      168,659   110,751    85,015    14.6       78.9   88.0       -9.1       89.7           1022          0.61         -22,967   -21.27   -21.88
40     S Tex RG Valley    D      168,662   108,086    79,875     8.2       88.4   92.1       -3.8       95.9           1025          0.61         -28,107   -26.03   -26.64
41     S Tex RG Valley    D      168,776   115,033    88,365    17.9       75.7   80.4       -4.6       94.2           1139          0.68         -19,617   -18.17   -18.85
42     S Tex RG Valley    D      167,668   111,699    84,125     5.4       91.2   95.0       -3.9       95.9             31          0.02         -23,857   -22.09   -22.11
46       Austin Area      D      166,410   118,539    94,335    41.6       24.6   41.6      -16.9       59.3          -1227         -0.73         -13,647   -12.64   -11.91
48       Austin Area      D      173,008   135,585   127,810    74.4       16.7   20.4       -3.7       81.9           5371          3.20          19,828    18.36    15.16
49       Austin Area      D      167,309   144,371   130,085    73.1       14.3   21.6       -7.3       66.2           -328         -0.20          22,103    20.47    20.66
50       Austin Area      D      166,516   124,252   110,735    57.5       17.7   25.3       -7.6       69.9          -1121         -0.67           2,753     2.55     3.22
51       Austin Area      D      175,709   128,793    98,320    41.5       44.0   56.2      -12.2       78.3           8072          4.82          -9,662    -8.95   -13.76
74     S Tex RG Valley    D      162,357   115,236    91,345    24.6       69.4   76.6       -7.3       90.5          -5280         -3.15         -16,637   -15.41   -12.26




                                                                           Table 6 - Page 3 of 4
                                     Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 87 of 126
  A             B             C         D          E          F        G         H       I       J         K           L            M              N          O            P
                                                                      PCT       PCT     PCT    %HVAP - %HCVAP/      TPOP         %TPOP           CVAP      % CVAP % CVAP Dev -
 Dist     Area of State     Party     Total      VAP       CVAP
                                                                      Anglo    HCVAP HVAP %HCVAP         %HVAP     Deviation    Deviation      Deviation   Deviation   % TPOP Dev
  75         El Paso          D       159,691    103,209    77,455       8.9       89.0   91.8      -2.8     97.0        -7946         -4.74       -30,527     -28.27        -23.53
  76         El Paso          D       159,752    116,389    94,705      11.2       83.5   87.3      -3.7     95.7        -7885         -4.70       -13,277     -12.30         -7.59
  77         El Paso          D       160,385    115,924    90,830      22.9       69.6   76.0      -6.4     91.6        -7252         -4.33       -17,152     -15.88        -11.56
  78         El Paso          D       160,161    111,913    98,925      31.6       58.3   64.7      -6.4     90.0        -7476         -4.46        -9,057      -8.39         -3.93
  79         El Paso          D       160,658    112,399    98,435      17.0       76.7   79.9      -3.2     96.0        -6979         -4.16        -9,547      -8.84         -4.68
  80     S Tex RG Valley      D       161,949    106,402    86,650      15.5       78.7   86.1      -7.4     91.4        -5688         -3.39       -21,332     -19.76        -16.36
  90       Tarrent Cnty       D       159,684    105,664    71,770      27.9       49.0   70.7     -21.7     69.3        -7953         -4.74       -36,212     -33.54        -28.79
  95       Tarrent Cnty       D       161,634    115,752    96,150      32.9       12.9   24.3     -11.4     53.0        -6003         -3.58       -11,832     -10.96         -7.38
 100       Dallas Cnty        D       161,143    117,479    97,410      29.8       18.3   33.1     -14.8     55.2        -6494         -3.87       -10,572      -9.79         -5.92
 101       Tarrent Cnty       D       164,664    110,209    92,990      35.5       19.7   32.5     -12.8     60.6        -2973         -1.77       -14,992     -13.88        -12.11
 103       Dallas Cnty        D       170,948    121,837    71,970      39.0       42.7   64.3     -21.7     66.3         3311          1.98       -36,012     -33.35        -35.33
 104       Dallas Cnty        D       172,784    115,035    78,780      25.3       51.7   69.2     -17.5     74.7         5147          3.07       -29,202     -27.04        -30.11
 109       Dallas Cnty        D       174,223    122,347   112,780      23.4       11.4   20.0      -8.6     57.0         6586          3.93         4,798        4.44         0.51
 110       Dallas Cnty        D       167,508    111,827    83,885      14.6       24.9   45.5     -20.6     54.7         -129         -0.08       -24,097     -22.32        -22.24
 111       Dallas Cnty        D       166,963    118,393   103,410      24.2       15.1   25.5     -10.3     59.4         -674         -0.40        -4,572      -4.23         -3.83
 116          Bexar           D       171,463    132,823   115,470      32.3       57.1   59.9      -2.8     95.3         3826          2.28         7,488        6.93         4.65
 118          Bexar           D       164,436    116,859   106,575      28.1       67.1   68.7      -1.6     97.6        -3201         -1.91        -1,407      -1.30          0.61
 119          Bexar           D       159,981    114,477   106,465      28.5       58.3   62.7      -4.4     93.0        -7656         -4.57        -1,517      -1.40          3.16
 120          Bexar           D       175,132    124,829   114,810      30.6       34.1   42.2      -8.1     80.9         7495          4.47         6,828        6.32         1.85
 123          Bexar           D       175,674    135,763   119,930      30.6       62.3   66.5      -4.2     93.7         8037          4.79        11,948      11.06          6.27
 124          Bexar           D       174,795    120,503   115,090      24.8       62.4   66.0      -3.6     94.6         7158          4.27         7,108        6.58         2.31
 125          Bexar           D       174,549    125,158   115,800      26.3       64.3   69.1      -4.8     93.1         6912          4.12         7,818        7.24         3.12
 131         Houston          D       175,227    121,368    93,535      13.2       24.0   41.2     -17.2     58.3         7590          4.53       -14,447     -13.38        -17.91
 137         Houston          D       171,079    127,834    64,375      32.5       22.0   51.5     -29.6     42.6         3442          2.05       -43,607     -40.38        -42.44
 139         Houston          D       175,733    123,875   100,540      21.6       19.0   35.8     -16.7     53.2         8096          4.83        -7,442      -6.89        -11.72
 140         Houston          D       170,732    112,332    69,415      17.2       58.5   75.8     -17.2     77.3         3095          1.85       -38,567     -35.72        -37.56
 141         Houston          D       166,498    113,951    92,390      13.5       18.2   37.6     -19.4     48.4        -1139         -0.68       -15,592     -14.44        -13.76
 142         Houston          D       159,541    113,288    91,845      20.3       21.3   35.0     -13.7     60.8        -8096         -4.83       -16,137     -14.94        -10.11
 143         Houston          D       167,215    113,877    84,625      23.7       53.0   69.4     -16.4     76.4         -422         -0.25       -23,357     -21.63        -21.38
 144         Houston          D       161,859    108,509    75,785      34.9       50.3   69.8     -19.5     72.1        -5778         -3.45       -32,197     -29.82        -26.37
 145         Houston          D       164,574    116,918    83,645      28.4       55.6   69.8     -14.2     79.7        -3063         -1.83       -24,337     -22.54        -20.71
 146         Houston          D       174,485    130,444    97,195      24.7       11.2   27.3     -16.1     41.0         6848          4.09       -10,787      -9.99        -14.07
 147         Houston          D       175,873    136,034   114,905      28.9       18.4   31.2     -12.8     59.0         8236          4.91         6,923        6.41         1.50
 148         Houston          D       170,811    125,873    91,615      40.1       43.5   61.1     -17.6     71.2         3174          1.89       -16,367     -15.16        -17.05
 149         Houston          D       170,702    121,535    89,230      27.0       19.1   33.8     -14.7     56.6         3065          1.83       -18,752     -17.37        -19.19
                                                                                                                                                              -618.03
                                                                                                                  Average Deviation (53 Districts)             -11.66

Note: The Indeal CVAP Population is 107,982. The ideal TPOP Deviation is 167,637.
Source is Texas Legislative Council at ftp://ftpgis1.tlc.state.tx.us/PlanH358/Reports/Excel/
Note: CVAP data is from 2010 ACS (2005 through 2009




                                                                                     Table 6 - Page 4 of 4
                                 Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 88 of 126
                                                                                       TABLE 7
                                                                                 STATE OF TEXAS
                                                                     STATE HOUSE OF REPRESENTITIVES
                                                               83rd Legislature - 1st Called Session - S.B. 3 (June 2013)
                                                     Citizen Voting Age Population Analysis Using American Community Survey
                                                                         Sorted by Percent TPOP Deviation

 A           B            C       D         E          F        G        H       I       J         K         L          M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP      %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP    Deviation  Deviation   Deviation  Deviation   % TPOP Dev
 61     DFW Suburbs       R      176,054   130,782   128,065    88.5        6.0   10.6      -4.6     56.9       8417        5.02     20,083      18.60         13.58
147        Houston        D      175,873   136,034   114,905    28.9       18.4   31.2     -12.8     59.0       8236        4.91      6,923        6.41         1.50
139        Houston        D      175,733   123,875   100,540    21.6       19.0   35.8     -16.7     53.2       8096        4.83     -7,442      -6.89        -11.72
105       Dallas Cnty     R      175,728   127,590    95,900    51.1       24.1   39.2     -15.1     61.4       8091        4.83    -12,082     -11.19        -16.02
 51       Austin Area     D      175,709   128,793    98,320    41.5       44.0   56.2     -12.2     78.3       8072        4.82     -9,662      -8.95        -13.76
 29    Houston Suburbs    R      175,700   124,171   116,165    57.5       17.4   23.2      -5.8     74.9       8063        4.81      8,183        7.58         2.77
123         Bexar         D      175,674   135,763   119,930    30.6       62.3   66.5      -4.2     93.7       8037        4.79     11,948      11.06          6.27
130        Houston        R      175,532   122,108   119,770    71.6       11.6   17.7      -6.2     65.3       7895        4.71     11,788      10.92          6.21
 47       Austin Area     R      175,314   127,689   125,095    80.3       12.3   12.6      -0.3     97.7       7677        4.58     17,113      15.85         11.27
131        Houston        D      175,227   121,368    93,535    13.2       24.0   41.2     -17.2     58.3       7590        4.53    -14,447     -13.38        -17.91
122         Bexar         R      175,184   128,725   124,270    64.8       23.4   27.8      -4.3     84.4       7547        4.50     16,288      15.08         10.58
120         Bexar         D      175,132   124,829   114,810    30.6       34.1   42.2      -8.1     80.9       7495        4.47      6,828        6.32         1.85
121         Bexar         R      174,867   133,224   128,905    61.0       26.7   31.4      -4.6     85.2       7230        4.31     20,923      19.38         15.06
124         Bexar         D      174,795   120,503   115,090    24.8       62.4   66.0      -3.6     94.6       7158        4.27      7,108        6.58         2.31
125         Bexar         D      174,549   125,158   115,800    26.3       64.3   69.1      -4.8     93.1       6912        4.12      7,818        7.24         3.12
146        Houston        D      174,485   130,444    97,195    24.7       11.2   27.3     -16.1     41.0       6848        4.09    -10,787      -9.99        -14.07
 44     Central Texas     R      174,451   126,713   125,720    60.9       29.7   32.7      -3.0     90.9       6814        4.06     17,738      16.43         12.36
134        Houston        R      174,421   143,575   130,040    74.7       11.0   13.3      -2.3     82.6       6784        4.05     22,058      20.43         16.38
 87       West Texas      R      174,343   125,360   109,320    65.0       21.8   29.7      -7.9     73.3       6706        4.00      1,338        1.24        -2.76
109       Dallas Cnty     D      174,223   122,347   112,780    23.4       11.4   20.0      -8.6     57.0       6586        3.93      4,798        4.44         0.51
 25    Houston Suburbs    R      174,168   129,041   121,250    62.4       20.8   27.4      -6.6     75.9       6531        3.90     13,268      12.29          8.39
129        Houston        R      174,127   130,457   121,280    62.9       13.6   20.4      -6.8     66.5       6490        3.87     13,298      12.32          8.44
 83       West Texas      R      173,918   127,906   123,330    67.1       24.9   28.1      -3.2     88.8       6281        3.75     15,348      14.21         10.47
  2      Northeast TX     R      173,869   130,806   124,825    85.1        5.5   10.0      -4.5     55.2       6232        3.72     16,843      15.60         11.88
 34    S Tex RG Valley    D      173,149   125,896   117,465    28.0       64.6   67.7      -3.1     95.4       5512        3.29      9,483        8.78         5.49
138        Houston        R      173,059   124,435    98,420    50.3       22.3   41.3     -19.0     54.0       5422        3.23     -9,562      -8.86        -12.09
 48       Austin Area     D      173,008   135,585   127,810    74.4       16.7   20.4      -3.7     81.9       5371        3.20     19,828      18.36         15.16
132        Houston        R      172,973   117,666   109,150    52.4       20.6   33.0     -12.4     62.5       5336        3.18      1,168        1.08        -2.10
104       Dallas Cnty     D      172,784   115,035    78,780    25.3       51.7   69.2     -17.5     74.7       5147        3.07    -29,202     -27.04        -30.11
135        Houston        R      172,422   121,136    99,750    50.0       18.2   28.5     -10.3     64.0       4785        2.85     -8,232      -7.62        -10.48
114       Dallas Cnty     R      172,330   130,817   105,540    68.2       11.0   24.2     -13.2     45.6       4693        2.80     -2,442      -2.26         -5.06
128        Houston        R      172,221   124,645   116,020    66.4       17.1   25.0      -7.9     68.5       4584        2.73      8,038        7.44         4.71
 21      Southeast TX     R      172,180   130,308   121,365    82.0        5.2    9.3      -4.1     55.7       4543        2.71     13,383      12.39          9.68
 67     DFW Suburbs       R      172,141   126,368   111,250    70.1        7.5   13.9      -6.4     54.0       4504        2.69      3,268        3.03         0.34
 89     DFW Suburbs       R      172,138   118,380   116,895    72.4        8.9   13.0      -4.2     68.0       4501        2.68      8,913        8.25         5.57



                                                                             Table 7 - Page 1 of 4
                                 Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 89 of 126
 A           B            C       D         E          F        G        H       I       J         K          L           M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/      TPOP       %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP     Deviation   Deviation   Deviation  Deviation   % TPOP Dev
 33     DFW Suburbs       R      172,135   119,518   115,655    77.9        8.5   13.5      -4.9      63.5       4498         2.68      7,673        7.11         4.42
 70     DFW Suburbs       R      172,135   117,432   110,995    75.3       10.0   15.9      -5.9      62.9       4498         2.68      3,013        2.79         0.11
 66     DFW Suburbs       R      172,129   130,796   113,390    69.7        6.0    9.1      -3.1      65.8       4492         2.68      5,408        5.01         2.33
 19      Southeast TX     R      171,969   131,682   128,705    82.5        3.7    6.3      -2.6      58.3       4332         2.58     20,723      19.19         16.61
107       Dallas Cnty     R      171,872   123,986   108,045    57.9       15.6   28.9     -13.4      53.8       4235         2.53         63        0.06        -2.47
 31    S Tex RG Valley    D      171,858   121,699   104,285    23.1       73.9   77.7      -3.8      95.1       4221         2.52     -3,697      -3.42         -5.94
115       Dallas Cnty     R      171,802   127,352   100,760    58.5       16.7   24.4      -7.8      68.2       4165         2.48     -7,222      -6.69         -9.17
116         Bexar         D      171,463   132,823   115,470    32.3       57.1   59.9      -2.8      95.3       3826         2.28      7,488        6.93         4.65
 60       West Texas      R      171,429   131,870   127,825    86.9        9.2   11.8      -2.6      78.0       3792         2.26     19,843      18.38         16.11
113       Dallas Cnty     R      171,418   120,834   106,040    53.5       15.3   26.0     -10.8      58.6       3781         2.26     -1,942      -1.80         -4.05
133        Houston        R      171,401   135,423   114,530    70.2        9.5   14.7      -5.2      64.6       3764         2.25      6,548        6.06         3.82
137        Houston        D      171,079   127,834    64,375    32.5       22.0   51.5     -29.6      42.6       3442         2.05    -43,607     -40.38        -42.44
103       Dallas Cnty     D      170,948   121,837    71,970    39.0       42.7   64.3     -21.7      66.3       3311         1.98    -36,012     -33.35        -35.33
148        Houston        D      170,811   125,873    91,615    40.1       43.5   61.1     -17.6      71.2       3174         1.89    -16,367     -15.16        -17.05
140        Houston        D      170,732   112,332    69,415    17.2       58.5   75.8     -17.2      77.3       3095         1.85    -38,567     -35.72        -37.56
149        Houston        D      170,702   121,535    89,230    27.0       19.1   33.8     -14.7      56.6       3065         1.83    -18,752     -17.37        -19.19
 13     Central Texas     R      170,617   131,129   123,515    75.2        9.5   15.9      -6.4      59.7       2980         1.78     15,533      14.38         12.61
 72       West Texas      R      170,479   130,771   123,075    64.6       27.6   32.3      -4.8      85.3       2842         1.70     15,093      13.98         12.28
 99      Tarrent Cnty     R      170,473   125,722   116,830    74.7       14.7   20.1      -5.4      73.1       2836         1.69      8,848        8.19         6.50
 18      Southeast TX     R      169,888   132,877   126,560    71.3        8.1   14.2      -6.1      57.0       2251         1.34     18,578      17.20         15.86
 81       West Texas      R      169,684   120,535   108,980    51.8       39.0   46.9      -7.9      83.2       2047         1.22        998        0.92        -0.30
 43    S Tex RG Valley    R      169,564   124,492   120,575    35.8       57.7   59.8      -2.1      96.5       1927         1.15     12,593      11.66         10.51
126        Houston        R      169,256   123,014    99,335    51.8       17.0   26.8      -9.9      63.2       1619         0.97     -8,647      -8.01         -8.97
 58     Central Texas     R      169,146   123,826   118,105    84.2        8.7   14.9      -6.1      58.8       1509         0.90     10,123        9.37         8.47
 37    S Tex RG Valley    D      169,088   113,454    78,885    15.5       81.5   87.1      -5.6      93.6       1451         0.87    -29,097     -26.95        -27.81
 36    S Tex RG Valley    D      168,963   110,963    76,060    11.9       86.0   90.8      -4.8      94.7       1326         0.79    -31,922     -29.56        -30.35
 97      Tarrent Cnty     R      168,869   131,311   122,870    70.5        9.8   15.7      -5.9      62.3       1232         0.73     14,888      13.79         13.05
 41    S Tex RG Valley    D      168,776   115,033    88,365    17.9       75.7   80.4      -4.6      94.2       1139         0.68    -19,617     -18.17        -18.85
150        Houston        R      168,735   120,462   109,725    66.0       12.3   21.0      -8.7      58.7       1098         0.65      1,743        1.61         0.96
 11      Northeast TX     R      168,699   128,086   118,640    72.2        5.7   13.9      -8.3      40.6       1062         0.63     10,658        9.87         9.24
117         Bexar         R      168,692   117,126   111,045    32.3       60.9   58.8       2.1     103.6       1055         0.63      3,063        2.84         2.21
 40    S Tex RG Valley    D      168,662   108,086    79,875     8.2       88.4   92.1      -3.8      95.9       1025         0.61    -28,107     -26.03        -26.64
 39    S Tex RG Valley    D      168,659   110,751    85,015    14.6       78.9   88.0      -9.1      89.7       1022         0.61    -22,967     -21.27        -21.88
 35    S Tex RG Valley    D      168,627   109,154    77,585    18.6       78.9   85.1      -6.2      92.7        990         0.59    -30,397     -28.15        -28.74
  4     DFW Suburbs       R      168,429   123,603   117,715    81.5        6.3   11.7      -5.4      53.6        792         0.47      9,733        9.01         8.54
 38    S Tex RG Valley    D      168,214   110,865    92,195    13.5       80.2   86.7      -6.4      92.6        577         0.34    -15,787     -14.62        -14.96
 84       West Texas      R      167,970   128,898   124,075    58.7       28.0   30.2      -2.2      92.8        333         0.20     16,093      14.90         14.70
 54     Central Texas     R      167,736   117,164   112,385    51.6       15.8   17.6      -1.9      89.5          99        0.06      4,403        4.08         4.02
 42    S Tex RG Valley    D      167,668   111,699    84,125     5.4       91.2   95.0      -3.9      95.9          31        0.02    -23,857     -22.09        -22.11
 45       Austin Area     R      167,604   126,549   124,330    66.7       25.5   30.0      -4.6      84.8         -33       -0.02     16,348      15.14         15.16
 64     DFW Suburbs       R      167,588   129,175   116,875    75.0       10.1   16.6      -6.5      60.8         -49       -0.03      8,893        8.24         8.26
110       Dallas Cnty     D      167,508   111,827    83,885    14.6       24.9   45.5     -20.6      54.7       -129        -0.08    -24,097     -22.32        -22.24



                                                                           Table 7 - Page 2 of 4
                                 Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 90 of 126
 A           B            C       D         E          F        G        H       I       J         K         L          M           N          O            P
                                                               PCT      PCT     PCT    %HVAP - %HCVAP/     TPOP      %TPOP        CVAP      % CVAP % CVAP Dev -
Dist    Area of State    Party   Total     VAP       CVAP
                                                               Anglo   HCVAP HVAP %HCVAP         %HVAP    Deviation  Deviation   Deviation  Deviation   % TPOP Dev
 94      Tarrent Cnty     R      167,374   125,516   114,195    69.8       10.2   15.3      -5.2     66.3       -263       -0.16      6,213        5.75         5.91
 15    Houston Suburbs    R      167,349   120,450   116,690    81.8        7.4   13.5      -6.1     55.0       -288       -0.17      8,708        8.06         8.24
 63     DFW Suburbs       R      167,337   115,634   113,605    80.8        8.0   13.1      -5.1     61.2       -300       -0.18      5,623        5.21         5.39
 49       Austin Area     D      167,309   144,371   130,085    73.1       14.3   21.6      -7.3     66.2       -328       -0.20     22,103      20.47         20.66
143        Houston        D      167,215   113,877    84,625    23.7       53.0   69.4     -16.4     76.4       -422       -0.25    -23,357     -21.63        -21.38
 32    S Tex RG Valley    R      167,074   126,072   124,080    46.8       44.2   45.9      -1.6     96.5       -563       -0.34     16,098      14.91         15.24
112       Dallas Cnty     R      167,051   120,192    97,965    54.9       14.8   26.3     -11.5     56.4       -586       -0.35    -10,017      -9.28         -8.93
111       Dallas Cnty     D      166,963   118,393   103,410    24.2       15.1   25.5     -10.3     59.4       -674       -0.40     -4,572      -4.23         -3.83
 71       West Texas      R      166,924   127,097   123,650    71.2       17.9   20.1      -2.1     89.4       -713       -0.43     15,668      14.51         14.94
 73         Bexar         R      166,719   127,882   126,130    79.7       16.6   19.8      -3.3     83.6       -918       -0.55     18,148      16.81         17.35
  9      Northeast TX     R      166,719   125,947   121,420    75.8        2.5    6.9      -4.4     35.8       -918       -0.55     13,438      12.44         12.99
 16    Houston Suburbs    R      166,647   122,271   108,180    80.7        9.3   21.1     -11.8     44.2       -990       -0.59        198        0.18         0.77
 50       Austin Area     D      166,516   124,252   110,735    57.5       17.7   25.3      -7.6     69.9      -1121       -0.67      2,753        2.55         3.22
141        Houston        D      166,498   113,951    92,390    13.5       18.2   37.6     -19.4     48.4      -1139       -0.68    -15,592     -14.44        -13.76
 46       Austin Area     D      166,410   118,539    94,335    41.6       24.6   41.6     -16.9     59.3      -1227       -0.73    -13,647     -12.64        -11.91
 30     Central Texas     R      166,022   124,729   121,220    59.0       31.8   35.2      -3.4     90.4      -1615       -0.96     13,238      12.26         13.22
 52       Austin Area     R      165,994   114,146   111,445    62.8       19.6   26.7      -7.1     73.5      -1643       -0.98      3,463        3.21         4.19
  1      Northeast TX     R      165,823   125,927   122,470    75.1        3.1    5.8      -2.7     53.5      -1814       -1.08     14,488      13.42         14.50
 65     DFW Suburbs       R      165,742   124,977   109,350    62.3        9.8   18.6      -8.8     52.5      -1895       -1.13      1,368        1.27         2.40
 86       West Texas      R      165,183   121,555   115,915    76.4       16.5   22.3      -5.8     73.9      -2454       -1.46      7,933        7.35         8.81
  3    Houston Suburbs    R      164,955   119,595   109,760    75.4        9.7   20.0     -10.3     48.5      -2682       -1.60      1,778        1.65         3.25
 96      Tarrent Cnty     R      164,930   113,924   109,035    65.5       10.1   15.2      -5.1     66.5      -2707       -1.61      1,053        0.98         2.59
101      Tarrent Cnty     D      164,664   110,209    92,990    35.5       19.7   32.5     -12.8     60.6      -2973       -1.77    -14,992     -13.88        -12.11
145        Houston        D      164,574   116,918    83,645    28.4       55.6   69.8     -14.2     79.7      -3063       -1.83    -24,337     -22.54        -20.71
118         Bexar         D      164,436   116,859   106,575    28.1       67.1   68.7      -1.6     97.6      -3201       -1.91     -1,407      -1.30          0.61
 57      Southeast TX     R      164,418   124,630   118,140    72.8        7.2   13.0      -5.8     55.5      -3219       -1.92     10,158        9.41        11.33
136       Austin Area     R      164,376   116,361   113,740    72.8       12.9   16.3      -3.4     79.1      -3261       -1.95      5,758        5.33         7.28
 98      Tarrent Cnty     R      164,081   114,953   114,875    83.7        6.7    9.8      -3.1     68.8      -3556       -2.12      6,893        6.38         8.50
127        Houston        R      163,983   115,865   114,290    67.1       12.4   18.1      -5.7     68.6      -3654       -2.18      6,308        5.84         8.02
 56     Central Texas     R      163,869   123,411   117,985    72.6       12.4   17.8      -5.4     69.7      -3768       -2.25     10,003        9.26        11.51
 23    Houston Suburbs    R      163,720   123,736   111,960    59.8       16.6   22.7      -6.1     73.2      -3917       -2.34      3,978        3.68         6.02
 59     Central Texas     R      163,609   122,193   118,030    75.9       11.4   15.6      -4.2     73.1      -4028       -2.40     10,048        9.31        11.71
 17     Central Texas     R      163,480   121,295   112,125    61.1       27.0   33.4      -6.4     80.9      -4157       -2.48      4,143        3.84         6.32
 82       West Texas      R      163,234   118,623   113,415    59.3       28.6   35.2      -6.6     81.2      -4403       -2.63      5,433        5.03         7.66
108       Dallas Cnty     R      163,233   133,667   122,505    74.3       13.6   19.5      -6.0     69.4      -4404       -2.63     14,523      13.45         16.08
 14     Central Texas     R      163,187   131,479   114,485    68.6       14.1   21.0      -6.9     67.2      -4450       -2.65      6,503        6.02         8.68
 10     DFW Suburbs       R      163,063   116,978   111,680    75.6       13.1   18.7      -5.5     70.4      -4574       -2.73      3,698        3.42         6.15
 53       West Texas      R      162,897   127,381   123,515    72.2       23.1   26.8      -3.7     86.3      -4740       -2.83     15,533      14.38         17.21
 91      Tarrent Cnty     R      162,838   119,048   108,845    75.9       10.9   18.2      -7.2     60.2      -4799       -2.86        863        0.80         3.66
 24    Houston Suburbs    R      162,685   118,491   118,260    74.8       11.3   15.6      -4.3     72.3      -4952       -2.95     10,278        9.52        12.47
 74    S Tex RG Valley    D      162,357   115,236    91,345    24.6       69.4   76.6      -7.3     90.5      -5280       -3.15    -16,637     -15.41        -12.26
 92      Tarrent Cnty     R      162,326   126,290   116,980    70.3        9.6   14.5      -4.9     66.1      -5311       -3.17      8,998        8.33        11.50



                                                                           Table 7 - Page 3 of 4
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  A             B             C         D          E          F        G         H       I       J         K         L          M           N          O            P
                                                                      PCT       PCT     PCT    %HVAP - %HCVAP/     TPOP      %TPOP        CVAP      % CVAP % CVAP Dev -
 Dist     Area of State     Party     Total      VAP       CVAP
                                                                      Anglo    HCVAP HVAP %HCVAP         %HVAP    Deviation  Deviation   Deviation  Deviation   % TPOP Dev
  55      Central Texas       R       162,176    119,755   116,635      64.4       14.9   19.4      -4.5     76.8      -5461       -3.26      8,653        8.01        11.27
 93        Tarrent Cnty       R       162,161    113,584   103,455      64.1       14.8   22.8      -8.0     65.0      -5476       -3.27     -4,527      -4.19         -0.93
  80     S Tex RG Valley      D       161,949    106,402    86,650      15.5       78.7   86.1      -7.4     91.4      -5688       -3.39    -21,332     -19.76        -16.36
 106      DFW Suburbs         R       161,947    110,568   107,290      76.1        8.8   14.7      -5.9     60.1      -5690       -3.39       -692      -0.64          2.75
  22       Southeast TX       D       161,930    122,897   115,525      37.0        7.7   15.7      -8.0     49.0      -5707       -3.40      7,543        6.99        10.39
 144         Houston          D       161,859    108,509    75,785      34.9       50.3   69.8     -19.5     72.1      -5778       -3.45    -32,197     -29.82        -26.37
  95       Tarrent Cnty       D       161,634    115,752    96,150      32.9       12.9   24.3     -11.4     53.0      -6003       -3.58    -11,832     -10.96         -7.38
 100        Dallas Cnty       D       161,143    117,479    97,410      29.8       18.3   33.1     -14.8     55.2      -6494       -3.87    -10,572      -9.79         -5.92
 102        Dallas Cnty       R       161,136    122,520    96,850      65.0       11.3   24.1     -12.8     46.8      -6501       -3.88    -11,132     -10.31         -6.43
   8      Central Texas       R       161,098    123,550   114,450      72.1        8.8   15.4      -6.6     57.0      -6539       -3.90      6,468        5.99         9.89
   7       Northeast TX       R       161,039    120,296   112,255      74.7        3.9   11.2      -7.3     34.9      -6598       -3.94      4,273        3.96         7.89
  88        West Texas        R       160,896    115,622   103,670      60.9       29.4   38.9      -9.5     75.7      -6741       -4.02     -4,312      -3.99          0.03
  79         El Paso          D       160,658    112,399    98,435      17.0       76.7   79.9      -3.2     96.0      -6979       -4.16     -9,547      -8.84         -4.68
  12      Central Texas       R       160,573    119,556   111,590      64.4       11.8   19.5      -7.7     60.6      -7064       -4.21      3,608        3.34         7.56
  68        West Texas        R       160,508    121,547   112,760      80.9       12.8   18.5      -5.7     69.1      -7129       -4.25      4,778        4.42         8.68
  77         El Paso          D       160,385    115,924    90,830      22.9       69.6   76.0      -6.4     91.6      -7252       -4.33    -17,152     -15.88        -11.56
  28     Houston Suburbs      R       160,373    107,968   100,995      53.3       15.6   20.6      -5.0     75.8      -7264       -4.33     -6,987      -6.47         -2.14
   5       Northeast TX       R       160,253    120,169   112,555      78.8        5.2   13.2      -7.9     39.8      -7384       -4.40      4,573        4.23         8.64
  85     Houston Suburbs      R       160,182    113,433   102,620      48.3       27.5   35.1      -7.6     78.5      -7455       -4.45     -5,362      -4.97         -0.52
  78         El Paso          D       160,161    111,913    98,925      31.6       58.3   64.7      -6.4     90.0      -7476       -4.46     -9,057      -8.39         -3.93
  26     Houston Suburbs      R       160,091    117,247    97,320      52.2       11.6   14.9      -3.3     77.8      -7546       -4.50    -10,662      -9.87         -5.37
  69        West Texas        R       160,087    123,063   117,450      77.2        9.7   12.9      -3.2     75.3      -7550       -4.50      9,468        8.77        13.27
  27     Houston Suburbs      D       160,084    113,596   104,295      26.2       14.8   19.7      -4.8     75.4      -7553       -4.51     -3,687      -3.41          1.09
  62       Northeast TX       R       160,023    122,203   117,530      85.0        4.2    8.6      -4.4     49.0      -7614       -4.54      9,548        8.84        13.38
   6       Northeast TX       R       160,008    119,154   109,970      70.1        6.5   14.9      -8.3     44.0      -7629       -4.55      1,988        1.84         6.39
 119          Bexar           D       159,981    114,477   106,465      28.5       58.3   62.7      -4.4     93.0      -7656       -4.57     -1,517      -1.40          3.16
  20      Central Texas       R       159,816    121,754   115,395      82.8       10.3   16.6      -6.2     62.4      -7821       -4.67      7,413        6.87        11.53
 76          El Paso          D       159,752    116,389    94,705      11.2       83.5   87.3      -3.7     95.7      -7885       -4.70    -13,277     -12.30         -7.59
  75         El Paso          D       159,691    103,209    77,455       8.9       89.0   91.8      -2.8     97.0      -7946       -4.74    -30,527     -28.27        -23.53
  90       Tarrent Cnty       D       159,684    105,664    71,770      27.9       49.0   70.7     -21.7     69.3      -7953       -4.74    -36,212     -33.54        -28.79
 142         Houston          D       159,541    113,288    91,845      20.3       21.3   35.0     -13.7     60.8      -8096       -4.83    -16,137     -14.94        -10.11

Note: The Indeal CVAP Population is 107,982. The ideal TPOP Deviation is 16,7637.
Source is Texas Legislative Council at ftp://ftpgis1.tlc.state.tx.us/PlanH358/Reports/Excel/
Note: CVAP data is from 2010 ACS (2005 through 2009




                                                                                     Table 7 - Page 4 of 4
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                                              TABLE 8
                        Texas Regions Using Whole State House Districts
                  Showing Gain or Loss of Districts Using CVAP as Population Base

                                                                                      Average Pct.
                                             Present       Districts   Gain or Loss
            Region of State                                                           Deviation per
                                             Districts    Under CVAP   Under CVAP
                                                                                        District
Austin and Suburbs                               9             9.6          0.6                 6.59
San Antonio and Suburbs                         11            11.9          0.9                 8.14
Central Texas                                   13            14.1          1.1                  8.4
Dallas County                                  14            12.8          -1.2                -8.59
Dallas Suburbs                                  12            12.7          0.7                 5.94
Tarrant County                                  11            10.8         -0.2                -1.67
Harris County                                   24            22.1         -1.9                -8.11
Houston Suburbs                                 11            11.2          0.2                 1.66
Northeast Texas                                  8             8.7          0.7                 8.78
El Paso County                                  5             4.3          -0.7               -14.74
Rio Grande Valley and South Texas               14            12.1         -1.9               -13.58
Southeast Texas                                 5             5.7           0.7                13.04
West Texas                                      13            14.1          1.1                 8.78
State Total                                    150           150.1          0.1
Note: There are small rounding errors.




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                                         APPENDIX 1

                       LEGAL PAPER - POPULATION DATABASES

When examining population databases for intrastate redistricting purposes it is important
to remember that one may be potentially talking about two sets of data; one used by the state to
draw up the plan and possibly another used by the courts to assess "one person one vote." The
courts have been clear that population databases in addition to the population database used to
judge one person one vote are allowed. The most obvious and prominent example of this is in
Hawaii. Hawaii has an interesting factual situation. Because of the large number of military
personnel stationed on a variety of Naval, Marine, Army and Air Force installations it is possible
with little effort to draw districts which meet the one person one vote standard but only contain a
handful of voters. Virtually none of the military personnel in Hawaii are Hawaii voters.
Therefore, by grabbing a section of military population that would almost completely constitute a
legislative district and including it with a few registered voters, literally a single family could
elect a legislator. This is what was referred to in the 19th century as a "rotten borough." As the
court stated in Burns v. Gill, "if total population were to be the only acceptable criterion upon
which legislative representation could be based, in Hawaii grossly absurd and disastrous results
would flow... the factors of tourists and the military concentration in particular regions of
Oahu... are and apparently will be ever present in Hawaii."55 (Emphasis added) Hawaii has
attempted to solve this problem by requiring that the numbers of permanent residents and
registered voters are equalized in the state’s districts.

The courts examined this issue in a series of cases beginning with Burns v. Richardson.56
In Richardson the Supreme Court stated that "we hold the that the present [Hawaii]
apportionment satisfies the Equal Protection Clause only because on this record it was found to
have produced a distribution of legislators not substantially different from that which would have
resulted from the use of a permissible population basis." The Court also observed in a footnote
from the same paragraph that the Fourth Circuit in Ellis v. Mayor & City of Baltimore had
"disapproved a registered voter’s basis for apportioning the governing council of Baltimore
Maryland. The Court of Appeals held that this basis was permissible only if it yielded results
substantially approximating those obtained by use of a total population base."57
In the 1980’s, a subsequent district court in Hawaii noted the Ellis footnote and while
conceding that there might be another permissible population base (such as citizen population),
registered voters was not such a population base and total population as reported by the census
was. As a result, “the plan’s [Hawaii’s congressional and legislative] failure to replicate the
results of a total population-based apportionment creates at least a prima facie showing of
invalidity.” The court found that once the prima facie case had been made the burden was on the
state to justify the deviations.58 The Travis Court did not forbid the policy of equalizing the
voters between the districts but still required that it equalize total population as well.

There can be substantial deviations from an equal distribution of persons across districts
depending upon the population base used for apportionment. See Chen v. City of Houston,
(Thomas, J., dissenting) (stating that whether "population" for purposes of apportionment means
"total population" or "citizen voting age population" may "be dispositive of whether" the Equal
Protection Clause has been violated)59; Garza v. County of Los Angeles, (Kozinski, J., concurring
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and dissenting in part) (recognizing the potential substantive difference between striving for
"equality of population" and "equality of voting strength" in the apportionment process, and
stating that "[a]pportionment by population can result in unequally weighted votes, while
assuring equality in voting power might well call for districts of unequal population.").60
The issue raised in these opinions is whether the mandates of equal protection are related
to equality of representation or equality of electoral power. The rhetoric of the apportionment
revolution of the 1960s was one person one vote. The Supreme Court talked virtually
exclusively about equality of votes. This becomes significant only when there is a disconnect
between equality of total population and numbers of voters or potential voters (for example, area
with large non-citizen populations or other large non-voting groups).

A similar set of issues is implicated by the recent consideration by many states of
legislation which would redistribute the census results so as to reallocate prisoners from the
prisons where they were held on the census day to the address which they listed as their
residence on the day of their incarceration. At first blush such reallocation would appear to be
constitutional, particularly since states like Kansas have reallocated college students from their
campuses back to their homes in Kansas.61 However, unlike Kansas, many of the states
considering prisoner reallocation have decided not to count out-of-state prisoners at all. This
would appear to conflict with the principles set down in the Hawaii cases. As the court noted in
the Travis case, having received a second congressional seat the state cannot proceed to ignore
the population which allowed this to occur.62 A similar issue would appear to be at work if a
state simply removed all of the out-of-state prison population from its redistricting population
database. Prison population can have significant effects on state legislative districts particularly
in light of the intentional deviation manipulation issues highlighted by Larios case. Therefore,
we can almost certainly expect litigation of these issues in this redistricting cycle. The ultimate
constitutionality of the statutes will most likely depend on the method of the reallocation and
whether it creates a discriminatory manipulation of the deviations between the districts.
55 Burns  v. Gill 316 F.Supp. 1285, 1293 (D. Haw. 1970).
56 Burns  v. Richardson 384 U.S. 73 (1966).
57 Ellis v. Mayor & City of Baltimore 352 F.2d 123, 130 (4th Cir. 1965).
58 Travis v. King, 552 F.Supp. 554, 572 (D. Haw. 1982).
59 Chen v. City of Houston,532 U.S. 1046, 2021 (2001) (Thomas, J., dissenting)
60 Garza v. County of Los Angeles,918 F.2d 763, 781 (9th Cir. 1990) (Kozinski, J., concurring and dissenting in part).
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                                 APPENDIX 2
                         Column Descriptions for Table 8

     Column   Column Header              Explanation
   Column A   Dist                       Texas State House District #
   Column B   Area of State              Region of the State
   Column C   Party                      Political Party of the Incument
   Column D   Total                      Total 2010 Population (TPOP)
   Column E   VAP                        Total 2010 Adult Population (VAP)
   Column F   CVAP                       Total Citizen Voting Age Population
   Column G   PCT Anglo                  Percent CVAP Anglo
   Column H   PCT HCVAP                  Percent Hispanic CVAP
   Column I   PCT HVAP                   Percent Adult Hispanic VAP
   Column J   %HVAP - %HCVAP             Column I minus Column H
   Column K   %HCVAP/%HVAP               Column H divided by Column I
   Column L   TPOP Deviation             Deviation using TPOP
   Column M   % TPOP Deviatin            Percent Deviation using TPOP
   Column N   CVAP Deviation             Deviation using CVAP
   Column O   % CVAP Deviation           Percent Deviation using CVAP
   Column P   % CVAP Dev - % TPOP Dev    Column O - Column M
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Red-116
Data: 2009-2013 ACS; 2010 Census
                                                                                                                                                                                                                                                                              Texas Legislative Council
PLANH358 06/21/2013 1:29:25 PM
                                                                                                       American Community Survey Special Tabulation                                                                                                                           02/16/15 11:27 AM
                                                                                                                                                                                                                                                                              Page 1 of 1
                                                                                                     Using Census and American
                                                                                                               HOUSE  DISTRICTSCommunity Survey Data
                                                                                                                                 - PLANH358




                                                                               Special Tabulation of Citizen Voting Age Population (CVAP) from the 2009-2013 American Community Survey with Margins of Error
                                                                         Hispanic                                                                                       Not Hispanic or Latino
                    2010 Census                                           CVAP                                                                                  Citizen Voting Age Population (CVAP)
                                                                                                                                  % Black                              % American                 % Native                            % American
                                                                                              % Black         % Black +          + American              % White         Indian        %Asian     Hawaiian                              Indian                  % Asian        % Remainder
 District        Total             VAP              CVAP               % Hispanic              Alone           White               Indian                 Alone           Alone         Alone      Alone                                + White                 + White       2 or More Other
         1          165,823        125,927        122,470 (±2,705)          4.0 (±0.5)          18.1 (±1.1)       0.3 (±0.2)             0.3(±0.2)         75.1 (±0.9)               0.7 (±0.2)       0.4 (±0.2)         0.1 (±0.2)           0.8 (±0.2)         0.1 (±0.1)                0.2 (±0.1)
         2          173,869        130,806        124,825 (±2,634)          6.3 (±0.6)           6.5 (±0.6)       0.0 (±0.1)             0.0(±0.1)         85.1 (±0.8)               0.7 (±0.2)       0.4 (±0.2)         0.2 (±0.2)           0.6 (±0.2)         0.0 (±0.1)                0.1 (±0.1)
         3          164,955        119,595        109,760 (±3,444)         12.1 (±1.2)           9.8 (±1.1)       0.3 (±0.2)             0.0(±0.1)         75.4 (±1.2)               0.2 (±0.1)       1.0 (±0.3)         0.1 (±0.1)           1.0 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
         4          168,429        123,603        117,715 (±2,818)          7.3 (±0.7)           8.9 (±0.8)       0.3 (±0.2)             0.1(±0.1)         81.5 (±1.1)               0.6 (±0.2)       0.4 (±0.2)         0.1 (±0.2)           0.6 (±0.2)         0.2 (±0.2)                0.1 (±0.1)
         5          160,253        120,169        112,555 (±2,513)          7.0 (±0.7)          12.5 (±0.9)       0.1 (±0.1)             0.0(±0.1)         78.8 (±0.9)               0.6 (±0.2)       0.3 (±0.2)         0.0 (±0.1)           0.5 (±0.2)         0.0 (±0.1)                0.0 (±0.1)
         6          160,008        119,154        109,970 (±2,538)          8.7 (±0.9)          19.3 (±1.1)       0.1 (±0.1)             0.0(±0.1)         70.1 (±1.0)               0.3 (±0.2)       0.8 (±0.3)         0.0 (±0.1)           0.3 (±0.2)         0.2 (±0.2)                0.1 (±0.1)
         7          161,039        120,296        112,255 (±2,507)          5.5 (±0.6)          17.7 (±1.0)       0.0 (±0.1)             0.1(±0.2)         74.7 (±1.1)               0.5 (±0.2)       0.8 (±0.3)         0.0 (±0.1)           0.5 (±0.2)         0.1 (±0.1)                0.0 (±0.1)
         8          161,098        123,550        114,450 (±2,495)          9.5 (±0.7)          16.9 (±0.9)       0.1 (±0.1)             0.0(±0.1)         72.1 (±1.0)               0.4 (±0.1)       0.4 (±0.2)         0.0 (±0.1)           0.4 (±0.2)         0.0 (±0.1)                0.1 (±0.1)
         9          166,719        125,947        121,420 (±2,713)          3.5 (±0.5)          19.6 (±1.1)       0.1 (±0.1)             0.0(±0.1)         75.8 (±0.9)               0.1 (±0.1)       0.3 (±0.2)         0.0 (±0.1)           0.3 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        10          163,063        116,978        111,680 (±2,473)         14.0 (±1.1)           8.6 (±0.8)       0.1 (±0.1)             0.1(±0.2)         75.6 (±0.9)               0.5 (±0.2)       0.5 (±0.2)         0.0 (±0.1)           0.5 (±0.2)         0.0 (±0.1)                0.0 (±0.1)
        11          168,699        128,086        118,640 (±2,557)          7.5 (±0.6)          18.5 (±0.9)       0.1 (±0.1)             0.1(±0.1)         72.2 (±1.0)               0.4 (±0.2)       0.7 (±0.2)         0.0 (±0.1)           0.5 (±0.2)         0.1 (±0.1)                0.0 (±0.1)
        12          160,573        119,556        111,590 (±2,665)         13.8 (±1.1)          20.1 (±1.1)       0.1 (±0.1)             0.1(±0.1)         64.4 (±0.9)               0.3 (±0.2)       0.6 (±0.2)         0.1 (±0.1)           0.4 (±0.2)         0.1 (±0.1)                0.0 (±0.1)
        13          170,617        131,129        123,515 (±2,668)         11.3 (±0.9)          12.4 (±1.0)       0.1 (±0.1)             0.1(±0.1)         75.2 (±0.7)               0.1 (±0.1)       0.3 (±0.2)         0.0 (±0.1)           0.3 (±0.2)         0.0 (±0.1)                0.0 (±0.1)
        14          163,187        131,479        114,485 (±3,221)         16.5 (±1.0)          10.9 (±1.0)       0.5 (±0.3)             0.1(±0.1)         68.6 (±1.4)               0.3 (±0.1)       2.4 (±0.4)         0.0 (±0.1)           0.4 (±0.1)         0.2 (±0.2)                0.1 (±0.1)
        15          167,349        120,450        116,690 (±3,258)          9.9 (±0.9)           3.6 (±0.6)       0.2 (±0.1)             0.1(±0.1)         81.8 (±1.4)               0.1 (±0.1)       3.0 (±0.5)         0.1 (±0.1)           0.7 (±0.2)         0.5 (±0.3)                0.2 (±0.1)
        16          166,647        122,271        108,180 (±3,231)         11.0 (±1.1)           6.7 (±0.9)       0.2 (±0.2)             0.1(±0.2)         80.7 (±1.3)               0.2 (±0.1)       0.6 (±0.2)         0.0 (±0.1)           0.3 (±0.1)         0.1 (±0.1)                0.1 (±0.1)
        17          163,480        121,295        112,125 (±2,794)         28.2 (±1.3)           9.1 (±0.8)       0.1 (±0.1)             0.1(±0.1)         61.1 (±1.2)               0.3 (±0.2)       0.4 (±0.2)         0.0 (±0.1)           0.6 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        18          169,888        132,877        126,560 (±3,430)         10.3 (±0.7)          17.0 (±1.1)       0.0 (±0.1)             0.0(±0.1)         71.3 (±1.0)               0.3 (±0.2)       0.4 (±0.2)         0.0 (±0.1)           0.5 (±0.2)         0.1 (±0.1)                0.0 (±0.1)
        19          171,969        131,682        128,705 (±2,845)          4.4 (±0.5)          11.5 (±0.8)       0.1 (±0.1)             0.0(±0.1)         82.5 (±0.9)               0.7 (±0.2)       0.3 (±0.2)         0.0 (±0.1)           0.4 (±0.1)         0.0 (±0.1)                0.0 (±0.1)
        20          159,816        121,754        115,395 (±2,504)         12.1 (±1.0)           3.6 (±0.5)       0.1 (±0.1)             0.0(±0.1)         82.8 (±0.8)               0.4 (±0.2)       0.5 (±0.2)         0.0 (±0.1)           0.5 (±0.2)         0.1 (±0.2)                0.0 (±0.1)
        21          172,180        130,308        121,365 (±2,639)          7.6 (±0.7)           7.8 (±0.7)       0.1 (±0.1)             0.1(±0.1)         82.0 (±0.8)               0.4 (±0.2)       1.4 (±0.4)         0.0 (±0.1)           0.4 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        22          161,930        122,897        115,525 (±2,666)          9.5 (±0.8)          49.8 (±1.3)       0.2 (±0.2)             0.1(±0.1)         37.0 (±1.1)               0.3 (±0.2)       2.5 (±0.4)         0.1 (±0.1)           0.3 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        23          163,720        123,736        111,960 (±2,649)         17.4 (±1.1)          19.7 (±1.0)       0.2 (±0.2)             0.0(±0.1)         59.8 (±1.3)               0.4 (±0.2)       1.7 (±0.4)         0.1 (±0.1)           0.6 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        24          162,685        118,491        118,260 (±2,930)         13.9 (±1.2)           7.2 (±0.8)       0.3 (±0.2)             0.0(±0.1)         74.8 (±1.1)               0.1 (±0.1)       2.9 (±0.5)         0.0 (±0.1)           0.5 (±0.2)         0.3 (±0.2)                0.1 (±0.1)
        25          174,168        129,041        121,250 (±2,832)         23.4 (±1.3)          12.1 (±0.9)       0.1 (±0.1)             0.1(±0.2)         62.4 (±1.2)               0.3 (±0.2)       1.0 (±0.3)         0.1 (±0.2)           0.3 (±0.2)         0.1 (±0.1)                0.1 (±0.2)




                         The American Community Survey provided estimated citizen voting age population (CVAP) data at the block group level in a Special Tabulation. All block groups with more than 50% of the population in a district are included in the
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Data: 2009-2013 ACS; 2010 Census
                                                                                                                                                                                                                                                                              Texas Legislative Council
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                                                                                                       American Community Survey Special Tabulation                                                                                                                           02/16/15 11:27 AM
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                                                                                                     Using Census and American
                                                                                                               HOUSE  DISTRICTSCommunity Survey Data
                                                                                                                                 - PLANH358




                                                                               Special Tabulation of Citizen Voting Age Population (CVAP) from the 2009-2013 American Community Survey with Margins of Error
                                                                         Hispanic                                                                                       Not Hispanic or Latino
                    2010 Census                                           CVAP                                                                                  Citizen Voting Age Population (CVAP)
                                                                                                                                  % Black                              % American                 % Native                            % American
                                                                                              % Black         % Black +          + American              % White         Indian        %Asian     Hawaiian                              Indian                  % Asian        % Remainder
 District        Total             VAP              CVAP               % Hispanic              Alone           White               Indian                 Alone           Alone         Alone      Alone                                + White                 + White       2 or More Other
        26          160,091        117,247         97,320 (±2,690)         14.5 (±1.3)          10.4 (±1.1)       0.1 (±0.1)             0.0(±0.1)         52.2 (±1.5)               0.1 (±0.1)     21.7 (±1.4)          0.0 (±0.1)           0.3 (±0.2)         0.6 (±0.3)                0.1 (±0.2)
        27          160,084        113,596        104,295 (±2,865)         15.5 (±1.2)          46.2 (±1.8)       0.2 (±0.2)             0.1(±0.1)         26.2 (±1.1)               0.2 (±0.2)     10.9 (±1.1)          0.0 (±0.1)           0.2 (±0.2)         0.1 (±0.1)                0.3 (±0.2)
        28          160,373        107,968        100,995 (±3,011)         15.3 (±1.3)          16.1 (±1.6)       0.1 (±0.1)             0.1(±0.1)         53.3 (±1.6)               0.1 (±0.1)     13.9 (±1.3)          0.0 (±0.1)           0.3 (±0.2)         0.5 (±0.2)                0.2 (±0.2)
        29          175,700        124,171        116,165 (±2,991)         20.0 (±1.5)          13.7 (±1.3)       0.1 (±0.1)             0.1(±0.1)         57.5 (±1.3)               0.4 (±0.2)      7.3 (±0.8)          0.0 (±0.1)           0.4 (±0.2)         0.2 (±0.1)                0.2 (±0.2)
        30          166,022        124,729        121,220 (±2,579)         33.7 (±1.3)           5.1 (±0.6)       0.1 (±0.1)             0.2(±0.2)         59.0 (±1.0)               0.1 (±0.1)      0.8 (±0.2)          0.0 (±0.1)           0.8 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        31          171,858        121,699        104,285 (±2,886)         75.1 (±1.5)           1.2 (±0.2)       0.0 (±0.1)             0.0(±0.1)         23.1 (±1.1)               0.2 (±0.2)      0.2 (±0.2)          0.0 (±0.1)           0.2 (±0.2)         0.0 (±0.1)                0.0 (±0.1)
        32          167,074        126,072        124,080 (±2,920)         46.1 (±1.5)           4.3 (±0.5)       0.1 (±0.1)             0.0(±0.1)         46.8 (±1.2)               0.3 (±0.1)      1.7 (±0.3)          0.0 (±0.1)           0.4 (±0.2)         0.3 (±0.1)                0.1 (±0.1)
        33          172,135        119,518        115,655 (±2,731)          9.9 (±0.9)           6.1 (±0.7)       0.2 (±0.2)             0.1(±0.1)         77.9 (±1.1)               0.4 (±0.2)      3.9 (±0.6)          0.1 (±0.1)           0.6 (±0.2)         0.4 (±0.2)                0.2 (±0.2)
        34          173,149        125,896        117,465 (±3,003)         67.4 (±1.6)           3.4 (±0.5)       0.0 (±0.1)             0.0(±0.1)         28.0 (±1.0)               0.2 (±0.2)      0.5 (±0.2)          0.1 (±0.1)           0.2 (±0.2)         0.1 (±0.2)                0.0 (±0.1)
        35          168,627        109,154         77,585 (±2,538)         80.1 (±1.7)           0.4 (±0.2)       0.0 (±0.1)             0.0(±0.1)         18.6 (±1.3)               0.0 (±0.1)      0.6 (±0.3)          0.0 (±0.1)           0.1 (±0.2)         0.1 (±0.2)                0.0 (±0.1)
        36          168,963        110,963         76,060 (±2,839)         87.1 (±1.5)           0.4 (±0.2)       0.0 (±0.2)             0.0(±0.2)         11.9 (±1.1)               0.1 (±0.2)      0.4 (±0.2)          0.0 (±0.2)           0.1 (±0.2)         0.0 (±0.2)                0.0 (±0.2)
        37          169,088        113,454         78,885 (±2,323)         83.7 (±1.3)           0.4 (±0.2)       0.0 (±0.2)             0.0(±0.2)         15.5 (±1.1)               0.1 (±0.2)      0.2 (±0.2)          0.0 (±0.2)           0.1 (±0.2)         0.0 (±0.2)                0.0 (±0.2)
        38          168,214        110,865         92,195 (±2,979)         84.7 (±1.5)           0.4 (±0.2)       0.0 (±0.1)             0.0(±0.1)         13.5 (±1.0)               0.1 (±0.1)      1.0 (±0.3)          0.0 (±0.1)           0.1 (±0.2)         0.0 (±0.1)                0.1 (±0.2)
        39          168,659        110,751         85,015 (±2,934)         84.7 (±1.5)           0.2 (±0.2)       0.0 (±0.2)             0.0(±0.2)         14.6 (±1.2)               0.2 (±0.2)      0.2 (±0.2)          0.0 (±0.1)           0.0 (±0.1)         0.0 (±0.2)                0.0 (±0.1)
        40          168,662        108,086         79,875 (±3,099)         89.3 (±1.6)           1.4 (±0.3)       0.1 (±0.2)             0.0(±0.1)          8.2 (±0.9)               0.1 (±0.2)      0.8 (±0.3)          0.0 (±0.1)           0.1 (±0.1)         0.0 (±0.1)                0.0 (±0.1)
        41          168,776        115,033         88,365 (±2,968)         79.0 (±1.7)           0.5 (±0.2)       0.1 (±0.1)             0.0(±0.1)         17.9 (±1.1)               0.1 (±0.2)      2.2 (±0.5)          0.0 (±0.1)           0.1 (±0.1)         0.0 (±0.1)                0.0 (±0.1)
        42          167,668        111,699         84,125 (±2,400)         93.6 (±0.9)           0.4 (±0.2)       0.0 (±0.2)             0.0(±0.2)          5.4 (±0.6)               0.1 (±0.2)      0.5 (±0.3)          0.0 (±0.2)           0.0 (±0.2)         0.1 (±0.2)                0.0 (±0.2)
        43          169,564        124,492        120,575 (±2,893)         59.2 (±1.5)           3.7 (±0.4)       0.1 (±0.1)             0.0(±0.1)         35.8 (±1.0)               0.1 (±0.1)      0.6 (±0.2)          0.0 (±0.1)           0.4 (±0.2)         0.0 (±0.1)                0.0 (±0.1)
        44          174,451        126,713        125,720 (±2,673)         30.9 (±1.4)           5.3 (±0.6)       0.2 (±0.2)             0.0(±0.1)         60.9 (±1.0)               0.2 (±0.1)      1.1 (±0.2)          0.1 (±0.1)           0.5 (±0.2)         0.2 (±0.1)                0.4 (±0.2)
        45          167,604        126,549        124,330 (±3,187)         27.5 (±1.4)           3.5 (±0.6)       0.1 (±0.1)             0.0(±0.1)         66.7 (±1.1)               0.4 (±0.2)      1.0 (±0.2)          0.0 (±0.1)           0.5 (±0.2)         0.2 (±0.1)                0.1 (±0.1)
        46          166,410        118,539         94,335 (±2,518)         27.2 (±1.5)          25.3 (±1.4)       0.3 (±0.2)             0.2(±0.2)         41.6 (±1.3)               0.3 (±0.2)      4.2 (±0.8)          0.0 (±0.1)           0.4 (±0.2)         0.2 (±0.2)                0.1 (±0.2)
        47          175,314        127,689        125,095 (±2,576)         12.3 (±0.9)           1.7 (±0.4)       0.2 (±0.1)             0.0(±0.1)         80.3 (±0.8)               0.1 (±0.1)      4.1 (±0.5)          0.1 (±0.1)           0.5 (±0.2)         0.5 (±0.2)                0.1 (±0.1)
        48          173,008        135,585        127,810 (±2,462)         17.5 (±1.0)           3.2 (±0.5)       0.3 (±0.2)             0.0(±0.1)         74.4 (±0.7)               0.3 (±0.1)      3.3 (±0.5)          0.1 (±0.1)           0.4 (±0.2)         0.5 (±0.2)                0.1 (±0.1)
        49          167,309        144,371        130,085 (±3,439)         15.5 (±0.9)           4.6 (±0.6)       0.2 (±0.1)             0.1(±0.2)         73.1 (±0.6)               0.2 (±0.2)      4.7 (±0.5)          0.0 (±0.1)           0.6 (±0.2)         0.7 (±0.2)                0.2 (±0.1)
        50          166,516        124,252        110,735 (±2,788)         19.8 (±1.3)          11.9 (±1.2)       0.4 (±0.2)             0.2(±0.2)         57.5 (±1.2)               0.3 (±0.2)      8.5 (±0.8)          0.1 (±0.1)           0.5 (±0.2)         0.6 (±0.2)                0.3 (±0.2)
        51          175,709        128,793         98,320 (±2,727)         42.6 (±1.7)          11.9 (±1.1)       0.4 (±0.2)             0.2(±0.2)         41.5 (±1.3)               0.3 (±0.2)      1.9 (±0.4)          0.0 (±0.1)           0.5 (±0.2)         0.3 (±0.2)                0.3 (±0.2)




                         The American Community Survey provided estimated citizen voting age population (CVAP) data at the block group level in a Special Tabulation. All block groups with more than 50% of the population in a district are included in the
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Data: 2009-2013 ACS; 2010 Census
                                                                                                                                                                                                                                                                              Texas Legislative Council
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                                                                                                       American Community Survey Special Tabulation                                                                                                                           02/16/15 11:27 AM
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                                                                                                               HOUSE  DISTRICTSCommunity Survey Data
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                                                                               Special Tabulation of Citizen Voting Age Population (CVAP) from the 2009-2013 American Community Survey with Margins of Error
                                                                         Hispanic                                                                                       Not Hispanic or Latino
                    2010 Census                                           CVAP                                                                                  Citizen Voting Age Population (CVAP)
                                                                                                                                  % Black                              % American                 % Native                            % American
                                                                                              % Black         % Black +          + American              % White         Indian        %Asian     Hawaiian                              Indian                  % Asian        % Remainder
 District        Total             VAP              CVAP               % Hispanic              Alone           White               Indian                 Alone           Alone         Alone      Alone                                + White                 + White       2 or More Other
        52          165,994        114,146        111,445 (±2,924)         23.2 (±1.4)           8.9 (±0.9)       0.5 (±0.2)             0.0(±0.1)         62.8 (±1.5)               0.4 (±0.2)      3.0 (±0.6)          0.0 (±0.1)           0.4 (±0.2)         0.4 (±0.2)                0.2 (±0.2)
        53          162,897        127,381        123,515 (±2,792)         24.8 (±1.2)           1.6 (±0.4)       0.0 (±0.1)             0.0(±0.1)         72.2 (±0.9)               0.3 (±0.1)      0.3 (±0.2)          0.0 (±0.1)           0.5 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        54          167,736        117,164        112,385 (±3,320)         17.8 (±1.5)          23.5 (±1.5)       0.7 (±0.3)             0.1(±0.1)         51.6 (±1.5)               0.6 (±0.2)      3.0 (±0.5)          0.8 (±0.3)           0.3 (±0.1)         0.9 (±0.3)                0.7 (±0.3)
        55          162,176        119,755        116,635 (±2,783)         16.0 (±1.0)          15.5 (±1.0)       0.5 (±0.2)             0.2(±0.2)         64.4 (±1.1)               0.5 (±0.2)      1.4 (±0.3)          0.3 (±0.2)           0.6 (±0.2)         0.5 (±0.2)                0.2 (±0.1)
        56          163,869        123,411        117,985 (±2,622)         14.2 (±1.0)          10.6 (±0.9)       0.2 (±0.2)             0.0(±0.1)         72.6 (±1.0)               0.4 (±0.2)      1.3 (±0.3)          0.0 (±0.1)           0.3 (±0.2)         0.2 (±0.1)                0.1 (±0.1)
        57          164,418        124,630        118,140 (±2,852)          9.2 (±0.9)          16.8 (±1.0)       0.1 (±0.2)             0.0(±0.1)         72.8 (±1.0)               0.3 (±0.1)      0.3 (±0.2)          0.0 (±0.1)           0.4 (±0.2)         0.0 (±0.1)                0.1 (±0.1)
        58          169,146        123,826        118,105 (±2,666)         11.3 (±0.9)           2.6 (±0.5)       0.1 (±0.1)             0.0(±0.1)         84.2 (±0.9)               0.5 (±0.2)      0.4 (±0.2)          0.1 (±0.2)           0.6 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        59          163,609        122,193        118,030 (±2,640)         13.1 (±0.9)           7.8 (±0.7)       0.2 (±0.2)             0.1(±0.1)         75.9 (±0.9)               0.4 (±0.2)      0.8 (±0.2)          0.2 (±0.2)           0.9 (±0.2)         0.2 (±0.1)                0.3 (±0.2)
        60          171,429        131,870        127,825 (±2,616)          9.5 (±0.7)           1.8 (±0.3)       0.1 (±0.1)             0.1(±0.1)         86.9 (±0.7)               0.4 (±0.2)      0.4 (±0.2)          0.0 (±0.1)           0.6 (±0.2)         0.2 (±0.1)                0.0 (±0.1)
        61          176,054        130,782        128,065 (±2,722)          7.7 (±0.7)           1.7 (±0.3)       0.0 (±0.1)             0.0(±0.1)         88.5 (±0.7)               0.9 (±0.2)      0.5 (±0.2)          0.0 (±0.1)           0.5 (±0.2)         0.1 (±0.1)                0.0 (±0.1)
        62          160,023        122,203        117,530 (±2,410)          5.7 (±0.6)           6.0 (±0.6)       0.2 (±0.2)             0.0(±0.1)         85.0 (±0.7)               1.1 (±0.2)      0.6 (±0.2)          0.1 (±0.1)           1.0 (±0.3)         0.1 (±0.1)                0.1 (±0.1)
        63          167,337        115,634        113,605 (±2,348)          9.8 (±0.8)           4.1 (±0.6)       0.2 (±0.2)             0.2(±0.2)         80.8 (±0.9)               0.4 (±0.2)      3.5 (±0.5)          0.1 (±0.1)           0.7 (±0.2)         0.3 (±0.2)                0.1 (±0.1)
        64          167,588        129,175        116,875 (±2,745)         11.5 (±0.9)           9.2 (±0.8)       0.5 (±0.2)             0.1(±0.1)         75.0 (±1.0)               0.3 (±0.1)      1.9 (±0.4)          0.1 (±0.1)           0.8 (±0.2)         0.4 (±0.2)                0.3 (±0.2)
        65          165,742        124,977        109,350 (±2,600)         12.6 (±1.0)          13.8 (±1.2)       0.7 (±0.3)             0.1(±0.1)         62.3 (±1.4)               0.3 (±0.2)      8.5 (±0.8)          0.1 (±0.1)           0.8 (±0.2)         0.3 (±0.2)                0.4 (±0.2)
        66          172,129        130,796        113,390 (±2,427)          7.2 (±0.7)           8.9 (±0.9)       0.2 (±0.2)             0.1(±0.2)         69.7 (±1.0)               0.4 (±0.2)     12.1 (±0.9)          0.1 (±0.1)           0.7 (±0.2)         0.6 (±0.2)                0.1 (±0.1)
        67          172,141        126,368        111,250 (±2,433)          8.9 (±0.9)           7.3 (±0.9)       0.2 (±0.2)             0.0(±0.1)         70.1 (±1.0)               0.5 (±0.2)     11.5 (±0.9)          0.2 (±0.2)           0.5 (±0.2)         0.7 (±0.2)                0.2 (±0.2)
        68          160,508        121,547        112,760 (±2,116)         13.6 (±0.7)           3.8 (±0.4)       0.2 (±0.2)             0.0(±0.1)         80.9 (±0.8)               0.5 (±0.2)      0.4 (±0.2)          0.1 (±0.2)           0.6 (±0.2)         0.1 (±0.1)                0.0 (±0.1)
        69          160,087        123,063        117,450 (±2,316)         11.1 (±0.7)           8.5 (±0.7)       0.3 (±0.2)             0.0(±0.1)         77.2 (±0.9)               0.6 (±0.2)      1.3 (±0.3)          0.0 (±0.1)           0.7 (±0.2)         0.2 (±0.2)                0.1 (±0.2)
        70          172,135        117,432        110,995 (±2,630)         11.0 (±1.0)           9.8 (±1.1)       0.1 (±0.1)             0.0(±0.1)         75.3 (±1.0)               0.4 (±0.2)      2.7 (±0.5)          0.0 (±0.1)           0.3 (±0.2)         0.2 (±0.1)                0.1 (±0.1)
        71          166,924        127,097        123,650 (±3,017)         19.0 (±0.9)           7.6 (±0.8)       0.1 (±0.1)             0.1(±0.1)         71.2 (±0.7)               0.4 (±0.2)      0.9 (±0.2)          0.1 (±0.1)           0.5 (±0.2)         0.2 (±0.1)                0.1 (±0.1)
        72          170,479        130,771        123,075 (±2,618)         29.0 (±1.3)           4.3 (±0.5)       0.2 (±0.2)             0.0(±0.1)         64.6 (±0.8)               0.4 (±0.2)      0.8 (±0.2)          0.1 (±0.1)           0.4 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        73          166,719        127,882        126,130 (±2,865)         17.2 (±1.1)           1.4 (±0.3)       0.1 (±0.1)             0.0(±0.1)         79.7 (±0.9)               0.1 (±0.1)      0.6 (±0.2)          0.1 (±0.1)           0.7 (±0.2)         0.2 (±0.1)                0.1 (±0.1)
        74          162,357        115,236         91,345 (±2,485)         71.7 (±1.5)           2.2 (±0.4)       0.1 (±0.2)             0.0(±0.2)         24.6 (±1.0)               0.8 (±0.3)      0.2 (±0.2)          0.0 (±0.2)           0.2 (±0.2)         0.1 (±0.2)                0.0 (±0.2)
        75          159,691        103,209         77,455 (±2,689)         88.4 (±1.4)           1.3 (±0.5)       0.1 (±0.2)             0.0(±0.2)          8.9 (±1.2)               0.5 (±0.3)      0.4 (±0.3)          0.0 (±0.2)           0.1 (±0.2)         0.1 (±0.2)                0.1 (±0.2)
        76          159,752        116,389         94,705 (±2,507)         84.6 (±1.1)           3.3 (±0.6)       0.1 (±0.2)             0.1(±0.2)         11.2 (±0.9)               0.2 (±0.2)      0.4 (±0.2)          0.0 (±0.2)           0.1 (±0.2)         0.0 (±0.1)                0.1 (±0.2)
        77          160,385        115,924         90,830 (±2,529)         70.2 (±1.6)           3.8 (±0.5)       0.2 (±0.2)             0.0(±0.2)         22.9 (±1.0)               0.4 (±0.2)      1.5 (±0.4)          0.2 (±0.2)           0.3 (±0.2)         0.1 (±0.2)                0.2 (±0.2)




                         The American Community Survey provided estimated citizen voting age population (CVAP) data at the block group level in a Special Tabulation. All block groups with more than 50% of the population in a district are included in the
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Data: 2009-2013 ACS; 2010 Census
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                                                                                                       American Community Survey Special Tabulation                                                                                                                           02/16/15 11:27 AM
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                                                                                                               HOUSE  DISTRICTSCommunity Survey Data
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                                                                               Special Tabulation of Citizen Voting Age Population (CVAP) from the 2009-2013 American Community Survey with Margins of Error
                                                                         Hispanic                                                                                       Not Hispanic or Latino
                    2010 Census                                           CVAP                                                                                  Citizen Voting Age Population (CVAP)
                                                                                                                                  % Black                              % American                 % Native                            % American
                                                                                              % Black         % Black +          + American              % White         Indian        %Asian     Hawaiian                              Indian                  % Asian        % Remainder
 District        Total             VAP              CVAP               % Hispanic              Alone           White               Indian                 Alone           Alone         Alone      Alone                                + White                 + White       2 or More Other
        78          160,161        111,913         98,925 (±2,476)         59.4 (±1.5)           5.7 (±0.7)       0.3 (±0.2)             0.0(±0.1)         31.6 (±1.3)               0.3 (±0.2)      1.8 (±0.4)          0.1 (±0.2)           0.2 (±0.1)         0.5 (±0.2)                0.2 (±0.1)
        79          160,658        112,399         98,435 (±2,776)         77.8 (±1.5)           3.4 (±0.5)       0.1 (±0.1)             0.1(±0.1)         17.0 (±1.0)               0.4 (±0.2)      0.8 (±0.3)          0.1 (±0.1)           0.1 (±0.1)         0.2 (±0.2)                0.1 (±0.1)
        80          161,949        106,402         86,650 (±2,847)         83.3 (±1.4)           1.0 (±0.3)       0.1 (±0.2)             0.0(±0.1)         15.5 (±1.1)               0.1 (±0.1)      0.1 (±0.2)          0.0 (±0.1)           0.0 (±0.1)         0.0 (±0.1)                0.0 (±0.1)
        81          169,684        120,535        108,980 (±2,590)         42.3 (±1.4)           4.1 (±0.6)       0.1 (±0.2)             0.0(±0.1)         51.8 (±1.2)               0.3 (±0.2)      0.6 (±0.2)          0.0 (±0.1)           0.6 (±0.2)         0.0 (±0.1)                0.1 (±0.2)
        82          163,234        118,623        113,415 (±2,760)         32.3 (±1.5)           6.4 (±0.7)       0.2 (±0.2)             0.1(±0.1)         59.3 (±1.1)               0.4 (±0.2)      0.8 (±0.3)          0.0 (±0.1)           0.4 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        83          173,918        127,906        123,330 (±2,602)         26.5 (±1.2)           4.1 (±0.4)       0.3 (±0.2)             0.0(±0.1)         67.1 (±1.0)               0.4 (±0.2)      0.9 (±0.3)          0.0 (±0.1)           0.6 (±0.2)         0.2 (±0.2)                0.0 (±0.1)
        84          167,970        128,898        124,075 (±3,073)         29.7 (±1.4)           8.7 (±0.7)       0.2 (±0.2)             0.1(±0.1)         58.7 (±1.3)               0.3 (±0.1)      1.3 (±0.3)          0.1 (±0.1)           0.3 (±0.1)         0.2 (±0.1)                0.3 (±0.2)
        85          160,182        113,433        102,620 (±2,716)         28.7 (±1.6)          14.6 (±1.1)       0.1 (±0.1)             0.0(±0.1)         48.3 (±1.3)               0.2 (±0.2)      7.6 (±0.8)          0.0 (±0.1)           0.2 (±0.1)         0.1 (±0.1)                0.2 (±0.2)
        86          165,183        121,555        115,915 (±2,397)         19.7 (±1.1)           2.1 (±0.3)       0.1 (±0.1)             0.0(±0.1)         76.4 (±0.8)               0.4 (±0.2)      0.8 (±0.2)          0.0 (±0.1)           0.5 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
        87          174,343        125,360        109,320 (±2,225)         23.7 (±1.2)           7.8 (±0.7)       0.3 (±0.2)             0.2(±0.2)         65.0 (±0.9)               0.7 (±0.2)      1.6 (±0.3)          0.1 (±0.1)           0.5 (±0.2)         0.1 (±0.1)                0.1 (±0.2)
        88          160,896        115,622        103,670 (±2,034)         33.3 (±1.2)           3.8 (±0.4)       0.1 (±0.2)             0.2(±0.2)         60.9 (±0.7)               0.4 (±0.2)      0.4 (±0.2)          0.0 (±0.1)           0.8 (±0.2)         0.0 (±0.2)                0.0 (±0.1)
        89          172,138        118,380        116,895 (±2,992)          9.3 (±0.8)           9.5 (±1.2)       0.2 (±0.1)             0.0(±0.1)         72.4 (±1.2)               0.3 (±0.2)      7.5 (±0.9)          0.0 (±0.1)           0.3 (±0.1)         0.3 (±0.2)                0.1 (±0.1)
        90          159,684        105,664         71,770 (±2,274)         52.1 (±1.8)          18.6 (±1.4)       0.1 (±0.2)             0.1(±0.2)         27.9 (±1.2)               0.3 (±0.2)      0.5 (±0.3)          0.0 (±0.2)           0.2 (±0.2)         0.1 (±0.2)                0.1 (±0.2)
        91          162,838        119,048        108,845 (±2,647)         13.0 (±1.1)           5.0 (±0.8)       0.2 (±0.2)             0.3(±0.3)         75.9 (±1.0)               0.5 (±0.3)      4.2 (±0.6)          0.1 (±0.2)           0.6 (±0.2)         0.3 (±0.2)                0.1 (±0.2)
        92          162,326        126,290        116,980 (±2,548)         11.5 (±1.0)          11.3 (±1.0)       0.3 (±0.2)             0.0(±0.1)         70.3 (±1.0)               0.2 (±0.1)      4.6 (±0.6)          0.6 (±0.3)           0.5 (±0.2)         0.4 (±0.2)                0.2 (±0.2)
        93          162,161        113,584        103,455 (±3,090)         16.6 (±1.3)          13.0 (±1.2)       0.2 (±0.2)             0.1(±0.1)         64.1 (±1.5)               0.5 (±0.2)      4.1 (±0.6)          0.3 (±0.2)           0.5 (±0.2)         0.3 (±0.2)                0.2 (±0.3)
        94          167,374        125,516        114,195 (±2,455)         11.4 (±0.9)          12.6 (±1.0)       0.2 (±0.2)             0.0(±0.1)         69.8 (±1.0)               0.6 (±0.2)      4.4 (±0.6)          0.0 (±0.1)           0.5 (±0.2)         0.3 (±0.2)                0.2 (±0.1)
        95          161,634        115,752         96,150 (±2,408)         14.7 (±1.0)          49.4 (±1.6)       0.2 (±0.2)             0.2(±0.2)         32.9 (±1.1)               0.4 (±0.2)      1.3 (±0.4)          0.0 (±0.2)           0.5 (±0.2)         0.1 (±0.2)                0.2 (±0.2)
        96          164,930        113,924        109,035 (±2,811)         11.1 (±1.0)          18.7 (±1.4)       0.3 (±0.2)             0.1(±0.1)         65.5 (±1.2)               0.2 (±0.2)      3.1 (±0.5)          0.2 (±0.3)           0.4 (±0.2)         0.3 (±0.2)                0.1 (±0.1)
        97          168,869        131,311        122,870 (±2,732)         12.4 (±1.0)          13.4 (±1.1)       0.2 (±0.2)             0.1(±0.1)         70.5 (±0.8)               0.3 (±0.2)      2.5 (±0.5)          0.0 (±0.1)           0.3 (±0.2)         0.3 (±0.2)                0.1 (±0.1)
        98          164,081        114,953        114,875 (±2,600)          7.5 (±0.9)           2.7 (±0.5)       0.1 (±0.1)             0.1(±0.1)         83.7 (±0.7)               0.4 (±0.2)      4.2 (±0.6)          0.1 (±0.1)           0.7 (±0.3)         0.3 (±0.1)                0.2 (±0.1)
        99          170,473        125,722        116,830 (±2,877)         16.2 (±1.1)           4.6 (±0.7)       0.2 (±0.2)             0.0(±0.1)         74.7 (±0.9)               0.6 (±0.2)      2.1 (±0.5)          0.1 (±0.1)           0.7 (±0.2)         0.2 (±0.1)                0.5 (±0.3)
       100          161,143        117,479         97,410 (±2,567)         20.4 (±1.3)          47.0 (±1.5)       0.3 (±0.2)             0.3(±0.3)         29.8 (±1.1)               0.2 (±0.2)      1.1 (±0.3)          0.1 (±0.2)           0.4 (±0.2)         0.1 (±0.2)                0.3 (±0.3)
       101          164,664        110,209         92,990 (±2,870)         22.2 (±1.7)          29.7 (±1.9)       0.6 (±0.3)             0.1(±0.2)         35.5 (±1.4)               0.3 (±0.2)     10.9 (±1.2)          0.1 (±0.1)           0.2 (±0.2)         0.4 (±0.2)                0.1 (±0.1)
       102          161,136        122,520         96,850 (±2,335)         11.7 (±1.1)          14.4 (±1.1)       0.2 (±0.2)             0.1(±0.2)         65.0 (±1.0)               0.2 (±0.2)      6.8 (±0.7)          0.2 (±0.2)           0.6 (±0.2)         0.3 (±0.2)                0.4 (±0.3)
       103          170,948        121,837         71,970 (±2,118)         40.8 (±1.8)          13.8 (±1.3)       0.1 (±0.2)             0.7(±0.4)         39.0 (±1.2)               0.1 (±0.2)      3.7 (±0.6)          0.0 (±0.2)           1.0 (±0.4)         0.3 (±0.2)                0.5 (±0.3)




                         The American Community Survey provided estimated citizen voting age population (CVAP) data at the block group level in a Special Tabulation. All block groups with more than 50% of the population in a district are included in the
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Data: 2009-2013 ACS; 2010 Census
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                                                                                                       American Community Survey Special Tabulation                                                                                                                           02/16/15 11:27 AM
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                                                                               Special Tabulation of Citizen Voting Age Population (CVAP) from the 2009-2013 American Community Survey with Margins of Error
                                                                         Hispanic                                                                                       Not Hispanic or Latino
                    2010 Census                                           CVAP                                                                                  Citizen Voting Age Population (CVAP)
                                                                                                                                  % Black                              % American                 % Native                            % American
                                                                                              % Black         % Black +          + American              % White         Indian        %Asian     Hawaiian                              Indian                  % Asian        % Remainder
 District        Total             VAP              CVAP               % Hispanic              Alone           White               Indian                 Alone           Alone         Alone      Alone                                + White                 + White       2 or More Other
       104          172,784        115,035         78,780 (±2,416)         54.4 (±1.9)          17.9 (±1.3)       0.2 (±0.2)             0.1(±0.2)         25.3 (±1.3)               0.4 (±0.3)      1.3 (±0.4)          0.0 (±0.2)           0.2 (±0.2)         0.1 (±0.2)                0.1 (±0.2)
       105          175,728        127,590         95,900 (±2,538)         27.3 (±1.6)          14.8 (±1.1)       0.2 (±0.2)             0.1(±0.2)         51.1 (±1.2)               0.4 (±0.2)      5.5 (±0.7)          0.0 (±0.2)           0.3 (±0.2)         0.1 (±0.2)                0.2 (±0.2)
       106          161,947        110,568        107,290 (±2,749)          9.9 (±1.0)           8.1 (±1.0)       0.3 (±0.2)             0.1(±0.2)         76.1 (±1.2)               0.3 (±0.2)      4.3 (±0.7)          0.0 (±0.1)           0.4 (±0.2)         0.4 (±0.2)                0.1 (±0.1)
       107          171,872        123,986        108,045 (±2,691)         19.5 (±1.3)          17.4 (±1.4)       0.2 (±0.2)             0.2(±0.2)         57.9 (±1.1)               0.3 (±0.2)      3.6 (±0.5)          0.0 (±0.1)           0.6 (±0.2)         0.2 (±0.2)                0.1 (±0.1)
       108          163,233        133,667        122,505 (±2,453)         12.6 (±0.9)           7.1 (±0.7)       0.3 (±0.2)             0.4(±0.2)         74.3 (±0.7)               0.3 (±0.2)      3.4 (±0.5)          0.1 (±0.1)           0.8 (±0.2)         0.4 (±0.2)                0.3 (±0.2)
       109          174,223        122,347        112,780 (±2,842)         12.9 (±1.0)          61.8 (±1.6)       0.4 (±0.3)             0.2(±0.1)         23.4 (±1.0)               0.2 (±0.1)      0.8 (±0.3)          0.1 (±0.1)           0.2 (±0.1)         0.0 (±0.1)                0.1 (±0.1)
       110          167,508        111,827         83,885 (±2,610)         28.6 (±1.7)          56.0 (±1.7)       0.2 (±0.2)             0.1(±0.2)         14.6 (±1.0)               0.1 (±0.2)      0.3 (±0.3)          0.0 (±0.2)           0.1 (±0.2)         0.0 (±0.2)                0.1 (±0.2)
       111          166,963        118,393        103,410 (±2,784)         17.0 (±1.3)          56.6 (±1.6)       0.2 (±0.2)             0.1(±0.1)         24.2 (±1.1)               0.1 (±0.1)      1.4 (±0.3)          0.0 (±0.1)           0.1 (±0.1)         0.1 (±0.1)                0.1 (±0.2)
       112          167,051        120,192         97,965 (±2,668)         17.3 (±1.4)          14.0 (±1.2)       0.3 (±0.2)             1.3(±0.4)         54.9 (±1.2)               0.1 (±0.1)     10.0 (±1.1)          0.1 (±0.1)           1.5 (±0.4)         0.2 (±0.2)                0.3 (±0.2)
       113          171,418        120,834        106,040 (±2,701)         18.0 (±1.3)          20.0 (±1.3)       0.4 (±0.3)             0.5(±0.2)         53.5 (±1.3)               0.3 (±0.1)      6.4 (±0.8)          0.1 (±0.1)           0.5 (±0.2)         0.2 (±0.2)                0.1 (±0.2)
       114          172,330        130,817        105,540 (±2,278)         11.4 (±0.9)          17.1 (±1.2)       0.0 (±0.2)             0.2(±0.2)         68.2 (±0.7)               0.3 (±0.2)      2.0 (±0.4)          0.0 (±0.1)           0.3 (±0.2)         0.2 (±0.2)                0.1 (±0.2)
       115          171,802        127,352        100,760 (±2,378)         16.9 (±1.2)          11.8 (±1.1)       0.3 (±0.2)             0.2(±0.2)         58.5 (±1.0)               0.5 (±0.2)     11.0 (±0.9)          0.0 (±0.1)           0.3 (±0.2)         0.5 (±0.4)                0.1 (±0.1)
       116          171,463        132,823        115,470 (±2,903)         58.7 (±1.6)           5.3 (±0.7)       0.2 (±0.2)             0.1(±0.1)         32.3 (±1.2)               0.2 (±0.2)      2.0 (±0.4)          0.1 (±0.2)           0.3 (±0.2)         0.5 (±0.2)                0.2 (±0.2)
       117          168,692        117,126        111,045 (±3,035)         58.0 (±1.7)           6.0 (±0.7)       0.2 (±0.1)             0.1(±0.1)         32.3 (±1.2)               0.2 (±0.1)      1.9 (±0.4)          0.2 (±0.2)           0.3 (±0.1)         0.4 (±0.2)                0.3 (±0.2)
       118          164,436        116,859        106,575 (±2,997)         67.4 (±1.7)           3.1 (±0.5)       0.1 (±0.1)             0.0(±0.1)         28.1 (±1.0)               0.3 (±0.2)      0.7 (±0.2)          0.1 (±0.2)           0.2 (±0.1)         0.1 (±0.1)                0.1 (±0.1)
       119          159,981        114,477        106,465 (±2,745)         59.5 (±1.6)           9.6 (±0.9)       0.2 (±0.2)             0.1(±0.1)         28.5 (±1.1)               0.2 (±0.2)      0.9 (±0.3)          0.0 (±0.1)           0.6 (±0.3)         0.2 (±0.2)                0.2 (±0.2)
       120          175,132        124,829        114,810 (±2,965)         37.9 (±1.6)          26.5 (±1.2)       0.5 (±0.3)             0.4(±0.3)         30.6 (±1.1)               0.3 (±0.2)      1.9 (±0.4)          0.3 (±0.3)           0.3 (±0.2)         0.5 (±0.2)                0.6 (±0.2)
       121          174,867        133,224        128,905 (±2,866)         30.0 (±1.3)           5.7 (±0.7)       0.3 (±0.2)             0.0(±0.1)         61.0 (±1.1)               0.3 (±0.2)      1.7 (±0.4)          0.2 (±0.2)           0.3 (±0.2)         0.3 (±0.1)                0.2 (±0.2)
       122          175,184        128,725        124,270 (±2,576)         26.7 (±1.3)           3.4 (±0.5)       0.0 (±0.1)             0.1(±0.1)         64.8 (±1.2)               0.2 (±0.2)      3.9 (±0.6)          0.1 (±0.1)           0.3 (±0.1)         0.4 (±0.2)                0.2 (±0.1)
       123          175,674        135,763        119,930 (±2,981)         63.9 (±1.4)           4.0 (±0.6)       0.1 (±0.1)             0.0(±0.1)         30.6 (±1.1)               0.2 (±0.2)      0.8 (±0.2)          0.0 (±0.1)           0.1 (±0.1)         0.1 (±0.1)                0.1 (±0.2)
       124          174,795        120,503        115,090 (±3,161)         63.8 (±1.7)           8.1 (±1.0)       0.3 (±0.2)             0.0(±0.1)         24.8 (±1.1)               0.2 (±0.1)      2.0 (±0.4)          0.0 (±0.1)           0.3 (±0.2)         0.4 (±0.2)                0.1 (±0.1)
       125          174,549        125,158        115,800 (±2,763)         65.9 (±1.5)           4.9 (±0.7)       0.2 (±0.2)             0.1(±0.1)         26.3 (±1.0)               0.1 (±0.1)      1.8 (±0.4)          0.0 (±0.1)           0.2 (±0.2)         0.3 (±0.2)                0.2 (±0.2)
       126          169,256        123,014         99,335 (±2,751)         19.8 (±1.5)          17.4 (±1.3)       0.1 (±0.1)             0.0(±0.1)         51.8 (±1.3)               0.4 (±0.3)      9.6 (±0.9)          0.0 (±0.1)           0.4 (±0.2)         0.2 (±0.1)                0.1 (±0.2)
       127          163,983        115,865        114,290 (±2,879)         15.7 (±1.2)          13.5 (±1.3)       0.2 (±0.2)             0.1(±0.1)         67.1 (±1.2)               0.2 (±0.2)      2.1 (±0.4)          0.3 (±0.3)           0.4 (±0.2)         0.3 (±0.2)                0.1 (±0.1)
       128          172,221        124,645        116,020 (±2,888)         19.9 (±1.3)          10.4 (±1.1)       0.2 (±0.2)             0.0(±0.1)         66.4 (±1.1)               0.6 (±0.2)      1.7 (±0.4)          0.0 (±0.1)           0.6 (±0.3)         0.1 (±0.1)                0.1 (±0.1)
       129          174,127        130,457        121,280 (±2,930)         18.2 (±1.3)           8.9 (±1.0)       0.3 (±0.2)             0.1(±0.1)         62.9 (±1.0)               0.3 (±0.2)      8.3 (±1.0)          0.1 (±0.1)           0.5 (±0.3)         0.4 (±0.2)                0.2 (±0.1)




                         The American Community Survey provided estimated citizen voting age population (CVAP) data at the block group level in a Special Tabulation. All block groups with more than 50% of the population in a district are included in the
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Data: 2009-2013 ACS; 2010 Census
                                                                                                                                                                                                                                                                              Texas Legislative Council
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                                                                                                     Using Census and American
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                                                                                                                                 - PLANH358




                                                                               Special Tabulation of Citizen Voting Age Population (CVAP) from the 2009-2013 American Community Survey with Margins of Error
                                                                         Hispanic                                                                                       Not Hispanic or Latino
                    2010 Census                                           CVAP                                                                                  Citizen Voting Age Population (CVAP)
                                                                                                                                  % Black                              % American                 % Native                            % American
                                                                                              % Black         % Black +          + American              % White         Indian        %Asian     Hawaiian                              Indian                  % Asian        % Remainder
 District        Total             VAP              CVAP               % Hispanic              Alone           White               Indian                 Alone           Alone         Alone      Alone                                + White                 + White       2 or More Other
       130          175,532        122,108        119,770 (±2,847)         14.9 (±1.3)           7.7 (±0.9)       0.1 (±0.1)             0.0(±0.1)         71.6 (±1.2)               0.3 (±0.2)      4.7 (±0.6)          0.0 (±0.1)           0.4 (±0.2)         0.1 (±0.1)                0.1 (±0.1)
       131          175,227        121,368         93,535 (±2,983)         24.8 (±1.7)          54.5 (±2.0)       0.3 (±0.2)             0.1(±0.2)         13.2 (±1.0)               0.2 (±0.2)      6.2 (±0.8)          0.0 (±0.1)           0.1 (±0.2)         0.3 (±0.2)                0.2 (±0.2)
       132          172,973        117,666        109,150 (±3,154)         26.3 (±1.8)          14.7 (±1.4)       0.1 (±0.2)             0.1(±0.1)         52.4 (±1.2)               0.2 (±0.1)      5.2 (±0.8)          0.0 (±0.1)           0.4 (±0.2)         0.2 (±0.2)                0.2 (±0.2)
       133          171,401        135,423        114,530 (±2,796)         12.2 (±1.1)           9.6 (±1.2)       0.2 (±0.2)             0.0(±0.1)         70.2 (±0.7)               0.3 (±0.2)      6.3 (±0.7)          0.1 (±0.2)           0.6 (±0.3)         0.3 (±0.2)                0.1 (±0.1)
       134          174,421        143,575        130,040 (±2,586)         11.4 (±0.9)           4.8 (±0.6)       0.1 (±0.1)             0.0(±0.1)         74.7 (±0.8)               0.2 (±0.1)      8.0 (±0.7)          0.0 (±0.1)           0.2 (±0.2)         0.3 (±0.2)                0.3 (±0.2)
       135          172,422        121,136         99,750 (±2,933)         21.3 (±1.6)          17.5 (±1.5)       0.3 (±0.3)             0.0(±0.1)         50.0 (±1.4)               0.1 (±0.1)     10.1 (±1.1)          0.0 (±0.1)           0.2 (±0.1)         0.2 (±0.2)                0.1 (±0.1)
       136          164,376        116,361        113,740 (±2,738)         15.4 (±1.1)           5.1 (±0.8)       0.2 (±0.2)             0.0(±0.1)         72.8 (±1.2)               0.2 (±0.1)      4.9 (±0.6)          0.0 (±0.1)           0.5 (±0.2)         0.6 (±0.2)                0.3 (±0.2)
       137          171,079        127,834         64,375 (±2,377)         25.8 (±1.9)          30.1 (±2.1)       0.3 (±0.3)             0.1(±0.2)         32.5 (±1.5)               0.4 (±0.3)      9.8 (±1.1)          0.0 (±0.2)           0.2 (±0.2)         0.5 (±0.3)                0.2 (±0.3)
       138          173,059        124,435         98,420 (±2,701)         28.0 (±1.6)          10.9 (±1.3)       0.1 (±0.1)             0.0(±0.1)         50.3 (±1.3)               0.2 (±0.2)      9.7 (±1.0)          0.1 (±0.1)           0.3 (±0.2)         0.2 (±0.2)                0.4 (±0.3)
       139          175,733        123,875        100,540 (±2,776)         23.8 (±1.6)          49.7 (±1.6)       0.1 (±0.1)             0.1(±0.1)         21.6 (±1.0)               0.1 (±0.1)      4.1 (±0.6)          0.0 (±0.1)           0.2 (±0.2)         0.1 (±0.1)                0.2 (±0.2)
       140          170,732        112,332         69,415 (±2,552)         62.4 (±2.2)          17.0 (±1.5)       0.1 (±0.2)             0.1(±0.2)         17.2 (±1.2)               0.3 (±0.3)      2.8 (±0.8)          0.0 (±0.2)           0.0 (±0.2)         0.0 (±0.2)                0.0 (±0.2)
       141          166,498        113,951         92,390 (±2,829)         21.0 (±1.4)          62.5 (±1.6)       0.4 (±0.3)             0.2(±0.2)         13.5 (±1.2)               0.2 (±0.2)      1.6 (±0.4)          0.3 (±0.4)           0.1 (±0.1)         0.1 (±0.2)                0.2 (±0.2)
       142          159,541        113,288         91,845 (±2,711)         26.2 (±1.7)          50.6 (±1.6)       0.2 (±0.2)             0.1(±0.2)         20.3 (±1.1)               0.3 (±0.2)      2.1 (±0.5)          0.0 (±0.1)           0.1 (±0.2)         0.1 (±0.1)                0.2 (±0.2)
       143          167,215        113,877         84,625 (±2,678)         56.5 (±1.9)          18.0 (±1.3)       0.2 (±0.2)             0.1(±0.2)         23.7 (±1.6)               0.1 (±0.2)      1.0 (±0.4)          0.1 (±0.2)           0.2 (±0.2)         0.1 (±0.2)                0.1 (±0.2)
       144          161,859        108,509         75,785 (±2,295)         59.1 (±1.8)           4.4 (±0.7)       0.0 (±0.2)             0.1(±0.2)         34.9 (±1.4)               0.4 (±0.3)      0.5 (±0.3)          0.1 (±0.2)           0.3 (±0.2)         0.1 (±0.2)                0.1 (±0.2)
       145          164,574        116,918         83,645 (±2,505)         59.3 (±1.8)           8.4 (±0.9)       0.2 (±0.2)             0.0(±0.2)         28.4 (±1.3)               0.1 (±0.2)      3.1 (±0.6)          0.1 (±0.2)           0.3 (±0.3)         0.1 (±0.2)                0.1 (±0.2)
       146          174,485        130,444         97,195 (±2,715)         13.1 (±1.1)          55.6 (±1.7)       0.2 (±0.2)             0.1(±0.2)         24.7 (±1.1)               0.3 (±0.2)      5.0 (±0.6)          0.1 (±0.2)           0.2 (±0.2)         0.2 (±0.2)                0.5 (±0.3)
       147          175,873        136,034        114,905 (±2,933)         22.7 (±1.3)          43.4 (±1.3)       0.1 (±0.1)             0.1(±0.2)         28.9 (±1.0)               0.1 (±0.1)      4.3 (±0.6)          0.0 (±0.1)           0.1 (±0.1)         0.1 (±0.1)                0.2 (±0.2)
       148          170,811        125,873         91,615 (±2,800)         46.8 (±2.0)           9.7 (±1.2)       0.0 (±0.2)             0.0(±0.2)         40.1 (±1.1)               0.3 (±0.2)      2.4 (±0.4)          0.0 (±0.2)           0.1 (±0.2)         0.2 (±0.2)                0.3 (±0.2)
       149          170,702        121,535         89,230 (±2,957)         23.4 (±1.5)          27.7 (±1.9)       0.1 (±0.1)             0.2(±0.2)         27.0 (±1.4)               0.2 (±0.2)     20.4 (±1.3)          0.1 (±0.2)           0.2 (±0.2)         0.5 (±0.2)                0.2 (±0.2)
       150          168,735        120,462        109,725 (±2,754)         15.4 (±1.2)          12.7 (±1.1)       0.3 (±0.2)             0.2(±0.2)         66.0 (±1.2)               0.1 (±0.1)      4.7 (±0.6)          0.1 (±0.1)           0.2 (±0.1)         0.2 (±0.1)                0.1 (±0.1)




                         The American Community Survey provided estimated citizen voting age population (CVAP) data at the block group level in a Special Tabulation. All block groups with more than 50% of the population in a district are included in the
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                  EXHIBIT E
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                                                                        Page 1

1                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK
2
      - - - - - - - - - - - - - - -x
3         NEW YORK IMMIGRATION                   :
          COALITION, et al.,                     :
4                                                :
               Plaintiffs,                       :
5                                                :   Case No.
              v.                                 :
6                                                :   1:18-CF-05025-JMF
          UNITED STATES DEPARTMENT               :
7         OF COMMERCE, et al.,                   :
                                                 :
8              Defendants.                       :
      - - - - - - - - - - - - - - -x
9                                                Friday, October 16, 2018
                                                             Washington, D.C.
10
11
12    Videotaped Deposition of:
13                                   JOHN GORE,
14    called for oral examination by counsel for the
15    Plaintiffs, pursuant to notice, at the law offices of
16    Covington & Burling, LLP, One City Center, 850 Tenth
17    Street, Northwest, Washington, D.C. 20001-4956,
18    before Christina S. Hotsko, RPR, CRR, of Veritext
19    Legal Solutions, a Notary Public in and for the
20    District of Columbia, beginning at 9:05 a.m., when
21    were present on behalf of the respective parties:
22

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:18-cv-02921-JMF Document 595-1 Filed 05/31/19 Page 106 of 126



                                                                       Page 127

1     the 2020 census questionnaire, correct?

2            A.     Correct.

3            Q.     Is it fair to say that you wrote the

4     first draft of the letter from the Department of

5     Justice to the Census Bureau requesting a

6     citizenship question on the 2020 census

7     questionnaire?

8            A.     Is that a question?              I'm sorry.         That

9     sounded like a statement.

10           Q.     No.     It was a question.

11           A.     Okay.

12           Q.     Is it fair to say that you wrote the

13    first draft of the letter from the Department of

14    Justice to the Census Bureau requesting a

15    citizenship question on the 2020 census

16    questionnaire?

17           A.     Yes.

18           Q.     You write in this e-mail that you

19    discussed the draft letter with Mr. Herren

20    yesterday.

21                  Would that have been your first

22    conversation with Mr. Herren about the citizenship




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                                                                       Page 150

1     was conveying there is that Mr. Gary didn't need

2     to work late on a Friday night during the holiday

3     season to send the letter out.

4            Q.     So just so I understand the process here,

5     you had -- you first had communications about the

6     issue of a citizenship question sometime around

7     Labor Day of 2017, correct?

8            A.     Give or take, yes, that's correct.

9            Q.     You drafted the initial draft of the

10    letter to request the citizenship question

11    sometime around the end of October or early

12    November of 2017, correct?

13           A.     Correct.

14           Q.     The conversations to add the citizenship

15    question with the Department of Commerce were not

16    initiated by the civil rights division, correct?

17           A.     Correct.

18           Q.     And they were not initiated by the

19    Department of Justice, correct?

20           A.     That's my working understanding.

21           Q.     Around the time that you wrote the first

22    draft of this letter, you received input from




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1     three individuals:              Mr. Herren, Ms. Pickett, and

2     Mr. Gary, correct?

3            A.     Yes.      And I may have received input from

4     others as well.

5            Q.     Around the time of the first draft of the

6     letter in early November of 2017, who else did you

7     receive input from other than Mr. Herren,

8     Ms. Pickett, and Mr. Gary?

9            A.     Mr. Aguinaga would have provided -- may

10    have provided some input.                  I would have had

11    discussions on -- regarding the letter generally

12    with Patrick Hovakimian, who at the time was

13    detailed to the Office of Associate Attorney

14    General, and with Jesse Panuccio in the Office of

15    the Associate Attorney General.

16                  And I had various conversations with

17    others at various times throughout this process.

18    But I don't recall who else I would have spoken to

19    at that particular moment in time, around

20    November 1st of 2017.

21           Q.     Okay.      Around November 1st of 2017, the

22    only career staff in the civil rights division




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                                                                        Page 343

1     well.        But I'm familiar that its current practice

2     is to use the ACS data.

3                     And the decennial census data obviously

4     is only available every ten years, not every five

5     years.

6             Q.      I'd like to draw your attention back to

7     this Exhibit 17, which is the December 12th,

8     2017 -- I think we've been referring to it as the

9     Gary letter.

10            A.      Yes.      Bear with me one moment.                  My

11    exhibits are not in order.

12            Q.      Okay.

13            A.      Let me see if I can find it.                    Got it.

14    Thank you.

15            Q.      When you were -- do you see that you've

16    cited several cases in this letter?

17            A.      I see that the department has cited

18    several cases in the letter.                      Yes.

19            Q.      You drafted -- did the initial draft of

20    this letter, correct?

21            A.      That is correct.

22            Q.      And when you were drafting the letter,




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1     did you, personally, do the research that resulted

2     in the citation to these particular cases or did

3     someone else do it for you and send them to you?

4                   MR. GARDNER:          Objection.         Calls for

5     information subject to deliberative process

6     privilege.         I instruct the witness not to answer.

7                   THE WITNESS:          Consistent with that

8     instruction, I can't answer.

9     BY MS. HULETT:

10           Q.     So you can't tell me whether you chose

11    these cases or whether someone else chose these

12    cases for inclusion in the letter because that's

13    deliberative process?               I just want to make sure I

14    understand what you're refusing to answer.

15           A.     Yes.      That's on the instruction of

16    counsel.

17           Q.     Okay.      Did you read the opinions that are

18    cited in the letter?

19           A.     Yes, I did.

20           Q.     How recently have you read the opinions?

21           A.     Well, let me look at which opinions we're

22    talking about.




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                                       MEMORANDUM

                                        March 14, 2019

To:    Committee Members

Fr:    Majority Staff

Re:    Supplemental Memo on Transcribed Interview with John Gore
       Regarding Addition of Citizenship Question to Census

        On March 7, 2019, staff of the Committee on Oversight and Reform conducted a
transcribed interview with John Gore, the Principal Deputy Assistant Attorney General in the
Civil Rights Division of the Department of Justice (DOJ). This memorandum provides a brief
summary of that interview.

I.     DEPARTMENT OF JUSTICE WITHHOLDING INFORMATION

        During the transcribed interview, DOJ counsel instructed Mr. Gore more than 150 times
not to answer specific questions from the Democratic and Republican Committee staff that are
central to the Committee’s investigation.

        Neither Mr. Gore nor DOJ counsel asserted any privilege to explain his refusal to answer
the Committee’s questions. Instead, they stated Mr. Gore would answer questions “that can be
answered without compromising the ongoing litigation or other executive branch confidentiality
interests.”

       As the Committee has explained repeatedly, ongoing civil litigation is not a valid basis to
withhold information from Congress. The Committee may take additional steps to secure the
information and documents needed to complete its investigation.

II.    NEW INFORMATION FROM INTERVIEW

       Despite Mr. Gore’s refusal to answer many questions, his interview produced troubling
new information about the Trump Administration’s decision to add a citizenship question to the
2020 Census.
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       A.     Department of Commerce Hand-Delivered Secret Memo to Gore

       Mr. Gore stated that in the fall of 2017, he spoke to James Uthmeier in the Office of
General Counsel at the Department of Commerce about the citizenship question. Following that
conversation, Mr. Uthmeier had a memorandum on the citizenship question hand-delivered to
Mr. Gore’s office, along with a hand-written note that also discussed the citizenship question.

        During his interview, DOJ counsel directed Mr. Gore not to reveal to the Committee the
subject matter of his conversation with Mr. Uthmeier or the content of the memo and
handwritten note that were hand-delivered to his office.

        Mr. Gore told the Committee that Mr. Uthmeier explained to him why he planned to
hand-deliver the memo and note, but DOJ counsel instructed Mr. Gore not to reveal the reason to
the Committee. Both DOJ and the Department of Commerce have also refused to provide copies
of this memo and note to the Committee.

       B.     Trump Transition Official Sent DOJ Draft Request for Citizenship Question

       Mr. Gore stated during his interview that in October 2017, he spoke to Peter Davidson,
the General Counsel of the Department of Commerce, about the citizenship question. Mr.
Davidson mentioned a former member of the Trump Transition Team, Mark Neuman, who then
contacted Mr. Gore.

         According to Mr. Gore, Mr. Neuman provided him with “a draft letter that would request
reinstatement of the citizenship question on the census questionnaire.” Mr. Gore was the
principal drafter of DOJ’s December 12, 2017, request to the Department of Commerce to add
the citizenship question, and he received the draft from Mr. Neuman around the same time he
was preparing DOJ’s December 12 letter.

        During the interview, DOJ counsel instructed Mr. Gore not to discuss the substance of his
discussions with Mr. Neuman or Mr. Davidson. DOJ counsel also instructed Mr. Gore not to
reveal the contents of the draft letter from Mr. Neuman or the extent to which he relied on that
letter when drafting the request to the Department of Commerce to add the citizenship question.

       C.     Gore Discussed Citizenship Question with Department of Homeland Security

       During his interview with Committee staff, Mr. Gore stated that in October 2017,
Attorney General Sessions’ staffers set up a call with employees of the Department of Homeland
Security related to the citizenship question. Mr. Gore was directed not to disclose what they
discussed, including whether they discussed immigration or apportionment.

       D.     Gore Discussed Apportionment with Sessions and Commerce Lawyers

       Mr. Gore informed Committee staff that in the fall of 2017, he had discussions about
apportionment with Attorney General Jeff Sessions and separately, with two lawyers from the
Department of Commerce, Peter Davidson and James Uthmeier. These conversations occurred



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during the same period that Mr. Gore was discussing the citizenship question with the Attorney
General and the lawyers.

        DOJ counsel refused to allow Mr. Gore to discuss the substance of any of these
conversations, including whether the issue of apportionment came up in discussions about the
citizenship question.

III.    EXCERPTS FROM TRANSCRIBED INTERVIEW WITH GORE

        Excerpts on Mark Neuman Providing Draft Letter Page 24-27

        Q:     Did you do anything in response to your conversation with Mark
               Neuman?

        A:     I reviewed—yes, I did.

        Q:     What did you do?

        DOJ Counsel: You can answer that question to the extent you can do so
             without divulging confidential or litigation-based interests the
             Department has.

        A:     I reviewed some documents and information regarding the census.

        Q:     I’m sorry, I just missed the first part.

        A:     I reviewed some documents and information regarding the census.

        Q:     Were those documents and information provided to you or pointed to?

        A:     Yes.

        Q:     Which one? Sorry.

        DOJ Counsel: I instruct the witness not to answer. I’m sorry, I
             misunderstood your question. Can you rephrase your question? I
             apologize.

        Committee Staff: Sure. Did he provide the documentation to you or did he
             point you to the documentation?

        A:     He provided it.

        Q:     Was that information public information or internal private
               information?
        A:     Public information.



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 Q:     What was it?

 A:     He provided some information regarding the census, historical
        documents about the census. He handed me a pamphlet that was—had
        a chart in it that documented which questions had been on the census
        in various years.

 Q:     Was that all he provided you?

 A:     No, he also provided me a draft letter.

 Q:     A draft letter of what?

 A:     It was a draft letter that would request reinstatement of the
        citizenship question on the census questionnaire.

 Q:     Did he tell you where he got that draft letter?

 DOJ Counsel: I instruct you—

 A:     No.

 Q:     Did any language in that letter appear in the letter that the Department
        of Justice sent to the Department of Commerce on December 12th,
        2017?

 DOJ Counsel: I instruct the witness not to answer.

 Committee Staff: On what basis?

 DOJ Counsel: The same basis.

 Committee Staff: Can I ask you a question. Was the draft letter that he
      handed you, was it addressed from the Department of Justice to the
      Department of Commerce?

 DOJ Counsel: Same instruction.

 Committee Staff: So just to be clear, you’ve told us that he gave you a draft
      letter, but you’re being instructed not to tell us to whom the draft letter
      was addressed. Is that the instruction?

 DOJ Counsel: You’re asking about the contents of the letter. I’m instructing
      him not to answer those questions, correct.




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Excerpts on Discussions with James Uthmeier on Hand Delivery of Memo Pages 105-109

      Q:     Okay. But just to be really clear, he did not just tell you I’m going to
             send you a memo. You discussed other—did you discuss other things
             about the memo?

      DOJ Counsel: Once again, you can answer that with a yes or no.

      A:     Yes.

      Q:     When did you receive the memo?

      A:     I don’t recall exactly when I received the memo. It was hand delivered
             to my office with a handwritten cover note, and I don’t recall how long
             it took—how much time elapsed between that phone call and when I
             received the memo.

      Q:     In that phone call when you were talking—when he informs you he’s
             going to send you a memo, what did you specifically discuss?

      DOJ Counsel: I’ll instruct the witness not to answer.

      Q:     You said that he—it came—it was delivered to you. How was it
             delivered, that you’re aware of?

      A:     All I know is that my assistant brought it to me and said it had been
             hand delivered. I don’t know who delivered it or whether
             Mr. Uthmeier did it himself or whether somebody else did it. Is that
             your question?

      Q:     Can I ask a follow-up on that?

      A:     Sure.

      Q:     I don’t mean to sound facetious, but you obviously have access to
             email, correct?

      A:     I do.

      Q:     And Mr. Uthmeier, obviously, has access to email.

      A:     I imagine he does, yes.

      Q:     So, is it fair to say that he could have emailed the memorandum to you
             if he had wanted to?




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 A:    I don’t know. You would have to ask him that. I don’t know what
       format he had the memorandum in and whether that would have been
       possible.

 Q:    Do you know why it was hand delivered to you?

 A:    I don’t.

 Q:    Do you know whether he was instructed to hand deliver it to you,
       Mr. Uthmeier?

 A:    I don’t.

 Q:    How often do you receive memorandum—paper memos from other
       agencies rather than receiving memorandums in electronic form?

 A:    I don’t know.

 Q:    Would you say this was unusual?

 A:    No, not necessarily. I sometimes receive memos in paper rather than
       through email certainly within the Department, too.

 Q:    My question is from other agencies. Is a memorandum coming from
       the Department of Commerce—let’s say have you received other
       hand—other hand-delivered memoranda from the Department of
       Commerce?

 A:    Not that I recall.

 Q:    Have you received other hand-delivered memoranda from other
       agencies, outside?

 A:    I don’t believe I received memoranda from any other agencies. This
       would be the only memorandum I received from another department or
       agency, and it was delivered by hand. So I guess, to follow your line
       of questioning, that makes it usual.

 Q:    I guess that’s a definitional question we could quibble with a little bit.

 A:    You were trying to compare it to some other practice, and this is the
       only other practice I’ve ever experienced—

 Q:    It sounds like you’re saying it’s the only time you’ve ever received a
       memo from another agency and the only time you’ve ever received
       one—a handwritten memo hand delivered to you, so I would describe



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        it as unusual.

 A:     No, that was not my testimony. What I said was, it’s the only time
        I’ve received a memorandum from another department, and I have on
        several occasions received hand-delivered memoranda within the
        Department of Justice.

 Q:     When you were on the phone and he informed you that he was
        going to send you a memo, did you discuss the form of delivery?

 A:     Yes.

 Q:     Did you discuss why he wanted to send it to you?

 DOJ Counsel: I’ll instruct the witness—you can answer that with a yes or no.

 A:     Why he wanted to send it to me at all?

 Q:     Sorry. When you discussed the form of delivery, did he tell you at
        that point in time that it was going to be hand delivered?

 A:     Yes, he did.

 Q:     Did he tell you why it was going to be hand delivered?

 DOJ Counsel: You can answer that yes or no.

 A:     Yes, he did.

 Committee Staff: I thought you just said you didn't know why he hand
      delivered it to you. Do you know why he hand delivered it to you?

 A:     I know—I know why he told me he wanted to hand deliver it to me. I
        don’t know why he did it.

 Q:     What did he tell you?

 DOJ Counsel: I instruct the witness not to answer.




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                  EXHIBIT G
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John H. Thompson
Director,
Bureau of the Census
US Department of Commerce
Washington, DC 20233


Dear Mr Thompson:

We are writing to formally request the reinstatement of a question on the 2020
Census questionnaire relating to citizenship. The Department seeks to reinstate
the question because of recent Court decisions                  where courts
required enumerated (block level) data related to voting age population. This data
can only be provided based on enumerated (Census), rather than sample (ACS)
data.

We are aware that the 2010 Census was the    first decennial census since the 1880
Census without a question about citizenship. We also note that the American
Community Survey, which replaced the "long form" version of the questionnaire in
the decennial 2000 Census, asks a question about citizenship. We are not aware
that of any serious concerns relating to the presence of a citizenship question on
the ACS.

We understand that the Bureau personnel may believe that ACS data on
citizenship was sufficient for redistricting purposes. We wanted the Bureau to be
aware that two recent Court cases have underscored that ACS data is.not viable
and /or sufficient for purposes of redistricting. Two important citations from these
cases are as follows:


We note that in these two cases, one in 2006 and one in 2009, courts reviewing
compliance with requirements of the Voting Rights Act and its application in
legislative redistricting, have required Latino voting districts to contain 50% + 1 of
"Citizen Voting Age Population (or CVAP). It is clear that full compliance with
these Federal Court decisions will require block level data than can only be
secured by a mandatory question in the 2020 enumeration. Our understanding is
that data on citizenship is specifically required to ensure that the Latino
community achieves full representation in redistricting.

We accordingly request that the Bureau prepare, without delay, the appropriate
question on citizenship for the 2020 Census, and submit this addition for 2020
                                                                                 EXHIBIT

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                                                                            , c)r-,-1)
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Census for OMB Review and other appropriate notifications.

Please let me know if you have any questions about his letter or wish to discuss
this subject. can be reached at (202)
              I                               or           @doj.gov.

Sincerely yours,


Attachment.


Cc:
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                  EXHIBIT H
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We note that in these two cases, one in 2006 and one in 2009, courts reviewing


compliance with requirements of the Voting Rights Act and its application in


legislative redistricting, have required Latino voting districts to contain 50% +1


of “Citizen Voting Age Population (or CVAP). It is clear that full compliance with


these Federal Court decisions will require block level data that can only be


secured by a mandatory question in the 2020 enumeration. Our understanding


is that data on citizenship is specifically required to ensure that the Latino


community achieves full representation in redistricting.
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                   EXHIBIT I
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    Exhibit I: Chart Comparing Hofeller 2015 Study with DOJ December 2017 Letter

        Hofeller August 2015 Study                    DOJ December 2017 Letter to Commerce
In decennial censuses prior to 2010, a             From 1970 to 2000, the Census Bureau included a
citizenship question was included in the long      citizenship question on the so-called “long form”
form questionnaire which was distributed to        questionnaire that it sent to approximately one in
approximately one in seven households…             every six households during each decennial
                                                   census….
For several reasons, the Bureau of the Census
decided to discontinue the use of the long         In the 2010 Census, however, no census
form questionnaire for the 2010 Decennial          questionnaire included a question regarding
Census and to depend exclusively on the short      citizenship. Rather, following the 2000 Census,
form Questionnaire, which did not include a        the Census Bureau discontinued the “long form”
question on citizenship…                           questionnaire and replaced it with the American
                                                   Community Survey (ACS). The ACS is a
As a replacement to the long form
                                                   sampling survey that is sent to only around one in
questionnaire, the Census Bureau instituted
                                                   every thirty-eight households each year and asks
the American Community Survey. To quote
                                                   a variety of questions regarding demographic
the Census Bureau: “The American
                                                   information, including citizenship. See U.S.
Community Survey (ACS) is an ongoing
                                                   Census Bureau, American Community Survey
survey that provides vital information on a
                                                   Information Guide at 6, available at
yearly basis about our nation and its people.
                                                   https://www.census.gov/content/dam/Census/pro
Information from the survey generates data
                                                   gramssurveys/acs/about/ACS Information
that help determine how more than $400
                                                   Guide.pdf (last visited Nov. 22,2017). The ACS
billion in federal and state funds are
                                                   is currently the Census Bureau’s only survey that
distributed each year.” Each year, about 3.5+
                                                   collects information regarding citizenship and
million households receive very detailed
                                                   estimates citizen voting-age population.
questionnaires of which about 2.2 million are
successfully returned. This represents a 62%
return rate.
In addition, the use of a 5-year rolling sample    Because the ACS estimates are rolling and
was much less reflective of the actual             aggregated into one-year, three-year, and five-
characteristics of the population at the time of   year estimates, they do not align in time with the
the actual 2010 Decennial Enumeration.             decennial census data. Citizenship data from the
which would have been a one-time snapshot          decennial census, by contrast, would align in time
taken in mid-2010 (April to August).               with the total and voting-age population data
                                                   from the census that jurisdictions already use in
                                                   redistricting.
Another issue with use of the ACS in               The ACS estimates are reported at a ninety
redistricting is that the accuracy for small       percent confidence level, and the margin of error
units of geography is extremely poor. This is      increases as the sample size—and, thus, the
particularly true for Census Tracts and Census     geographic area—decreases.
Block Groups. In some cases the confidence
interval for a Block Group exceeds the actual
range of the data, creating negative numbers
for the low point of the confidence interval.
Another problem with the ACS data is that          Census data is reported to the census block level,
the units of geography by which the ACS is         while the smallest unit reported in the ACS
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compiled is different from the geographic            estimates is the census block group. See
units used in redistricting. Almost all states       American Community Survey Data 3, 5, 10.
are using Census Voting Districts (VTDs) are         Accordingly, redistricting jurisdictions and the
preferred as the basic geographic building           Department are required to perform further
blocks for creating new districts. VTD               estimates and to interject further uncertainty in
boundaries generally follow precinct                 order to approximate citizen voting-age
boundaries. ACS data are simply not                  population at the level of a census block, which is
available for VTDs, and any estimates of             the fundamental building block of a redistricting
CVAP populations for VTDs would be even              plan. Having all of the relevant population and
more inaccurate than the ACS estimates for           citizenship data available in one data set at the
Census Tracts and Block Groups.                      census block level would greatly assist the
                                                     redistricting process.
For those states in which CVAP estimates for
legislative districts have been compiled,
determinations have been required to compute
the percentage of each Census Block Group’s
population which is in each legislative or
congressional district. The CVAP statistics
have been summed for all the block groups
which have either 50% or 75% of their
population in an individual district and these
estimates have been imputed to the total adult
populations of the districts.




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